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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


                                                                  Chapter 11
 In re:
                                                                  Case No. 18-31274 (MI)

 IHEARTMEDIA, INC., et al.,                                       (Jointly Administered)

                                     Debtors.1


                                         AFFIDAVIT OF SERVICE

        I, Paul Pullo, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims, noticing and solicitation agent for the Debtors in the above-captioned chapter 11 cases.

       On March 16, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served by the method set forth on the Master Service List
attached hereto as Exhibit A:

         Debtors' Emergency Motion Seeking Entry of an Order (I) Directing Joint Administration
          of the Chapter 11 Cases and (II) Granting Related Relief [Docket No. 2]

         Debtors' Emergency Motion for Entry of an Order (I) Extending Time to File (A)
          Schedules of Assets and Liabilities, (B) Schedules of Current Income and Expenditures,
          (C) Schedules of Executory Contracts and Unexpired Leases, (D) Statements of Financial
          Affairs, and (E) Rule 2015.3 Financial Reports, (II) Waiving the Requirement to File a
          List of Equity Security Holders, and (III) Granting Related Relief [Docket No. 4]

         Debtors' Emergency Motion for Entry of an Order (I) Authorizing the Debtors to File a
          Consolidated List of Creditors and a Consolidated List of the 30 Largest Unsecured
          Creditors, (II) Authorizing the Debtors to Redact Certain Personal Identification
          Information, (III) Approving the Form and Manner of Notifying Creditors of the
          Commencement of These Chapter 11 Cases, and (IV) Granting Related Relief
          [Docket No. 5]



1
  Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been requested, a
complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims,
noticing and solicitation agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia,
Inc.’s principal place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio,
Texas 78258.
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   Debtors' Emergency Motion for Entry of an Order (I) Approving Continuation of the
    Surety Bond Program and (II) Granting Related Relief [Docket No. 6] (the “Surety Bond
    Motion”)

   Debtors' Emergency Motion for Entry of an Order (I) Approving the Debtors' Proposed
    Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting Utility
    Providers from Altering, Refusing, or Discontinuing Services, (III) Approving the
    Debtors' Proposed Procedures for Resolving Additional Assurance Requests, and (IV)
    Granting Related Relief [Docket No. 7] (the “Utility Motion”)

   Debtors' Emergency Motion for Entry of an Order (I) Authorizing the Payment of Certain
    Taxes and Fees and (II) Granting Related Relief [Docket No. 8] (the “Tax Motion”)

   Debtors' Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
    Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable
    Expenses and (B) Continue Employee Benefits Programs and (II) Granting Related
    Relief [Docket No. 9] (the “Employee Wages and Benefits Motion”)

   Debtors' Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
    Debtors to Pay or Honor Prepetition Claims and Obligations of On-Air Talent, Station
    Affiliates, and Copyright Owners and (II) Granting Related Relief [Docket No. 10] (the
    “Talent Motion”)

   Debtors' Emergency Motion for Entry of an Order (I) Authorizing the Debtors to (A)
    Continue Their Prepetition Insurance Coverage and Satisfy Prepetition Obligations
    Related thereto and (B) Renew, Supplement, and Enter into New Insurance Policies and
    (II) Granting Related Relief [Docket No. 11] (the “Insurance Motion”)

   Debtors' Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
    Debtors to Honor Certain Prepetition Obligations to Customers and Continue Certain
    Customer Programs in the Ordinary Course of Business and (II) Granting Related Relief
    [Docket No. 13] (the “Customer Programs Motion”)

   Debtors' Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
    Debtors to (A) Continue to Operate Their Cash Management System and Maintain
    Existing Bank Accounts and (B) Continue to Perform Intercompany Transactions and (II)
    Granting Related Relief [Docket No. 14] (the “Cash Management Motion”)

   Debtors' Application for Appointment of Prime Clerk LLC as Claims, Noticing, and
    Solicitation Agent [Docket No. 16]

   Debtors' Emergency Motion for Interim and Final Orders Authorizing (I) Postpetition
    Use of Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, and
    (III) Scheduling a Final Hearing [Docket No. 17] (the “Cash Collateral Motion”)

   Order (I) Directing Joint Administration of the Chapter 11 Cases and (II) Granting
    Related Relief [Docket No. 76]
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   Interim Order (I) Authorizing Postpetition Use of Cash Collateral, (II) Granting Adequate
    Protection to Prepetition Lenders, and (III) Scheduling a Final Hearing [Docket No. 101]
    (the “Cash Collateral Order”)

   Interim Order (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
    Management System and Maintain Existing Bank Accounts and (B) Continue to Perform
    Intercompany Transactions and (II) Granting Related Relief [Docket No. 102] (the “Cash
    Management Order”)

   Interim Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
    Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits
    Programs and (II) Granting Related Relief [Docket No. 103] (the “Employee Wages and
    Benefits Order”)

   Interim Order (I) Authorizing the Debtors to Pay or Honor Prepetition Claims and
    Obligations of On-Air-Talent, Station Affiliates, and Copyright Owners and (II) Granting
    Related Relief [Docket No. 104] (the “Talent Order”)

   Final Order (I) Authorizing the Debtors to Honor Certain Prepetition Obligations to
    Customers and Continue Certain Customer Programs in the Ordinary Course of Business
    and (II) Granting Related Relief [Docket No. 105] (the “Customer Programs Order”)

   Order (I) Authorizing the Payment of Certain Prepetition Taxes and Fees, and (II)
    Granting Related Relief [Docket No. 106] (the “Tax Order”)

   Order (I) Authorizing the Debtors to (A) Continue Their Prepetition Insurance Coverage
    and Satisfy Prepetition Obligations Related thereto and (B) Renew, Supplement, or Enter
    into New Insurance Policies and (II) Granting Related Relief [Docket No. 108] (the
    “Insurance Order”)

   Order (I) Approving Continuation of the Surety Bond Program and (II) Granting Related
    Relief [Docket No. 110] (the “Surety Bond Order”)

   Order (I) Approving the Debtors’ Proposed Adequate Assurance of Payment for Future
    Utility Services, (II) Prohibiting Utility Providers from Altering, Refusing, or
    Discontinuing Services, (III) Approving the Debtors’ Proposed Procedures for Resolving
    Additional Assurance Requests, and (IV) Granting Related Relief [Docket No. 111] (the
    “Utility Order”)

   Order (I) Extending Time to File (A) Schedules of Assets and Liabilities, (B) Schedules
    of Current Income and Expenditures, (C) Schedules of Executory Contracts and
    Unexpired Leases, (D) Statements of Financial Affairs, and (E) Rule 2015.3 Financial
    Reports, (II) Waiving the Requirement to File a List of Equity Security Holders, and (III)
    Granting Related Relief [Docket No. 112]
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                            Exhibit A
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                                                                                                                          Exhibit A
                                                                                                                      Master Service List
                                                                                                                   Served as set forth below


                                       DESCRIPTION                                                 NAME                                             ADDRESS                                               EMAIL              METHOD OF SERVICE
                                                                                                                   Attn: Bill Feichtmann, Alexis van de Wyer
                                                                                                                   487 A S El Camino Real
Top 30 Creditor                                                                 Adswizz                            San Mateo CA 94402                                                Bill.feichtmann@adswizz.com            Email
                                                                                                                   Attn: Neal Schore
                                                                                                                   15303 Ventura Boulevard # 1500
Top 30 Creditor                                                                 Ando Media LLC                     Sherman Oaks CA 91403                                             brendan.collins@tritondigital.com      Email
                                                                                                                   Attn: Robin Russell, Timothy A. Davidson II, & Ashley L. Harper   rrussell@andrewskurth.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                            600 Travis, Suite 4200                                            taddavidson@andrewskurth.com
trustee                                                                         Andrews Kurth Kenyon LLP           Houston TX 77002                                                  ashleyharper@andrewskurth.com          Email
                                                                                                                   Attn: Christopher M. Odell, Hannah D. Sibiski
Counsel to an ad hoc group of lenders under the Debtors’ term loan credit                                          700 Louisiana Street, Suite 4000                                  christopher.odell@arnoldporter.com
facility                                                                        ARNOLD & PORTER KAYE SCHOLER LLP   Houston TX 77002‐2755                                             hannah.sibiski@arnoldporter.com        Email
                                                                                                                   Michael Messersmith, D. Tyler Nurnberg, Sarah Gryll 
                                                                                                                   70 West Madison Street                                            michael.messersmith@arnoldporter.com
Counsel to an ad hoc group of lenders under the Debtors’ term loan credit                                          Suite 4200                                                        sarah.gryll@arnoldporter.com
facility                                                                        ARNOLD & PORTER KAYE SCHOLER LLP   Chicago IL 60602‐4231                                             tyler.nurnberg@arnoldporter.com        Email
                                                                                                                   Attn: Richard Reimer
                                                                                                                   1900 Broadway
Top 30 Creditor                                                                 ASCAP                              New York NY 10023                                                 rreimer@ascap.com                      Email
                                                                                                                   Attn: Caroline Beasley
                                                                                                                   3033 Riviera Dr Ste 200
Top 30 Creditor                                                                 Beasley Broadcast Group            Naples FL 34103                                                                                          First Class Mail

Indenture trustees for the Debtors’ priority guarantee notes, 14.0% senior notes 
due 2021, 6.875% senior notes due 2018, and 7.25% senior notes due 2027, 
6.875% Senior Note ‐ 2018, Indenture trustees for the Debtors’ priority                                            Attn: Moses Ballenger
guarantee notes, 14.0% senior notes due 2021, 6.875% senior notes due 2018,                                        601 Travis Street, 16th Floor Houston
and 7.25% senior notes due 2027, 7.25% Senior Note ‐ 2027, Top 30 Creditor        BNY Mellon                       Houston TX 77002                                                  mosestidwell.ballenger@bnymellon.com   Email
                                                                                                                   Attn: Michael O'Neill
                                                                                                                   10 Music Square East
Top 30 Creditor                                                                 Broadcast Music Inc.               Nashville TN 37203‐4399                                           srosen@bmi.com                         Email
                                                                                                                   Attn: Legal Department
                                                                                                                   51 W. 52nd Street
Top 30 Creditor                                                                 CBS                                New York NY 10019                                                                                        First Class Mail
                                                                                                                   Attn: Leslie Moonves
                                                                                                                   1271 Avenue of the Americas
                                                                                                                   44th Floor
Top 30 Creditor                                                                 CBS                                New York NY 10020                                                                                        First Class Mail
                                                                                                                   Attn: Kirkwood R. Roland
                                                                                                                   390 Greenwich St, 1st Floor
Agent for the Debtors’ term loan credit facility                                Citibank, N.A.                     New York NY 10013                                                 kirkwood.roland@citi.com               Email
                                                                                                                   Attn: Michael D. Sirota, Esquire & Ryan T. Jareck, Esquire
                                                                                                                   1325 Avenue of the Americas
                                                                                                                   19th Floor                                                        msirota@coleschotz.com
Counsel to 32 Sixth Avenue Company LLC                                          COLE SCHOTZ P.C.                   New York NY 10019                                                 rjareck@coleschotz.com                 Email
                                                                                                                   Attn: James C. Kennedy
                                                                                                                   2445 Baltimore Blvd
Top 30 Creditor                                                                 Cox Enterprises, Inc.              Finksburg MD 21048                                                                                       First Class Mail
Top 30 Creditor                                                                 Creditor 1                         Address on File                                                                                          Email
Top 30 Creditor                                                                 Creditor 2                         Address on File                                                                                          Email
Top 30 Creditor                                                                 Creditor 3                         Address on File                                                                                          Email




          In re: iHeartMedia, Inc., et al.
          Case No. 18‐31274 (MI)                                                                                          Page 1 of 8
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                                                                                                                      Exhibit A
                                                                                                                  Master Service List
                                                                                                               Served as set forth below


                                       DESCRIPTION                                                  NAME                                        ADDRESS                                                           EMAIL                  METHOD OF SERVICE
                                                                                                               Attn: Mary G. Berner
                                                                                                               3280 Peachtree Rd NW
Top 30 Creditor                                                              Cumulus Media, Inc.               Atlanta GA 30305                                                                                                         First Class Mail
                                                                                                               ATTN: BANKRUPTCY DIVISION
ENVIRONMENTAL PROTECTION AGENCY (TEXAS/LOUISIANA/OKLAHOMA) ‐                                                   1445 ROSS AVENUE STE 1200
REGION 6                                                                     ENVIRONMENTAL PROTECTION AGENCY   DALLAS TX 75202                                                                                                          First Class Mail
                                                                                                               ATTN: BANKRUPTCY DIVISION
                                                                                                               290 BROADWAY
ENVIRONMENTAL PROTECTION AGENCY ‐ REGION 2                                   ENVIRONMENTAL PROTECTION AGENCY   NEW YORK NY 10007‐1866                                                                                                   First Class Mail
                                                                                                               Attn: Daniel Anstandig
                                                                                                               4141 Rockside Rd Ste 300                                                                                                 First Class Mail and 
Top 30 Creditor                                                              Futuri Media                      Seven Hills OH 44131                                                            info@futurimedia.com                     Email
                                                                                                               Robert Klyman
                                                                                                               333 South Grand Avenue
Counsel to an ad hoc group of holders of 14.0% senior notes due 2021         Gibson Dunn and Crutcher LLP      Los Angeles CA 90071‐3197                                                       rklyman@gibsondunn.com                   Email
                                                                                                               Attn: Matt J. Williams, Keith R. Matorana, Matthew P. Porcelli                  MJWilliams@gibsondunn.com
                                                                                                               200 Park Avenue                                                                 KMartorana@gibsondunn.com 
Counsel to Ad Hoc Committee of 14% Senior Noteholders                        Gibson, Dunn & Crutcher LLP       New York NY 10166‐0193                                                          MPorcelli@gibsondunn.com                 Email
                                                                                                               Attn: Irving Azoff
                                                                                                               1100 Glendon Ave Ste 2000
Top 30 Creditor                                                              Global Music Rights               Los Angeles CA 90024                                                            susan@globalmusicrights.com              Email
                                                                                                               Attn: Dan Seeman
                                                                                                               225 South Sixth Street
                                                                                                               Suite 3500
Top 30 Creditor                                                              Hubbard Broadcasting              Minneapolis MN 55402                                                                                                     First Class Mail
                                                                                                               Attn: Gary Perlman
                                                                                                               107 Elm St
                                                                                                               4 Stamford Plaza
Top 30 Creditor                                                              Icon International Inc            Stamford CT 06902                                                                                                        First Class Mail
                                                                                                               CENTRALIZED INSOLVENCY OPERATION
                                                                                                               2970 MARKET STREET
IRS INSOLVENCY SECTION                                                       INTERNAL REVENUE SERVICE          PHILADELPHIA PA 19104‐5016                                                                                               First Class Mail
                                                                                                               CENTRALIZED INSOLVENCY OPERATION
                                                                                                               P.O. BOX 7346
IRS INSOLVENCY SECTION                                                       INTERNAL REVENUE SERVICE          PHILADELPHIA PA 19101‐7346                                                                                               First Class Mail
                                                                                                               Attn: Thomas A. Howley
                                                                                                               717 Texas
                                                                                                               Suite 3300
Counsel to The Term Loan/PGN Group                                           JONES DAY                         Houston TX 77002‐2712                                                           tahowley@jonesday.com                    Email
                                                                                                               Bruce Bennett, Joshua Mester, James Johnston
                                                                                                               555 South Flower Street                                                         jmester@jonesday.com
Counsel to an ad hoc group of lenders under the Debtors’ term loan credit                                      Fiftieth Floor                                                                  jjohnston@jonesday.com
facility and priority guarantee noteholders                                  Jones Day                         Los Angeles CA 90071                                                            bbennett@jonesday.com                    Email
                                                                                                               Attn: Joseph E. Bain, Laura F. Ashley
                                                                                                               811 Main Street, Suite 2900                                                     jbain@joneswalker.com
Counsel to TPG Specialty Lending, Inc.                                       JONES WALKER LLP                  Houston TX 77002                                                                lashley@joneswalker.com                  Email
                                                                                                                                                                                               kdwbankruptcydepartment@kelleydrye.com
                                                                                                               Attn: Eric R. Wilson, Esq., Benjamin D. Feder, Esq., Kristin S. Elliott, Esq.   ewilson@kelleydrye.com
Counsel to UMB Bank, National Association (“UMB”), as successor Trustee with                                   101 Park Avenue                                                                 bfeder@kelleydrye.com
respect to certain 11.25% Priority Guarantee Notes due 2021                   KELLEY DRYE & WARREN LLP         New York NY 10178                                                               kelliott@kelleydrye.com                  Email
                                                                                                               Attn: Christopher J. Marcus, P.C
                                                                                                               601 Lexington Avenue
CO‐COUNSEL TO DEBTOR                                                         Kirkland & Ellis LLP              New York NY 10022                                                               christopher.marcus@kirkland.com          Email




          In re: iHeartMedia, Inc., et al.
          Case No. 18‐31274 (MI)                                                                                      Page 2 of 8
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                                                                                                                               Exhibit A
                                                                                                                           Master Service List
                                                                                                                        Served as set forth below


                                       DESCRIPTION                                             NAME                                                    ADDRESS                                                 EMAIL               METHOD OF SERVICE
                                                                                                                      Attn: James H.M. Sprayregen, P.C., Anup Sathy, P.C., William A.    james.sprayregen@kirkland.com
                                                                                                                      Guerrieri, Brian D. Wolfe                                          anup.sathy@kirkland.com
                                                                                                                      300 North LaSalle Street                                           will.guerrieri@kirkland.com
COUNSEL TO DEBTOR                                                                 Kirkland & Ellis LLP                Chicago IL 60654                                                   brian.wolfe@kirkland.com                 Email
                                                                                                                      Attn: Caroline A. Reckler, Matthew L. Warren
                                                                                                                      330 North Wabash Avenue, Suite 2800                                caroline.reckler@lw.com
Counsel to Moelis & Company LLC                                                   LATHAM & WATKINS LLP                Chicago IL 60611                                                   matthew.warren@lw.com                    Email
Indenture trustees for the Debtors’ priority guarantee notes, 14.0% senior notes                                      Attn: James Heaney
due 2021, 6.875% senior notes due 2018, and 7.25% senior notes due 2027,                                              400 Madison Avenue
14% Senior Note ‐ 2021                                                            Law Debenture Trust Company         New York NY 10017                                                  james.Heaney@LAWDEB.com                  Email
                                                                                                                      Attn: Don Stecker
                                                                                  LINEBARGER GOGGAN BLAIR & SAMPSON,  711 Navarro Street, Ste 300
Counsel to BEXAR COUNTY                                                           LLP                                 San Antonio TX 78205                                               sanantonio.bankruptcy@publicans.com      Email
                                                                                                                      Attn: Elizabeth Weller
                                                                                                                      2777 N. Stemmons Freeway
                                                                                  LINEBARGER GOGGAN BLAIR & SAMPSON,  Suite 1000
Counsel to Smith County, Tarrant County, Dallas County, Rockwall CAD              LLP                                 Dallas TX 75207                                                    dallas.bankruptcy@publicans.com          Email
                                                                                                                      Attn: John P. Dillman
Counsel to CYPRESS ‐ FAIRBANKS ISD, FORT BEND COUNTY, HOUSTON LIENS,              LINEBARGER GOGGAN BLAIR & SAMPSON,  PO Box 3064
HARRIS COUNTY & CLEVELAND ISD                                                     LLP                                 Houston TX 77253‐3064                                              houston_bankruptcy@publicans.com         Email
                                                                                                                      Attn: K. Elizabeth Sieg
                                                                                                                      800 East Canal Street
Counsel to The Nielsen Company (US), LLC and Nielsen Audio, Inc.                  MCGUIREWOODS LLP                    Richmond VA 23219                                                  bsieg@mcguirewoods.com                   Email
                                                                                                                      Attn: Patrick L. Hayden
                                                                                                                      1251 Avenue of the Americas
                                                                                                                      20th Floor
Counsel to The Nielsen Company (US), LLC and Nielsen Audio, Inc.                  MCGUIREWOODS LLP                    New York NY 10020                                                  phayden@mcguirewoods.com                 Email
                                                                                                                      Attn: Thomas M. Farrell & Siobhan K. Ray
                                                                                                                      JPMorgan Chase Tower
                                                                                                                      600 Travis Street, Suite 7500                                      tfarrell@mcguirewoods.com
Counsel to The Nielsen Company (US), LLC and Nielsen Audio, Inc.                  MCGUIREWOODS LLP                    Houston TX 77002‐2906                                              sray@mcguirewoods.com                    Email
                                                                                                                      Attn: Carol Hanley, Mitch Barnes
                                                                                                                      85 Broad St
Top 30 Creditor                                                                   Nielsen                             New York NY 10004                                                                                           First Class Mail
                                                                                                                      Attn: Christy L. Rivera, Esq., Marian Baldwin Fuerst, Esq.
                                                                                                                      1301 Avenue of the Americas                                        christy.rivera@nortonrosefulbright.com
Counsel to Delaware Trust Company                                                 NORTON ROSE FULBRIGHT US LLP        New York NY 10019‐6022                                             marian.baldwin@nortonrosefulbright.com   Email
                                                                                                                      Attn: Jason Boland, Esq.
                                                                                                                      Fulbright Tower
                                                                                                                      1301 McKinney, Suite 5100
Counsel to Delaware Trust Company                                                 NORTON ROSE FULBRIGHT US LLP        Houston TX 77010‐3095                                              jason.boland@nortonrosefulbright.com     Email
                                                                                                                      ATTN: 
                                                                                                                      515 RUSK AVE 
                                                                                                                      SUITE 3516                                                                                                  First Class Mail and 
UNITED STATES TRUSTEE SOUTHERN DISTRICT OF TEXAS                                  OFFICE OF THE UNITED STATES TRUSTEE HOUSTON TX 77002                                                   STEPHEN.STATHAM@USDOJ.GOV                Email
                                                                                                                      Attn: John F. Higgins, Aaron J. Power, Samuel A. Spiers            jhiggins@porterhedges.com
                                                                                                                      1000 Main Street, 36th Floor                                       apower@porterhedges.com
Counsel to Ad Hoc Committee of 14% Senior Noteholders                             Porter Hedges LLP                   Houston TX 77002                                                   sspiers@porterhedges.com                 Email
                                                                                                                      Attn: Seth H. Lieberman, Patrick Sibley, & Matthew W. Silverman    slieberman@pryorcashman.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                               7 Times Square                                                     psibley@pryorcashman.com
trustee                                                                           Pryor Cashman LLP                   New York NY 10036                                                  msilverman@pryorcashman.com              Email




          In re: iHeartMedia, Inc., et al.
          Case No. 18‐31274 (MI)                                                                                               Page 3 of 8
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                                                                                                               Exhibit A
                                                                                                           Master Service List
                                                                                                        Served as set forth below


                                       DESCRIPTION                             NAME                                                   ADDRESS                                       EMAIL          METHOD OF SERVICE
                                                                                                     Attn: Craig Wallace
                                                                                                     2214 Queen Anne Ave N
Top 30 Creditor                                               ReelWorld Productions Inc              Seattle WA 98109                                           craig.wallace@reelworld.com       Email
                                                                                                     Attn: Marc Benioff
                                                                                                     The Landmark at One Market
                                                                                                     Suite 300
Top 30 Creditor                                               Salesforce Com Inc                     San Francisco CA 94105                                                                       First Class Mail
                                                                                                     Attn: Adam C. Harris, David M. Hillman, James T. Bentley   adam.harris@srz.com
                                                                                                     919 Third Avenue                                           david.hillman@srz.com
Counsel to TPG Specialty Lending, Inc.                        SCHULTE ROTH & ZABEL LLP               New York NY 10022                                          james.bentley@srz.com             Email
                                                                                                     SECRETARY OF THE TREASURY
                                                                                                     100 F ST NE                                                SECBANKRUPTCY@SEC.GOV
SECURITIES AND EXCHANGE COMMISSION ‐ HEADQUARTERS             SECURITIES & EXCHANGE COMMISSION       WASHINGTON DC 20549                                        NYROBANKRUPTCY@SEC.GOV            Email
                                                                                                     DAVID WOODCOCK REGIONAL DIRECTOR
                                                                                                     BURNETT PLAZA
                                                              SECURITIES & EXCHANGE COMMISSION ‐     801 CHERRY ST STE 1900 UNIT 18
SECURITIES AND EXCHANGE COMMISSION ‐ REGIONAL OFFICE          FORT WORTH OFFICE                      FORT WORTH TX 76102                                        DFW@SEC.GOV                       Email
                                                                                                     ATTN: BANKRUPTCY DEPARTMENT
                                                                                                     BROOKFIELD PLACE
                                                              SECURITIES & EXCHANGE COMMISSION ‐ NY  200 VESEY STREET STE 400
SECURITIES AND EXCHANGE COMMISSION ‐ REGIONAL OFFICE          OFFICE                                 NEW YORK NY 10281‐1022                                     BANKRUPTCYNOTICESCHR@SEC.GOV      Email
                                                                                                     Attn: Michael Huppe, Royalty Administration
                                                                                                     733 10th St NW FL10
Top 30 Creditor                                               SoundExchange Inc                      Washington DC 20001‐4888                                                                     First Class Mail
                                                                                                     Attn: Horacio Gutierrez
                                                                                                     45 W. 18th Street
                                                                                                     7th Floor
Top 30 Creditor                                               Spotify USA, Inc.                      New York NY 10011                                          legal@spotify.com                 Email
                                                                                                     Attention Bankruptcy Dept
                                                                                                     P.O. Box 300152
State of Alabama Attorney General                             State of Alabama Attorney General      Montgomery AL 36130‐0152                                                                     First Class Mail
                                                                                                     Attention Bankruptcy Dept
                                                                                                     P.O. Box 110300
State of Alaska Attorney General                              State of Alaska Attorney General       Juneau AK 99811‐0300                                       attorney.general@alaska.gov       Email
                                                                                                     Attention Bankruptcy Dept
                                                                                                     1275 W. Washington St.
State of Arizona Attorney General                             State of Arizona Attorney General      Phoenix AZ 85007                                           aginfo@azag.gov                   Email
                                                                                                     Attention Bankruptcy Dept
                                                                                                     323 Center St.
                                                                                                     Suite 200
State of Arkansas Attorney General                            State of Arkansas Attorney General     Little Rock AR 72201‐2610                                                                    First Class Mail
                                                                                                     Attention Bankruptcy Dept
                                                                                                     P.O. Box 944255
State of California Attorney General                          State of California Attorney General   Sacramento CA 94244‐2550                                   bankruptcy@coag.gov               Email
                                                                                                     Attention Bankruptcy Dept
                                                                                                     Ralph L. Carr Colorado Judicial Center
                                                                                                     1300 Broadway, 10th Floor
State of Colorado Attorney General                            State of Colorado Attorney General     Denver CO 80203                                            Attorney.General@state.co.us      Email
                                                                                                     Attention Bankruptcy Dept
                                                                                                     55 Elm St. 
State of Connecticut Attorney General                         State of Connecticut Attorney General  Hartford CT 06106                                          attorney.general@po.state.ct.us   Email




          In re: iHeartMedia, Inc., et al.
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                                                                                                          Master Service List
                                                                                                       Served as set forth below


                                       DESCRIPTION                              NAME                                                  ADDRESS                         EMAIL        METHOD OF SERVICE
                                                                                                       Attention Bankruptcy Dept
                                                                                                       Carvel State Office Bldg.
                                                                                                       820 N. French St.
State of Delaware Attorney General                           State of Delaware Attorney General        Wilmington DE 19801                      Attorney.General@state.DE.US      Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       The Capitol, PL 01
State of Florida Attorney General                            State of Florida Attorney General         Tallahassee FL 32399‐1050                                                  First Class Mail
                                                                                                       Attention Bankruptcy Dept
                                                                                                       40 Capital Square, SW
State of Georgia Attorney General                            State of Georgia Attorney General         Atlanta GA 30334‐1300                    AGOlens@law.ga.gov                Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       425 Queen St. 
State of Hawaii Attorney General                             State of Hawaii Attorney General          Honolulu HI 96813                        hawaiiag@hawaii.gov               Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       700 W. Jefferson Street
                                                                                                       P.O. Box 83720
State of Idaho Attorney General                              State of Idaho Attorney General           Boise ID 83720‐1000                                                        First Class Mail
                                                                                                       Attention Bankruptcy Dept
                                                                                                       100 West Randolph Street 
State of Illinois Attorney General                           State of Illinois Attorney General        Chicago IL 60601                         webmaster@atg.state.il.us         Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       Indiana Government Center South
                                                                                                       302 W. Washington St., 5th Floor
State of Indiana Attorney General                            State of Indiana Attorney General         Indianapolis IN 46204                    Constituent@atg.in.gov            Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       1305 E. Walnut Street 
State of Iowa Attorney General                               State of Iowa Attorney General            Des Moines IA 50319                      webteam@ag.state.ia.us            Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       120 SW 10th Ave., 2nd Floor
State of Kansas Attorney General                             State of Kansas Attorney General          Topeka  KS 66612‐1597                    general@ksag.org                  Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       700 Capitol Avenue, Suite 118
State of Kentucky Attorney General                           State of Kentucky Attorney General        Frankfort  KY 40601                      web@ag.ky.gov                     Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       P.O. Box 94095
State of Louisiana Attorney General                          State of Louisiana Attorney General       Baton Rouge LA 70804‐4095                ConsumerInfo@ag.state.la.us       Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       6 State House Station 
State of Maine Attorney General                              State of Maine Attorney General           Augusta  ME 04333‐0000                   consumer.mediation@maine.gov      Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       200 St. Paul Place
State of Maryland Attorney General                           State of Maryland Attorney General        Baltimore MD 21202‐2202                  oag@oag.state.md.us               Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       One Ashburton Place
State of Massachusetts Attorney General                      State of Massachusetts Attorney General   Boston  MA 02108‐1698                    ago@state.ma.us                   Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       G. Mennen Williams Building, 7th Floor
                                                                                                       525 W. Ottawa St., P.O. Box 30212
State of Michigan Attorney General                           State of Michigan Attorney General        Lansing MI 48909‐0212                    miag@michigan.gov                 Email
                                                                                                       Attention Bankruptcy Dept
                                                                                                       1400 Bremer Tower
                                                                                                       445 Minnesota Street
State of Minnesota Attorney General                          State of Minnesota Attorney General       St. Paul MN 55101‐2131                   Attorney.General@ag.state.mn.us   Email




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                                       DESCRIPTION                              NAME                                                    ADDRESS                          EMAIL             METHOD OF SERVICE
                                                                                                        Attention Bankruptcy Dept
                                                                                                        Walter Sillers Building
                                                                                                        550 High Street, Suite 1200, P.O. Box 220
State of Mississippi Attorney General                        State of Mississippi Attorney General      Jackson MS 39201                                                                  First Class Mail
                                                                                                        Attention Bankruptcy Dept
                                                                                                        Supreme Court Building
                                                                                                        207 W. High St.
State of Missouri Attorney General                           State of Missouri Attorney General         Jefferson City MO 65102                     attorney.general@ago.mo.gov           Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        215 N Sanders, Third Floor
                                                                                                        PO Box 201401 
State of Montana Attorney General                            State of Montana Attorney General          Helena MT 59620‐1401                        contactdoj@mt.gov                     Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        2115 State Capitol
                                                                                                        2nd Fl, Rm 2115
State of Nebraska Attorney General                           State of Nebraska Attorney General         Lincoln NE 68509‐8920                       ago.info.help@nebraska.gov            Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        100 North Carson Street
State of Nevada Attorney General                             State of Nevada Attorney General           Carson City NV 89701                        AgInfo@ag.nv.gov                      Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        33 Capitol St.
State of New Hampshire Attorney General                      State of New Hampshire Attorney General    Concord NH 03301‐0000                       attorneygeneral@doj.nh.gov            Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        RJ Hughes Justice Complex
                                                                                                        25 Market Street, P.O. Box 080
State of New Jersey Attorney General                         State of New Jersey Attorney General       Trenton NJ 08625‐0080                       askconsumeraffairs@lps.state.nj.us    Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        P.O. Drawer 1508
State of New Mexico Attorney General                         State of New Mexico Attorney General       Santa Fe NM 87504‐1508                      publicinformationoff@nmag.gov         Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        The Capitol
State of New York Attorney General                           State of New York Attorney General         Albany  NY 12224‐0341                       NYROBANKRUPTCY@SEC.GOV                Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        9001 Mail Service Center
State of North Carolina Attorney General                     State of North Carolina Attorney General   Raleigh NC 27699‐9001                                                             First Class Mail
                                                                                                        Attention Bankruptcy Dept
                                                                                                        State Capitol
                                                                                                        600 E Boulevard Ave Dept 125
State of North Dakota Attorney General                       State of North Dakota Attorney General     Bismarck ND 58505‐0040                      ndag@nd.gov                           Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        30 E. Broad St., 14th Floor
State of Ohio Attorney General                               State of Ohio Attorney General             Columbus OH 43215                                                                 First Class Mail
                                                                                                        Attention Bankruptcy Dept
                                                                                                        313 NE 21st Street
State of Oklahoma Attorney General                           State of Oklahoma Attorney General         Oklahoma City OK 73105                                                            First Class Mail
                                                                                                        Attention Bankruptcy Dept
                                                                                                        1162 Court Street NE 
State of Oregon Attorney General                             State of Oregon Attorney General           Salem OR 97301                              consumer.hotline@doj.state.or.us      Email
                                                                                                        Attention Bankruptcy Dept
                                                                                                        Strawberry Square
                                                                                                        16th Floor
State of Pennsylvania Attorney General                       State of Pennsylvania Attorney General     Harrisburg PA 17120                                                               First Class Mail




          In re: iHeartMedia, Inc., et al.
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                                                                                                                 Master Service List
                                                                                                              Served as set forth below


                                       DESCRIPTION                                    NAME                                                    ADDRESS                               EMAIL          METHOD OF SERVICE
                                                                                                              Attention Bankruptcy Dept
                                                                                                              150 South Main Street
State of Rhode Island Attorney General                             State of Rhode Island Attorney General     Providence RI 02903‐0000                                                            First Class Mail
                                                                                                              Attention Bankruptcy Dept
                                                                                                              P.O. Box 11549
State of South Carolina Attorney General                           State of South Carolina Attorney General   Columbia SC 29211‐1549                         info@scattorneygeneral.com           Email
                                                                                                              Attention Bankruptcy Dept
                                                                                                              1302 East Highway 14
                                                                                                              Suite 1
State of South Dakota Attorney General                             State of South Dakota Attorney General     Pierre SD 57501‐8501                           consumerhelp@state.sd.us             Email
                                                                                                              Attention Bankruptcy Dept
                                                                                                              P.O. Box 20207
State of Tennessee Attorney General                                State of Tennessee Attorney General        Nashville TN 37202‐0207                        consumer.affairs@tn.gov              Email
                                                                                                              Attention Bankruptcy Dept
                                                                                                              Capitol Station
                                                                                                              PO Box 12548
State of Texas Attorney General                                    State of Texas Attorney General            Austin TX 78711‐2548                           public.information@oag.state.tx.us   Email
                                                                                                              Attention Bankruptcy Dept
                                                                                                              PO Box 142320
State of Utah Attorney General                                     State of Utah Attorney General             Salt Lake City UT 84114‐2320                   uag@utah.gov                         Email
                                                                                                              Attention Bankruptcy Dept
                                                                                                              109 State St.
State of Vermont Attorney General                                  State of Vermont Attorney General          Montpelier VT 05609‐1001                       ago.info@state.vt.us                 Email
                                                                                                              Attention Bankruptcy Dept
                                                                                                              900 East Main Street 
State of Virginia Attorney General                                 State of Virginia Attorney General         Richmond  VA 23219                                                                  First Class Mail
                                                                                                              Attention Bankruptcy Dept
                                                                                                              1125 Washington St. SE
                                                                                                              P.O. Box 40100
State of Washington Attorney General                               State of Washington Attorney General       Olympia WA 98504‐0100                                                               First Class Mail
                                                                                                              Attention Bankruptcy Dept
                                                                                                              State Capitol Bldg 1 Room E 26
State of West Virginia Attorney General                            State of West Virginia Attorney General    Charleston WV 25305                            consumer@wvago.gov                   Email
                                                                                                              Attention Bankruptcy Dept
                                                                                                              Wisconsin Department of Justice
                                                                                                              State Capitol, Room 114 East, P. O. Box 7857
State of Wisconsin Attorney General                                State of Wisconsin Attorney General        Madison WI 53707‐7857                                                               First Class Mail
                                                                                                              Attention Bankruptcy Dept
                                                                                                              123 Capitol Building
                                                                                                              200 W. 24th Street
State of Wyoming Attorney General                                  State of Wyoming Attorney General          Cheyenne WY 82002                              baylwa@state.wy.us                   Email
                                                                                                              Attn: Roger C. Fray
                                                                                                              1315 S International Pkwy, Ste 1131
Top 30 Creditor                                                    Sun & Fun Media                            Lake Mary FL 32746                             roger@sunfunmedia.com                Email
                                                                                                              Attn: Senior Legal Counsel
                                                                                                              11 Lafayette St
Top 30 Creditor                                                    TomTom North America Inc                   Lebanon NH 03766‐1445                                                               First Class Mail
                                                                                                              Attn: Alex Kneapler
                                                                                                              888 7th Ave, 35th Floor
Agent for the Debtors’ Receivables Based Credit Facility           TPG Specialty Lending, Inc.                New York NY 10106                              AKneapler@tpg.com                    Email




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                                                                                                                               Master Service List
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                                       DESCRIPTION                                                NAME                                                          ADDRESS                                                    EMAIL        METHOD OF SERVICE
                                                                                                                          ATTN: KENNETH MAGIDSON
                                                                                                                          ONE SHORELINE PLAZA SOUTH TOWER
                                                                                UNITED STATES ATTORNEY FOR SOUTHERN  800 N SHORELINE BLVD STE 500
UNITED STATES ATTORNEY FOR THE SOUTHERN DISTRICT OF TEXAS                       DISTRICT OF TEXAS                         CORPUS CHRISTI TX 78401                                                      USATXS.ATTY@USDOJ.GOV           Email
                                                                                                                          Attention Bankruptcy Dept
                                                                                                                          US Dept of Justice
                                                                                                                          950 Pennsylvania Ave NW
United States of America Attorney General                                       United States of America Attorney General Washington DC 20530‐0001                                                                                     First Class Mail
                                                                                                                          Attn: Lucian Grainge
                                                                                                                          825 8th Ave 28th Floor                      
Top 30 Creditor                                                                 Universal Music Group Inc                 New York NY 10019                                                            lucian.grainge@umusic.com       Email
                                                                                                                          Attn: Jonathan Schwartz
                                                                                                                          5801 Truxtun Ave
Top 30 Creditor                                                                 Univision Communications, Inc.            Bakersfield CA 93309                                                                                         First Class Mail
                                                                                                                          Attn: Alfred C. Liggins, III
                                                                                                                          1010 Wayne Ave 14th Fl
Top 30 Creditor                                                                 Urban One Inc.                            Silver Spring MD 20910                                                       fmiles@urban1.com               Email
                                                                                                                          Attn: President or General Counsel
                                                                                                                          750 Park of Commerce Drive
Top 30 Creditor                                                                 Vertical Bridge Acquisitions, LLC         Boca Raton FL 33487                                                                                          First Class Mail
                                                                                                                          Attn: Stephen F. Cooper
                                                                                                                          3400 W Olive Ave
Top 30 Creditor                                                                 Warner Music Group Services               Burbank CA 91505                                                              steve.cooper@wmg.com           Email
                                                                                                                          Attention Bankruptcy Dept
                                                                                                                          441 4th Street, NW                                                           dc.oag@dc.gov
Washington DC Attorney General                                                  Washington DC Attorney General            Washington DC 20001                                                          BANKRUPTCYNOTICESCHR@SEC.GOV    Email
Counsel to Liberty Media Corporation and Sirius XM Holdings Inc., Bain Capital                                            Attn: Alfredo R. Pérez, Christopher M. López
LP and Thomas H. Lee                                                                                                      700 Louisiana Street, Suite 1700                                             alfredo.perez@weil.com
Partners, L.P.                                                                  Weil, Gotshal & Manges LLP                Houston TX 77002                                                             chris.lopez@weil.com            Email
                                                                                                                          Attn: Ray C. Schrock, P.C., Stephen Karotkin, Matthew S. Barr, Gabriel A.    ray.schrock@weil.com
Counsel to Liberty Media Corporation and Sirius XM Holdings Inc., Bain Capital                                            Morgan                                                                       stephen.karotkin@weil.com
LP and Thomas H. Lee                                                                                                      767 Fifth Avenue                                                             matt.barr@weil.com
Partners, L.P.                                                                  Weil, Gotshal & Manges LLP                New York NY 10153                                                            gabriel.morgan@weil.com         Email
                                                                                                                          Attn: J. Christopher Shore, Harrison Denman, & Michele Meises                cshore@whitecase.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                                   1221 Avenue of the Americas                                                  harrison.denman@whitecase.com
trustee                                                                         White & Case LLP                          New York NY 10020                                                            michele.meises@whitecase.com    Email
                                                                                                                          Attn: Thomas E. Lauria & Jason Zakia
                                                                                                                          Southeast Financial Center, Suite 4900
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                                   200 South Biscayne Blvd                                                      tlauria@whitecase.com
trustee                                                                         White & Case LLP                          Miami FL 33131                                                               jzakia@whitecase.com            Email
                                                                                                                          Thomas Lauria and Harrison Denman
Counsel to an ad hoc group of holders of 6.875% senior notes due 2018 and                                                 1221 Avenue of the Americas                                                  tlauria@whitecase.com
7.25% senior notes due 2027                                                     White & Case LLP                          New York NY 10020‐1095                                                       hdenman@whitecase.com           Email
                                                                                                                          Attn: Jennifer J. Hardy
Counsel to Special Committees of the Board of Clear Channel Outdoor Holdings,                                             600 Travis Street, Suite 2310
Inc.                                                                            WILLKIE FARR & GALLAGHER LLP              Houston TX 77002                                                             jhardy2@willkie.com             Email
                                                                                                                          Attn: Matthew A. Feldman, Paul V. Shalhoub, Christopher S. Koenig            mfeldman@willkie.com
Counsel to Special Committees of the Board of Clear Channel Outdoor Holdings,                                             787 Seventh Avenue                                                           pshalhoub@willkie.com
Inc.                                                                            WILLKIE FARR & GALLAGHER LLP              New York NY 10019                                                            ckoenig@willkie.com             Email




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                                                                              Banks Service List
                                                                          Served via First Class Mail

Name                                     Address 1                               Address 2                      Address 3    City             State   Postal Code
BANK OF AMERICA                          Attn: President or General Counsel      540 W MADISON AVE 28TH FLOOR                CHICAGO          IL      60661
BANK OF AMERICA                          Attn: President or General Counsel      ONE BRYANT PARK                23RD FLOOR   NEW YORK         NY      10036
BANK OF AMERICA                          Attn: President or General Counsel      ONE BRYANT PARK                23RD FLOOR   NEW YORK         NY      10036
BANK OF NEW YORK MELLON                  Attn: President or General Counsel      540 W MADISON AVE 28TH FLOOR                CHICAGO          IL      60661
CHASE                                    Becky Tipton                            20845 US HWY 281                            SAN ANTONIO      TX      78258
CITIBANK, N.A.                           Attn: President or General Counsel      1 PENNS WAY                                 NEW CASTLE       DE      19720
FEDERATED INVESTORS                      Attn: President or General Counsel      1001 LIBERTY AVENUE                         PITTSBURGH       PA      15222‐3779
FIDELITY                                 Attn: President or General Counsel      100 W HOUSTON ST.                           SAN ANTONIO      TX      78205
FROST BANK                               Attn: President or General Counsel      110 AUSTIN HWY                              SAN ANTONIO      TX      78209
GOLDMAN SACHS                            Attn: President or General Counsel      200 WEST STREET                             NEW YORK         NY      10282‐2198
GOLDMAN SACHS (BLACKROCK)                Attn: President or General Counsel      200 WEST STREET                             NEW YORK         NY      10282‐2198
GOLDMAN SACHS (DREYFUS)                  Attn: President or General Counsel      200 WEST STREET                             NEW YORK         NY      10282‐2198
GOLDMAN SACHS (FEDERATED)                Attn: President or General Counsel      200 WEST STREET                             NEW YORK         NY      10282‐2198
GOLDMAN SACHS (JP MORGAN)                Attn: President or General Counsel      200 WEST STREET                             NEW YORK         NY      10282‐2198
GOLDMAN SACHS (WESTERN ASSET)            Attn: President or General Counsel      200 WEST STREET                             NEW YORK         NY      10282‐2198
INVESCO                                  Attn: President or General Counsel      11 GREENWAY PLAZA              SUITE 1000   HOUSTON          TX      77046
MERRILL LYNCH                            Attn: President or General Counsel      600 TRAVIS STREET              SUITE 7400   HOUSTON          TX      77002
PERSHING LLC                             Attn: President or General Counsel      750 LEXINGTON AVENUE           27TH FLOOR   NEW YORK         NY      10022
PNC                                      Attn: President or General Counsel      2 TOWER CENTER BOULEVARD                    EAST BRUNSWICK   NJ      08816
SEAPORT GLOBAL SECURITIES                Attn: President or General Counsel      360 MADISON AVE 22FL                        NEW YORK         NY      10017
STATE STREET                             Attn: President or General Counsel      10 SOUTH WACKER STREET         STE 3250     CHICAGO          IL      60606
STONE CASTLE CASH MANAGEMENT             Attn: President or General Counsel      152 WEST 57TH STREET           35TH FLOOR   NEW YORK         NY      10019
U.S. BANK                                Attn: President or General Counsel      425 WALNUT STREET                           CINCINNATI       OH      45202
UBS                                      Attn: President or General Counsel      888 SAN CLEMENTE DRIVE         SUITE 300    NEWPORT BEACH    CA      97660




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Name                                            Address 1                                  Address 2                  Address 3         City              State   Postal Code Country
123 NET INC                                     24700 NORTHWESTERN HWY STE 700                                                          SOUTHFIELD        MI      48075
3 RIVERS COMMUNICATION                          202 5TH ST S                                                                            FAIRFIELD         MT      59436
ACC BUSINESS                                    400 WEST AVENUE                                                                         ROCHESTER         NY      14611
ACCESS POINT INC                                1100 CRESCENT GREEN # 109                                                               CARY              NC      27518
ACENTEK                                         207 E CEDAR ST                                                                          HOUSTON           MN      55943
ACTIVEHOST/ MAGNA 5                             5445 LEGACY DR.                                                                         PLANO             TX      75024
ADVANCED DISPOSAL SERVICES                      90 FORT WADE ROAD, SUITE 200                                                            PONTE VEDRA       FL      32081
ADVANCED SEWER AND DRAIN                        911 NORTHUMBERLAND DR                                                                   NISKAYUNA         NY      12309
ADVANCED TECHNOLOGY GROUP                       5100 B PIERCE CT                                                                        EVANS             GA      30809
ADVANTECH WIRELESS INC                          657 ORLY AVE                                                                            DORVAL            QC      H9P 1G1     CANADA
AIKEN ELECTRIC COOP INC                         2790 WAGENER RD                                                                         AIKEN             SC      29801
ALABAMA POWER CO                                600 18TH STREET NORTH                                                                   BIRMINGHAM        AL      35203
ALABAMA WASTE DISPOSAL SOLUTIONS                2205 COUNTY ROAD 6                                                                      PIEDMONT          AL      36272
ALAGASCO                                        605 RICHARD ARRINGTON JR. BLVD. NORTH                                                   BIRMINGHAM        AL      35203
ALASKA COMMUNICATIONS SYSTEMS                   600 TELEPHONE AVENUE                                                                    ANCHORAGE         AK      99503‐6091
ALASKA WASTE                                    6301 ROSEWOOD ST                                                                        ANCHORAGE         AK      99518
ALBANY UTILITIES                                401 PINE AVE                                                                            ALBANY            GA      31701
ALDRIDGE                                        844 E ROCKLAND RD                                                                       LIBERTYVILLE      IL      60048
ALL AMERICAN WASTE LLC                          19 WHEELER ST                                                                           NEW HAVEN         CT      06512
ALLIANCE CONNECT                                7760 OFFICE PLAZA DR S                                                                  WEST DES MOINES   IA      50266
ALLIANT ENERGY                                  4902 N BILTMORE LN STE 1000                                                             MADISON           WI      53718
ALLIED TELECOM                                  1400 CRYSTAL DR #700                                                                    ARLINGTON         VA      22202
ALLIED WASTE                                    15880 N GREENWAY HAYDEN L                                                               SCOTTSDALE        AZ      85260
ALLO COMMUNICATIONS                             610 BROADWAY STREET                                                                     IMPERIAL          NE      69033
ALTA IRRIGATION DISTRICT                        289 L ST                                   POB 715                                      DINUBA            CA      93618
AMBIENT NETWORKS                                6614 CLAYTON RD #387                                                                    SAINT LOUIS       MO      63117
AMEREN                                          1901 CHOUTEAU AVENUE                                                                    ST. LOUIS         MO      63104
AMERICAN ELECTRIC POWER                         1 RIVERSIDE PLAZA                                                                       COLUMBUS          OH      43215‐2372
AMERICAN TELESIS                                200 E 7TH ST STE 201                                                                    LOVELAND          CO      80537
AMERIGAS                                        460 NORTH GULPH ROAD                                                                    KING OF PRUSSIA   PA      19406
APPALACHIAN POWER                               1 RIVERSIDE PLAZA                                                                       COLUMBUS          OH      43215‐2372
APPLIED TECHNOLOGY GROUP, INC                   1030 LIBERTY RD #100                                                                    ELDERSBURG        MD      21784
APS INC                                         1860 BERKSHIRE LANE N.                                                                  PLYMOUTH          MN      55441
AQUA OHIO INC                                   365 E CENTER ST                                                                         MARION            OH      43302‐4101
ARAB ELECTRIC COOPERATIVE                       331 S BRINDLEE MOUNTAIN PKWY                                                            ARAB              AL      35016
ARMSTRONG                                       3600 ORLEANS AVENUE                                                                     NEW ORLEANS       LA      70119
ARMSTRONG CABLE SERVICES                        ONE ARMSTRONG PLACE                                                                     BUTLER            PA      16001
ARROW ELECTRONICS INC                           75 REMITTANCE DR STE 6020                                                               CHICAGO           IL      60675
ARROW SYSTEMS INTEGRATION INC                   1820 PRESTON PARK BLVD                     SUITE 2800                                   PLANO             TX      75093
ARTHUR MUTUAL TELEPHONE                         21980 STATE RT 637                                                                      DEFIANCE          OH      43512
ASHEVILLE WASTE PAPER COMPANY INC               304 LYMAN ST                                                                            ASHEVILLE         NC      28801
ASI                                             105 WEST MAIN ST                                                                        NEW ALBANY        MS      38652
AT&T                                            208 S. AKARD ST.                                                                        DALLAS            TX      75202
AT&T BELL SOUTH                                 675 W PEACHTREE ST NW                                                                   ATLANTA           GA      30308
AT&T GLOBAL NETWORK SERVICES INDIA PRIVA        VATIKA TRIANGLE 3RD FLOOR                  SUSHANT LOK ‐ 1            BLOCK A MG ROAD   GURGAON                   122002      INDIA
AT&T GLOBAL NETWORK SERVICES MEXICO             MONTES URALES 470 PH                       LOMAS DE CHAPULTEPO        DF                                                      MEXICO
AT&T LOCAL LEGACY ‐CHICAGO                      208 S. AKARD ST.                                                                        DALLAS            TX      75202



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Name                                            Address 1                                      Address 2                  Address 3   City              State   Postal Code Country
AT&T LONG DISTANCE                              208 S. AKARD ST.                                                                      DALLAS            TX      75202
AT&T MOBILITY                                   1025 LENOX PARK BLVD                                                                  ATLANTA           GA      30319
ATCOM BUSINESS TECHNOLOGY SOLUTIONS             4920 S. ALSTON AVE.                                                                   DURHAM            NC      27713
ATHENS UTILITIES                                1806 WILKINSON ST                                                                     ATHENS            AL      35611
ATLANTECH                                       1010 WAYNE AVE STE 630                                                                SILVER SPRING     MD      20910‐5620
ATLANTIC BROADBAND                              2 BATTERYMARCH PARK, SUITE 205                                                        QUINCY            MA      02169
ATMC                                            640 WHITEVILLE RD. NW                                                                 SHALLOTTE         NC      28470
ATMOS ENERGY                                    5430 LBJ FREEWAY # 1800                                                               DALLAS            TX      75240
ATT ‐ BELL SOUTH                                675 W PEACHTREE ST NW                                                                 ATLANTA           GA      30375
ATT‐SBC                                         208 S. AKARD ST.                                                                      DALLAS            TX      75202
AURORA ENERGY LLC                               100 CUSHMAN ST STE 210                                                                FAIRBANKS         AK      99701
AVA BALLARD                                     5555 14TH AVE NW                                                                      SEATTLE           WA      98107
AVAYA INC                                       4655 GREAT AMERICA PARKWAY                                                            SANTA CLARA       CA      95054
AVISTA UTILITIES                                1411 E MISSION AVE                                                                    SPOKANE           WA      99252
BALDWIN EMC                                     19600 AL‐59                                                                           SUMMERDALE        AL      36580
BASCOM COMM                                     5990 W TIFFIN ST                                                                      BASCOM            OH      44809
BAYRING COMMUNICATIONS                          359 CORPORATE DR                                                                      PORTSMOUTH        NH      03801
BEK COMMUNICATIONS                              200 EAST BROADWAY                                                                     STEELE            ND      58482
BELMONT COUNTY WATER & SEWER DISTRICT           55 WHITES ROAD                                                                        ZANESVILLE        OH      43701
BERRY                                           3170 KETTERING BLVD.                                                                  DAYTON            OH      45439
BERT ADAMS DISPOSAL INC                         521 MAIN ST                                                                           CHENANGO BRIDGE   NY      13745
BESTLINE COMMUNICATIONS LP                      500 CAPITAL OF TEXAS HWY N BLDG 8 STE 200                                             AUSTIN            TX      78746
BGE                                             2 CENTER PLAZA                                                                        BALTIMORE         MD      21201
BIRCH COMMUNICATIONS INC                        320 INTERSTATE NORTH PARKWAY, SE                                                      ATLANTA           GA      30339
BIRMINGHAM WATER WORKS BOARD                    3600 1ST AVENUE NORTH                                                                 BIRMINGHAM        AL      35222
BISMARCK WATER DEPARTMENT                       601 S 26TH ST                                  PO BOX 5555                            BISMARCK          ND      58506
BLACK HILLS                                     7001 MOUNT RUSHMORE ROAD                                                              RAPID CITY        SD      57702
BLACK HILLS ENERGY                              380 MADISON AVE # 23                                                                  NEW YORK          NY      10017
BLUE DIAMOND DISPOSAL INC                       5 HOWARD BLVD                                                                         MT ARLINGTON      NJ      07856
BOARD OF WATER COMMISSIONERS                    735 RANDOLPH STREET, FIRST FLOOR                                                      DETROIT           MI      48226
BOARD OF WATER WORKS OF PUEBLO                  319 W 4TH ST                                                                          PUEBLO            CO      81002
BRAINSTORM INTERNET INC                         2347 CURTIS ST                                                                        DENVER            CO      80205
BRANTLEY TELEPHONE COMPANY                      13807 CLEVELAND ST E                                                                  NAHUNTA           GA      31553
BRAZOS VALLEY TELEPHONE SYSTEM                  3131 E 29TH ST STE F110                                                               BRYAN             TX      77802
BRESCO SOLUTIONS LLC                            423 E TOWN ST STE 100                                                                 COLUMBUS          OH      43215
BRIGHT HOUSE NETWORKS                           5000 CAMPUSWOOD DRIVE                                                                 EAST SYRACUSE     NY      13057
BROADVIEW NETWORKS                              800 WESTCHESTER AVENUE                                                                RYE BROOK         NY      10573
BROADWAY MEDIA LLC                              50 W BROADWAY STE 200                                                                 SALT LAKE CITY    UT      84101
BROWNDOG NETWORKS                               574 AXMINISTER DR                                                                     FENTON            MO      63026
BRUNSWICK ELECTRIC MEMBERSHIP                   795 OCEAN HWY W (HWY 17)                                                              SUPPLY            NC      28462
BRYAN TEXAS UTILITIES                           205 E 28TH ST                                                                         BRYAN             TX      77803
BTC BROADBAND                                   11134 S MEMORIAL DR                                                                   BIXBY             OK      74008
BUCKEYE TELESYSTEM                              2700 OREGON RD                                                                        NORTHWOOD         OH      43619
BUCKLAND TELEPHONE COMPANY                      105 S MAIN                                                                            BUCKLAND          OH      45819
BWAY NET INC                                    424 BROADWAY FLOOR 4                                                                  NEW YORK          NY      10013
C SPIRE WIRELESS                                1018 HIGHLAND COLONY PARKWAY SUITE 300                                                RIDGELAND         MS      39157
C SPIRE WIRELESS FKA MEGAGATE BROADBAND         6184 US‐98                                                                            HATTIESBURG       MS      39402



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Name                                            Address 1                               Address 2                  Address 3       City             State   Postal Code Country
C6 DISPOSAL SYSTEMS INC                         2123 FARM TO MARKET 1516                                                           CONVERSE         TX      78109
CABLE ONE BUSINESS                              1314 N 3RD ST FL 3                                                                 PHOENIX          AZ      85004‐1749
CABLEVISION                                     1111 STEWART AVE                                                                   BETHPAGE         NY      11714
CABLEVISION OF SO CONN                          122 RIVER ST                                                                       BRIDGEPORT       CT      06604
CALIFORNIA WATER SERVICE                        1720 N 1ST ST                                                                      SAN JOSE         CA      95112‐4508
CANOOCHEE ELECTRIC                              342 E BRAZELL ST                                                                   REIDSVILLE       GA      30453
CAPITAL AREA DATA SERVICES                      51 CENTRAL BLVD                                                                    CAMP HILL        PA      17011
CAPITAL ELECTRIC COOPERATIVE INC                4111 STATE ST                                                                      BISMARCK         ND      58503
CARONET MANAGED HOSTING INC.                    1960 CROSS BEAM DR                                                                 CHARLOTTE        NC      28217
CARROLL ELECTRIC COOPERATIVE CORPORATION        920 HWY 62 SPUR                                                                    BERRYVILLE       AR      72616‐4000
CAS CABLE                                       1525 DUPONT RD                                                                     PARKERSBURG      WV      26101‐9623
CENTER 7                                        3100 23RD STREET #21                                                               COLUMBUS         NE      68601
CENTER OPERATING COMPANY LP                     2500 VICTORY AVE                                                                   DALLAS           TX      75219
CENTERPOINT ENERGY                              1111 LOUISIANA STREET                                                              HOUSTON          TX      77002
CENTERPOINT ENERGY SERVICES INC                 13205 MANCHESTER ROAD                   SUITE 200                                  ST LOUIS         MO      63131
CENTRAL ARKANSAS WATER                          90 LAKE POINTE PLACE                                                               MAUMELLE         AR      72113
CENTRAL GEORGIA EMC                             923 S MULBERRY ST                                                                  JACKSON          GA      30233
CENTRAL HUDSON GAS & ELECTRIC                   284 SOUTH AVE                                                                      POUGHKEEPSIE     NY      12601‐4839
CENTRAL MAINE POWER CO                          83 EDISON DRIVE                                                                    AUGUSTA          ME      04336
CENTURY LINK FKA QWEST                          165 HALSEY ST                                                                      NEWARK           NJ      07102
CENTURYLINK                                     100 CENTURYLINK DR                                                                 MONROE           LA      71203
CENTURYLINK/EMBARQ                              100 CENTURYLINK DR                                                                 MONROE           LA      71203
CHAMPION ENERGY SERVICES LLC                    1500 RANKIN RD STE 200                                                             HOUSTON          TX      77073
CHARTER COMMUNICATIONS                          400 ATLANTIC STREET                                                                STAMFORD         CT      06901
CHATTANOOGA GAS COMPANY                         2207 OLAN MILLS DRIVE                                                              CHATTANOOGA      TN      37421
CHICAGO DEPARTMENT OF WATER                     333 S. STATE STREET                                                                CHICAGO          IL      60604
CHICKASAW                                       504 S. MAIN ST.                                                                    STILLWATER       OK      74074
CHILLICOTHE UTILITIES DEPT                      35 S PAINT ST STE A                                                                CHILLICOTHE      OH      45601
CHOPTANK ELECTRIC COOPERATIVE                   10384 RIVER ROAD                                                                   DENTON           MD      21629
CHUGACH ELECTRIC                                5601 ELECTRON DR.                                                                  ANCHORAGE        AK      99518
CIBOLA LLC DBA CIBOLA WIRELESS                  609 BROADWAY BLVD NE                                                               ALBUQUERQUE      NM      87102
CINCINNATI BELL                                 221 E 4TH STREET                                                                   CINCINNATI       OH      45202
CIRCLE SANITATION SERVICE                       4700 46TH AVE NW                                                                   MINOT            ND      58703
CISP                                            3035 MOFFAT RD.                                                                    TOLEDO           OH      43615
CITIZENS ENERGY GROUP                           2020 N. MERIDAN ST.                                                                INDIANAPOLIS     IN      46202
CITY OF ASHEVILLE                               70 COURT PLAZA                                                                     ASHVILLE         NC      28802
CITY OF ASHLAND                                 DEPARTMENT OF UTILITIES                 1700 GREENUP AVENUE                        ASHLAND          KY      41101
CITY OF ATLANTA                                 DEPT OF WATERSHED MANAGEMENT            POB 105275                                 ATLANTA          GA      30348‐5275
CITY OF AUSTIN                                  301 W. SECOND ST.                                                                  AUSTIN           TX      78701
CITY OF AZTEC                                   201 W CHACO ST                                                                     AZTEC            NM      87410‐1915
CITY OF BEAUMONT                                ATTN: TODD A. SIMONEAUX, CPA & CFO      801 MAIN, SUITE 100                        BEAUMONT         TX      77701
CITY OF BETTENDORF                              1609 STATE STREET                                                                  BETTENDORF       IA      52722
CITY OF BILOXI                                  PUBLIC WORKS                            780 ESTERS BLVD.                           BILOXI           MS      39530
CITY OF BISMARCK                                WATER DEPT.                             221 N 5TH STREET           P.O. BOX 5503   BISMARK          ND      58506‐5503
CITY OF CHARLOTTE                               POB 1316                                BILLING CENTER                             CHARLOTTE        NC      28201‐1316
CITY OF COLUMBIA                                1136 WASHINGTON ST                                                                 COLUMBIA         SC      29201
CITY OF CORPUS CHRISTI                          1201 LEOPARD                                                                       CORPUS CHRISTI   TX      78401



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Name                                            Address 1                               Address 2                   Address 3                      City              State   Postal Code Country
CITY OF DAVENPORT                               REVENUE DIVISION                        226 WEST 4TH STREET                                        DAVENPORT         IA      52801
CITY OF DAYTON                                  101 W. 3RD ST.                                                                                     DAYTON            OH      45402
CITY OF DEFIANCE                                631 PERRY ST                            UTILITIES BILLING OFFICE                                   DEFIANCE          OH      43512
CITY OF DINUBA                                  405 E EL MONTE WAY                                                                                 DINUBA            CA      93618
CITY OF DOVER                                   15 E LOOCKERMAN ST                                                                                 DOVER             DE      19901
CITY OF EAST PROVIDENCE                         145 TAUNTON AVE                                                                                    EAST PROVIDENCE   RI      02914
CITY OF EAU CLAIRE                              WATER DEPT.                             1040 FOREST STREET                                         EAU CLAIRE        WI      54703
CITY OF FARMINGTON                              101 N BROWING PARKWAY                                                                              FARMINGTON        NM      87401
CITY OF FORT SMITH                              WATER DEPT.                             623 GARRISON AVE.           ROOM 101                       FORT SMITH        AR      72901
CITY OF GALLUP                                  110 WEST AZTEC AVENUE                                                                              GALLUP            NM      87301
CITY OF GREENFIELD                              GREENFIELD TREASURERS OFFICE            7325 W FOREST HOME AVE                                     GREENFIELD        WI      53220
CITY OF GREENSBORO                              300 WEST WASHINGTON STREET                                                                         GREENSBORO        NC      27401
CITY OF HARRISONBURG                            CITY TREASURER                          409 SOUTH MAIN STREET                                      HARRISONBURG      VA      22801
CITY OF HOLYOKE                                 536 DWIGHT STREET                                                                                  HOLYOKE           MA      01040
CITY OF IRONTON                                 IRONTON CITY CENTER                     WATER ADMINISTRATION        301 SOUTH 3RD STREET           IRONTON           OH      45638
CITY OF LIMA UTILITIES                          424 N. CENTRAL AVE                                                                                 LIMA              OH      45801
CITY OF LOVELAND                                500 E. 3RD ST.                                                                                     LOVELAND          CO      80537
CITY OF LYNCHBURG UTILITY BILLING               900 CHURCH ST                                                                                      LYNCHBURG         VA      24504
CITY OF MANSFIELD                               99 PARK AVE EAST                                                                                   MANSFIELD         OH      44902
CITY OF MARION                                  233 W. CENTER ST                                                                                   MARION            OH      43302
CITY OF MEDFORD                                 85 GEORGE P. HASSETT DR                 ATTN: TREASURER/COLLECTOR                                  MEDFORD           MA      02155
CITY OF MELBOURNE                               900 E. STRAWBRIDGE AVE.                                                                            MELBOURNE         FL      32901
CITY OF MILWAUKEE                               ATTN: FRANK P. ZEIDLER                  MUNICIPAL BUILDING          841 NORTH BROADWAY, ROOM 501   MILWAUKEE         WI      53202
CITY OF MIRAMAR                                 2300 CIVIC CENTER PLACE                                                                            MIRAMAR           FL      33025
CITY OF MODESTO                                 101 TENTH ST.                           SUITE 2100                                                 MODESTO           CA      95354
CITY OF NAPOLEON                                255 W. RIVERVIEW AVE                    PO BOX 151                                                 NAPOLEON          OH      43545
CITY OF NORTON SHORES                           4814 HENRY STREET                                                                                  NORTON SHORES     MI      49441
CITY OF OGALLALA                                411 EAST 2ND STREET                                                                                OGALLALA          NE      69153
CITY OF PANAMA UTILITY SERVICE DEPT             11 HARRISON AVE                                                                                    PANAMA CITY       FL      32401
CITY OF PHILADELPHIA                            MUNICIPAL SERVICES BUILDING             1401 JFK BOULEVARD                                         PHILADELPHIA      PA      19102
CITY OF PHOENIX                                 PHOENIX WATER SERVICES                  200 W. WASHINGTON STREET                                   PHOENIX           AZ      85003
CITY OF POMPANO BEACH                           100 W. ATLANTIC BLVD                                                                               POMPANO BEACH     FL      33060
CITY OF PORTLAND                                1120 SW FIFTH AVE RM 1250                                                                          PORTLAND          OR      97204
CITY OF PORTSMOUTH                              THE WATER DIVISION                      680 PEVERLY HILL RD                                        PORTSMOUTH        NH      03801
CITY OF RIVERSIDE                               3900 MAIN ST                                                                                       RIVERSIDE         CA      92522
CITY OF ROCKWALL                                385 S GOLIAD                                                                                       ROCKWALL          TX      75087‐3737
CITY OF SAN ANTONIO ALAMODOME                   100 MONTANA ST                                                                                     SAN ANTONIO       TX      78203
CITY OF SAN DIEGO PUBLIC UTILITES               WATER & WASTEWATER SERVICES                                                                        SAN DIEGO         CA      92187‐0001
CITY OF SAVANNAH REVENUE DEPARTMENT             REVENUE                                 132 E BROUGHTON ST.         P.O. BOX 1027                  SAVANNAH          GA      31402
CITY OF SIOUX CITY                              405 6TH STREET, ROOM 405                P.O. BOX 447                                               SIOUX CITY        IA      51102
CITY OF SOMERSET UTILITIES                      306 E. MT. VERNON STREET 1ST FLOOR                                                                 SOMERSET          KY      42501
CITY OF SPOKANE                                 507 N HOWARD ST                                                                                    SPOKANE           WA      99201
CITY OF SPRINGFIELD                             3529 EAST 3RD ST                                                                                   SPRINGFIELD       FL      32401
CITY OF SPRINGFIELD UTILITY BILLING             76 E. HIGH STREET                                                                                  SPRINGFIELD       OH      45502‐1214
CITY OF TACOMA                                  747 MARKET STREET                                                                                  TACOMA            WA      98402
CITY OF TALLAHASSEE                             300 S ADAMS ST BOX A4                                                                              TALLAHASSEE       FL      32301
CITY OF TAMPA                                   306 EAST JACKSON STREET                                                                            TAMPA             FL      33602



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CITY OF TRENTON                                 2800 THIRD ST                                                                                 TRENTON                  MI      48183
CITY OF TUCSON                                  GENERAL SERVICES DEPARTMENT            PRICE SERVICE CENTER       4004 S. PARK AVE. BLDG. 1   TUCSON                   AZ      85714
CITY OF TUSCALOOSA WATER AND SEWER              2201 UNIVERSITY BLVD.                                                                         TUSCALOOSA               AL      35401
CITY OF VERO BEACH UTILITIES                    1036 20TH STREET                                                                              VERO BEACH               FL      32960
CITY OF VIENNA                                  609 29TH ST                                                                                   VIENNA                   WV      26105
CITY OF WACO WATER OFFICE                       425 FRANKLIN AVENUE                                                                           WACO                     TX      76701
CITY OF WASHINGTON COURT HOUSE                  105 N MAIN ST                                                                                 WASHINGTON COURT HOUSE   OH      43160
CITY OF WESLACO                                 255 S KANSAS                                                                                  WESLACO                  TX      78596
CITY OF WEST PALM BEACH                         401 CLEMATIS STREET                                                                           WEST PALM BEACH          FL      33401
CITY OF WEST POINT                              1506 HWY 29                                                                                   WEST POINT               GA      31833
CITY OF WILMINGTON                              800 N FRENSH STREET                                                                           WILMINGTON               DE      19801
CITY SERVICES                                   1000 METROCENTER MALL                  SUITE 103                                              JACKSON                  MS      39209
CITY UTILITIES                                  301 E CENTRAL ST                                                                              SPRINGFIELD              MO      65801
CITYNET LLC                                     100 CITYNET DR                                                                                BRIDGEPORT               WV      26330
COBB EMC                                        1000 EMC PARKWAY                                                                              MARIETTA                 GA      30327 
COGENT COMMUNICATIONS                           2450 N STREET NW                                                                              WASHINGTON               DC      20037
COLO SOLUTIONS, INC                             100 LUCERNE TERRACE                                                                           ORLANDO                  FL      32801
COLORADO SPRINGS UTILITIES                      111 S. CASCADE AVE                                                                            COLORADO SPRINGS         CO      80903
COLUMBIA GAS                                    50 WEST BROAD STREET                                                                          COLUMBUS                 OH      43215
COLUMBIA GAS OF OHIO                            50 WEST BROAD STREET, SUITE 1800                                                              COLOMBUS                 OH      43215
COLUMBIA GAS OF VIRGINIA                        1111 EAST MAIN STREET, 16TH FLOOR                                                             RICHMOND                 VA      23219
COLUMBUS CITY TREASURER                         910 DUBLIN RD                                                                                 COLUMBUS                 OH      43215
COLUMBUS WATER WORKS                            1421 VETERANS PARKWAY                                                                         COLOMBUS                 GA      31902‐1600
COMCAST                                         212 KENNEDY BLVD.                                                                             JERSEY CITY              NJ      07305
COMCAST CABLE                                   1701 JFK BOULEVARD                                                                            PHILADELPHIA             PA      19103
COMCAST COMMUNICATIONS                          1701 JFK BOULEVARD                                                                            PHILADELPHIA             PA      19103
COMED                                           10 S. DEARBORN ST                                                                             CHICAGO                  IL      60680‐5398
COMMZOOM                                        2438 BOARDWALK STREET                                                                         SAN ANTONIO              TX      78217
COMPORIUM                                       190 E. MAIN ST.                                                                               BREVARD                  NC      28712
COMPRESSED GASES OF AUGUSTA INC                 1560 CATON CENTER DR                                                                          ARBUTUS                  MD      21227
CON EDISON                                      4 IRVING PLACE                                                                                NEW YORK                 NY      10003
CONNEXUS ENERGY                                 14601 RAMSEY BLVD NW                                                                          RAMSEY                   MN      55303
CONSOLIDATED COMMUNICATIONS                     16434 87TH ST.                                                                                HOWARD BEACH             NY      11414
CONSOLIDATED TELEPHONE                          6900 VAN DORN ST.                                                                             LINCOLN                  NE      68506‐0147
CONSTELLATION                                   1 SOUTH DEARBORN STREET # 1700                                                                CHICAGO                  IL      60603
CONSUMERS ENERGY                                2074 242ND ST                                                                                 MARSHALLTOWN             IA      50158‐9137
CONTINENTAL DIVIDE ELECTRIC COOPERATIVE         200 E HIGH ST.                                                                                GRANTS                   NM      87020
COOKSON HILLS                                   60416 HIGHWAY 10                                                                              KANSAS                   OK      74347
COUNTY OF HENRICO                               9101 WRVA ROAD                                                                                HENRICO                  VA      23231
COUNTY OF SAN DIEGO RCS                         5595 OVERLAND AVE STE 101                                                                     SAN DIEGO                CA      92123‐1206
COUNTY WASTE                                    1927 ROUTE 9                                                                                  CLIFTON PARK             NY      12065
COWETA FAYETTE MEMBERSHIP CORPORATION           807 COLLINSOWRTH ROAD                                                                         PALMETTO                 GA      30268
COX BUSINESS                                    1 DAG HAMMARSKJOLD PLAZA                                                                      NEW YORK                 NY      10017
COX BUSINESS SERVICES                           16909 BURKE ST. STE. 121                                                                      OMAHA                    NE      68118
COX COMMUNICATIONS                              1 DAG HAMMARSKJOLD PLAZA                                                                      NEW YORK                 NY      10017
COX COMMUNICATIONS PHOENIX                      1550 W. DEER VALLEY RD                                                                        PHOENIX                  AZ      85027
COYOTE HILL PRODUCTIONS INC                     28890 HAMPTON PL                                                                              MALIBU                   CA      90265



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CPS ENERGY                                       700 SAN PEDRO AVE                                                         SAN ANTONIO       TX      78216
CRITICAL HUB                                     1314 AVE PONCE DE LEON                                                    SAN JUAN          PR      00907
CUMBERLAND ELECTRIC MEMBERSHIP CORPORATION       1940 MADISON CT.                                                          CLARKSVILLE       TN      37043
CYBERLYNK                                        10125 S 52ND ST                                                           FRANKLIN          WI      53132
DAYTON POWER & LIGHT                             1900 DRYDEN RD                                                            MORAINE           OH      45439
DECATUR UTILITIES                                1002 CENTRAL PARKWAY SW                                                   DECATUR           AL      35609
DELMARVA POWER                                   500 NORTH WAKEFIELD DRIVE                                                 NEWARK            DE      19702
DELTACOM                                         1375 PEACHSTREE STREET                                                    ATLANTA           GA      30309
DELTACOM 1058                                    POB 2252                                                                  BIRMINGHAM        AL      35246‐1058
DEMCO                                            4810 FOREST RUN RD.                                                       MADISON           WI      53704
DENVER WATER                                     1600 W. 12TH AVE.                                                         DENVER            CO      80204
DEPARTMENT OF PUBLIC UTILITIES                   420 MADISON AVENUE, SUITE 100                                             TOLEDO            OH      43604
DEPARTMENT OF WATER & POWER                      4619 S. CENTRAL AVENUE                                                    LOS ANGELES       CA      90011
DEPT OF WATER AND POWER                          2633 ARTESIAN ST STE 210                                                  LOS ANGELES       CA      90031
DES MOINES WATER WORKS                           2201 GEORGE FLAG PARKWAY                                                  DES MOINES        IA      50321
DETROIT BOARD OF WATER COMMISSIONERS             735 RANDOLPH                                                              DETROIT           MI      48226
DIGIINET                                         200 W MAIN ST                                                             FARMINGTON        NM      87401
DIGITEL CORPORATION                              2600 SCHOOL DR                                                            ATLANTA           GA      30360
DIRECT ENERGY BUSINESS                           1001 LIBERTY AVENUE                SUITE 1200                             PITSBURGH         PA      15222
DIRECTV INC                                      2230 E. IMPERIAL HIGHWAY                                                  EL SEGUNDO        CA      90245
DISH                                             9601 SOUTH MERIDIAN BLVD.                                                 ENGLEWOOD         CO      80112
DIVERSE POWER                                    1400 S. DAVIS RD.                                                         LAGRANGE          GA      30241
DIXIE ELECTRIC COOPERATIVE                       580 TRADE CENTER ST                                                       MONTGOMERY        AL      36108
DIXIE ELECTRIC POWER ASSOCIATION                 1863 HIGHWAY 184                                                          LAUREL            MS      39443
DOMINION EAST OHIO                               1201 EAST 55TH STREET                                                     CLEVELAND         OH      44103
DOMINION ENERGY FKA QUESTAR GAS                  180 EAST 100 SOUTH                 PO BOX 45433                           SALT LAKE CITYY   UT      84145‐0433
DOMINION ENERGY OHIO                             21200 MILES ROAD                                                          CLEVELAND         OH      44128
DOMINION ENERGY VIRGINIA                         2700 CROMWELL DR.                                                         NORFOLK           VA      23509
DOMINION VIRGINIA POWER                          11133 FAIRFAX BLVD                                                        FAIRFAX           VA      22030
DRFORTRESS                                       3375 KOAPAKA ST.                                                          HONOLULU          HI      96819
DTE ENERGY                                       660 PLAZA DRIVE                                                           DETROIT           MI      48226
DUKE ENERGY                                      2000 CONSTITUTION AVE                                                     PHILADELPHIA      PA      19112
DUKE ENERGY PROGRESS                             410 SOUTH WILMINGTON STREET                                               RALEIGH           NC      27601 
DUNN ENERGY COOPERATIVE                          4301 WILSON BOULEVARD                                                     ARLINGTON         VA      22203‐1860
DUQUESNE LIGHT                                   411 SEVENTH AVENUE (16‐1)                                                 PITTSBURGH        PA      15219
EARTHLINK BUSINESS                               1170 PEACHTREE ST.                                                        ATLANTA           GA      30309
EARTHLINK NET                                    1170 PEACHTREE ST.                                                        ATLANTA           GA      30309
EASTSIDE UTILITY DISTRICT                        3018 HICKORY VALLEY RD.                                                   CHATTANOOGA       TN      37421
EASYSTREET                                       9705 SW SUNSHINE CT                                                       BEAVERTON         OR      97005
EDCO DISPOSABLE CORP                             6670 FEDERAL BLVD.                                                        LEMON GROVE       CA      91945
EL PASO DISPOSAL                                 5539 EL PASO DRIVE                                                        EL PASO           TX      79905
EL PASO ELECTRIC COMPANY                         100 N. STANTON                                                            EL PASO           TX      79901
EL PASO WATER UTILITIES                          1154 HAWKINS BLVD                                                         EL PASO           TX      79961‐0511
ELECTRIC LIGHTWAVE INC                           1201 NE LLOYD AVENUE                                                      PORTLAND          OR      97232‐1202
ELECTRIC POWER BOARD OF CHATTANOOGA              10 WEST M.L. KING BLVD                                                    CHATTANOOGA       TN      37402
ELECTRONIC ENGINEERING                           1100 KEO WAY                                                              DES MOINES        IA      50309
ELIZABETHTOWN GAS                                520 GREEN LN                                                              UNION             NJ      07083



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EMPIRE DISTRICT                                      602 S JOPLIN AVENUE                                                            JOPLIN             MO      64802
EMPIRE DISTRICT ELECTRIC COMPANY                     602 S. JOPLIN AVENUE                                                           JOPLIN             MO      64802
ENERGY UNITED                                        567 MOCKSVILLE HIGHWAY                                                         STATEVILLE         NC      28625‐8269
ENTERGY                                              639 LOYOLA AVENUE                                                              NEW ORLEANS        LA      70113
ENTERPRISE SYSTEMS                                   10910 W SAM HOUSTON PKWY N STE 100                                             HOUSTON            TX      77064
EPB FIBER OPTICS                                     10 WEST M.L. KING BLVD                                                         CHATTANOOGA        TN      37402
EPB TELECOMMUNICATIONS                               830 EASTGATE LOOP                                                              CHATTANOOGA        TN      37421
EQUINIX                                              ONE LAGOON DRIVE                                                               REDWOOD CITY       CA      94065
ETHOPLEX                                             N115W19006 EDISON DRIVE                                                        GERMANTOWN         WI      53022
EVERSOURCE                                           300 CALDWELL DRIVE                                                             SPRINGFIELD        MA      01104
EXECUTIVE TELECOM & DATA SVCS INC                    3209 WHIRLAWAY ROAD                                                            DALLAS             TX      75229
EXPEDIENT / CONTINENTAL BROADBAND                    1 ALLEGHENY SQUARE                                                             PITTSBURGH         PA      15212
FAIRFIELD ELECTRIC COOPERATIVE INC                   701 BLYTHEWOOD ROAD                                                            BLYTHEWOOD         SC      29016
FAIRPOINT COMMUNICATIONS                             521 EAST MOREHEAD STREET                                                       CHARLOTTE          NC      28202
FARMERS ELECTRIC COOPERATIVE INC                     2000 EAST I‐30                                                                 GREENVILLE         TX      75402
FIBERCOMM                                            1605 9TH ST.                                                                   SIOUX CITY         IA      51101
FIDELITY                                             82 DEVONSHIRE STREET                                                           BOSTON             MA      02109‐3605
FIRST CHOICE TECHNOLOGY                              903 LAKE LILY DRIVE, #A125                                                     MAITLAND           FL      32751
FIRST COMMUNICATIONS LLC                             3340 WEST MARKET STREET                                                        AKRON              OH      44333
FIRSTLIGHT                                           41 STATE ST                                                                    ALBANY             NY      12207‐2838
FIRSTLIGHT FKA TECH VALLEY COMMUNICATIONS INC        41 STATE ST 10TH FL                                                            ALBANY             NY      12207‐2838
FLINT ELECTRIC MEMBERSHIP COOPERATIVE                3 SOUTH MACON STREET                                                           REYNOLDS           GA      31076‐0308
FLORIDA CITY GAS                                     296 STATE STREET                                                               PERTH AMBOY        NJ      08861
FLORIDA HIGH SPEED INTERNET                          1311 BEDFORD DR                                                                MELBOURNE          FL      32940
FLORIDA MOBILE TELECOM INC                           1711 S DIVISION AVE                                                            ORLANDO            FL      32805
FLORIDA POWER AND LIGHT                              700 UNIVERSE BOULEVARD                                                         JUNO BEACH         FL      33408
FLORIDA PUBLIC UTILITIES CO                          780 AMELIA ISLAND PARKWAY                                                      FERNANDINA BEACH   FL      32034
FORERUNNER TECHNOLOGIES INC                          1430A CHURCH ST                                                                BOHEMIA            NY      11716
FORT COLLINS LOVELAND WATER DISTRICT                 5150 SNEAD DRIVE                                                               FORT COLLINS       CO      80525
FORT COLLINS UTILITIES DEPT                          222 LAPORTE AVE.                                                               FORT COLLINS       CO      80522
FORT PIERCE UTILITIES AUTHORITY                      206 S. 6TH STREET                                                              FORT PIERCE        FL      34950
FREESE NOTIS                                         2413 GRAND AVENUE                                                              DES MOINES         IA      50312
FRESH TECHNOLOGY                                     2200 RIVERCHASE CENTER #500                                                    HOOVER             AL      35244
FRONTIER CITIZENS COMM OF IL                         401 MERRITT 7                                                                  NORWALK            CT      06851
FRONTIER COMMUNICATIONS                              401 MERITT 7                                                                   NORWALK            CT      06851
FTC                                                  600 PENNSYLVANIA AVENUE NW                                                     WASHINGTON         DC      20580
G5 INTERNET SERVICES: BANK OF AMERICA BUILDING       1415 ROUTE 70 EAST                                                             CHERRY HILL        NJ      08034
GAS SOUTH                                            3625 CUMBERLAND BOULEVARD               SUITE 1500                             ATLANTA            GA      30339
GBH COMMUNICATIONS INC                               1309 S. MYRTLE AVENUE                                                          MONROVIA           CA      91016
GCI                                                  2550 DENALI ST.                                                                ANCHROAGE          AK      99503
GEORGIA NATURAL GAS SERVICE                          2700 INTERNATIONAL TOWER                                                       ATLANTA            GA      30303‐1601
GEORGIA POWER COMPANY                                96 ANNEX                                                                       ATLANTA            GA      30396
GEXA / NEXTERA ENERGY SERVICES MARYLAND, LLC         20455 STATE HIGHWAY 249                 SUITE 200                              HOUSTON            TX      77070
GF UTILITY BILLING                                   255 N. 4TH ST.                                                                 GRAND FORKS        ND      58203
GILTON SOLID WASTE                                   755 S YOSEMITE                                                                 OAKDALE            CA      95361
GLENDALE WATER UTILITY                               5909 N MILWAUKEE RIVER PKWY                                                    GLENDALE           WI      53209‐3815
GLOBAL CAPACITY                                      18 NORTH LASALLE STREET                                                        CHICAGO            IL      60606



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GLOBALSTAR USA                                        300 HOLIDAY SQUARE BOULEVARD                                                         COVINGTON            LA      70433
GLOBALSTAR USA INC                                    300 HOLIDAY SQUARE BLVD.                                                             COVINGTON            LA      70433
GOLDEN HEART UTILITIES                                3691 CAMERON ST.                                                                     FAIRBANKS            AK      99709
GOLDEN VALLEY ELECTRIC ASSOCIATION                    758 ILLINOIS STREET                                                                  FAIRBANKS            AK      99707‐1249
GOT.NET                                               303 POTRERO ST                                                                       SANTA CRUZ           CA      95060
GRACENOTE                                             2000 POWELL STREET                                                                   EMERYVILLE           CA      94608
GRAND STRAND WATER AND SEWER                          166 JACKSON BLUFF ROAD                                                               CONWAY               SC      29526
GRANITE TELECOMMUNICATIONS                            100 NEWPORT AVENUE EXTENSION                                                         QUINCY               MA      02171
GREAT LAKES ENERGY                                    1323 BOYNE AVENUE                                                                    BOYNE CITY           MI      49712
GREATER CINCINNATI WATER WORKS                        4747 SPRING GROVE                                                                    CINCINNATI           OH      45232
GREATER NEW HAVEN WATER POLLUTION CONTROL AUTHORITY   260 EAST ST                                                                           NEW HAVEN           CT      06511
GREEN BAY PACKERS                                     1265 LOMBARDI AVENUE                                                                 GREEN BAY            WI      54304
GREENVILLE WATER SYSTEM                               407 WEST BROAD STREET                                                                GREENVILLE           SC      29601
GTA                                                   624 N MARINE CORPS DR                         TAMUNING                   GUAM                                     98913       GUAM
GTT COMMUNICATIONS INC                                7460 WARREN PARKWAY, SUITE 220                                                       FRISCO               TX      75034
GUADALUPE VALLEY ELECTRIC COOP INC                    825 EAST SARAH DEWITT DRIVE                                                          GONZALES             TX      78629
GULF COAST ELECTRIC COOPERATIVE                       722 WEST HIGHWAY 22                                                                  WEWAHITCHKA          FL      32465
GULF POWER COMPANY                                    ONE ENERGY PLACE                                                                     PENSACOLA            FL      32520
HAMPTON ROADS UTILITY BILLING SERVICE                 1434 AIR RAIL AVE                                                                    VIRGINIA BEACH       VA      23455
HARGRAY                                               856 WILLIAMS HILTON PARKWAY                                                          HILTON HEAD ISLAND   SC      29928
HARGRAY REMITTANCE CENTER                             856 WILLIAM HILTON PARKWAY                                                           HILTON HEAD ISLAND   SC      29938
HARRISON REMC                                         1165 OLD FOREST RD.                                                                  CORYDON              IN      47112
HARRISONBURG ELECTRIC COMMISSION                      89 W BRUCE ST                                                                        HARRISONBURG         VA      22801
HAWAIIAN ELECTRIC COMPANY                             900 RICHARDS STREET                                                                  HONOLULU             HI      96813
HAWAIIAN TELCOM                                       1177 BISHOP STREET                                                                   HONOLULU             HI      96813
HEART OF TEXAS ELECTRIC COMPANY                       1111 JOHNSON DRIVE                                                                   MCGREGOR             TX      76657
HEART OF TEXAS ELECTRIC CO‐OP                         1111 JOHNSON DR                                                                      MCGREGOR             TX      76657
HEARTLAND DISPOSAL SERVICE                            HWY 12 E                                                                             MOBRIDGE             SD      57601
HIGH WEST ENERGY                                      6270 COUNTY ROAD 212                                                                 PINE BLUFFS          WY      82082
HIGHLAND COUNTY WATER CO INC                          6696 U.S. ROUTE 50                            PO BOX 940                             HILLSBORO            OH      45133
HIGHLAND PARK WATER DEPARTMENT                        14110 WOODWARD AVE                                                                   HIGHLAND PARK        MI      48203
HIGHSPEEDLINK                                         1528 COUNTRY CLUB RD                                                                 HARRISONBURG         VA      22802
HILCO ELECTRIC COOPERATIVE INC                        115 EAST MAIN STREET                                                                 ITASCA               TX      76055
HOLDEN MUNICIPAL LIGHT DEPT. AND WATER BILLING        94 RESERVOIR ST                                                                      HOLDEN               MA      01520
HOLMES ‐ WAYNE ELECTRIC COOPERATIVE INC.              6060 SR 83                                                                           MILLERSBURG          OH      44654
HOLYOKE GAS & ELECTRIC                                99 SUFFOLK STREET                                                                    HOLYOKE              MA      01040
HOMETOWN DISPOSAL INC                                 1841 N FARM RD 203                                                                   STRAFFORD            MO      65757
HORIZON TECHNOLOGY                                    68 E MAIN ST POB 480                                                                 CHILLICOTHE          OH      45601
HORRY ELECTRIC COOPERATIVE INC.                       2774 CULTRA ROAD                                                                     CONWAY               SC      29526
HOTWIRE COMMUNICATIONS                                80 RIVERSIDE BLVD                                                                    NEW YORK             NY      10069
HUNTEL COMMUNICATIONS INC                             14109 S ST                                                                           OMAHA                NE      68137
HUNTINGTON SANITARY BOARD                             555 7TH AVENUE                                                                       HUNTINGTON           WV      25701
HUNTSVILLE UTILITIES                                  112 SPRAGINS STREET                                                                  HUNTSVILLE           AL      35801
HYANNIS WATER SYSTEM                                  47 OLD YARMOUTH RD                                                                   HAYANNIS             MA      02601
I WIRELESS SERVICES LP                                7600 OFFICE PLAZA DRIVE SOUTH, SUITE 150                                             WEST DES MOINES      IA      50266‐2328
I2B NETWORKS                                          8830 COMPLEX DR                                                                      SAN DIEGO            CA      92123
ICS ADVANCED TECHNOLOGIES                             235 ALEXANDER AVE                                                                    AMES                 IA      50010



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ILLUMINATING COMPANY                            76 SOUTH MAIN STREET                                                           AKRON              OH      44308
IMON COMMUNICATIONS LLC                         625 1ST ST SE                                                                  CEDAR RAPIDS       IA      52401
INDIANAPOLIS POWER & LIGHT COMPANY              2102 N ILLINOIS ST                                                             INDIANAPOLIS       IN      46202
INTEGRA TELECOM                                 90 PARK AVE                                                                    NEW YORK           NY      10069
INTEGRA TELECOM INC                             18110 SE 34TH STREET, BUILDING ONE      SUITE 100                              VANCOUVER          WA      98683
INTEGRATED TECHNOLOGY PARTNERS LLC              810 W 5TH ST                                                                   WILTON             IA      52778
INTEGRATED TELEMANAGEMENT SRV                   4100 GUARDIAN ST                                                               SIMI VALLEY        CA      93063
INTEGRITY NETWORKS                              3702 WEST VALLEY HIGHWAY NORTH                                                 AUBURN             WA      98001
INTELLIVERSE                                    5900 WINDWARD PARKWAY, SUITE 500                                               ATLANTA            GA      30005
INTERACTIVE GAMES & CREATIONS INC               4343 TEMPLE CITY BLVD                                                          TEMPLE CITY        CA      91780
INTERMOUNTAIN RURAL ELECTRIC ASSOCIATION        5496 US‐85                                                                     SEDALIA            CO      80135
INTERNAP NETWORK SERVICES                       ONE RAVINIA DRIVE                                                              ATLANTA            GA      30346
INTERSTATE ELECTRIC COMPANY                     2321 S TRYON ST                                                                CHARLOTTE          NC      28203
INTERSTATE WASTE SERVICES                       300 FRANK W BURR BOULEVARD                                                     TEANECK            NJ      07666
IOWA‐AMERICAN WATER COMPANY                     5201 GRAND AVENUE                                                              DAVENPORT          IA      52807
ISERV                                           5222 33RD STREET SE                                                            GRAND RAPIDS       MI      49512
JEA                                             21 W CHURCH ST                                                                 JACKSONVILLE       FL      32202
JEMEZ MOUNTAINS ELECTRIC COOPERATIVE INC.       19365 STATE ROAD                                                               ESPANOLA           NM      87537
JERSEY CENTRAL POWER AND LIGHT                  76 SOUTH MAIN STREET                                                           AKRON              OH      44308
KANSAS GAS SERVICE                              1421 NORTH 3RD STREET                                                          KANSAS CITY        KS      66101
KEEN COMPRESSED GAS COMPANY                     101 ROGERS ROAD                                                                WILMINGTON         DE      19801
KENTUCKY AMERICAN WATER CO                      2300 RICHMOND ROAD                                                             LEXINGTON          KY      40502
KENTUCKY POWER COMPANY                          322 DEWALT AVE SW                                                              CANTON             OH      44702
KENTUCKY UTILITIES CO                           ONE QUALITY STREET                                                             LEXINGTON          KY      40507
KIAMICHI ELECTRIC COOPERATIVE INC               966 OK‐2                                                                       WILBURTON          OK      74578
KILLIAN CALDERON DISPOSAL                       1726 N PADRE ISLAND DR                                                         CORPUS CHRISTI     TX      78408
KMTELECOM                                       18 2ND AVE NW                                                                  KASSON             MN      55944‐1491
LACLEDE GAS COMPANY                             700 MARKET ST.                                                                 ST. LOUIS          MO      63101
LAURENS ELECTRIC COOPERATIVE INC                2254 SC‐14                                                                     LAURENS            SC      29360
LAWLEYS DISPOSAL INC                            456 WHITE OAK LN                                                               LEESPORT           PA      19533
LCEC                                            4980 BAYLINE DRIVE                                                             NORTH FORT MYERS   FL      33917
LEE COUNTY UTILITIES                            7391 COLLEGE PARKWAY                                                           FORT MYERS         FL      33907
LEVEL 3 COMMUNICATIONS LLC                      1025 ELDORADO BOULEVARD                                                        BROOMFIELD         CO      80021
LEVEL3                                          1025 ELDORADO BOULEVARD                                                        BROOMFIELD         CO      80021
LEXINGTON FAYETTE URBAN                         218 E MAIN ST                                                                  LEXINGTON          KY      40507
LG & E KU                                       220 WEST MAIN STREET                                                           LOUISVILLE         KY      40202
LG&E                                            220 WEST MAIN STREET                                                           LOUISVILLE         KY      40202
LIBERTY POWER                                   25901 NETWORK PL                                                               CHICAGO            IL      60673‐1259
LIBERTY UTILITIES                               12725 WEST INDIAN SCHOOL ROAD                                                  AVONDALE           AZ      85392
LIGHTBOUND                                      731 W HENRY ST                                                                 INDIANAPOLIS       IN      46225
LIMESTONE COUNTY WATER & SEWER AUTHORITY        520 S. JEFFERSON ST                     PO BOX 110                             ATHENS             AL      35612
LINE SYSTEMS INC                                1645 WEST CHESTER PIKE                                                         WEST CHESTER       PA      19382
LINN COUNTY RURAL ELECTRIC COOPERATIVE          5695 REC DR                                                                    MARION             IA      52302
LOGICAL SOLUTION                                200 UNION AVE                                                                  LAKEHURST          NJ      08733
LOGIN, LLC                                      4003 E SPEEDWAY BLVD                                                           TUCSON             AZ      85712
LOGIX COMMUNICATIONS                            2950 NORTH LOOP WEST                                                           HOUSTON            TX      77092
LONG DISTANCE CONSOLIDATED BILLING              4010 W WALTON BLVD STE B                                                       WATERFORD          MI      48329



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LOS ANGELES DEPT OF WATER AND POWER             2633 ARTESIAN ST STE 210                                                     LOS ANGELES   CA      90031
LOUISVILLE WATER COMPANY                        550 SOUTH THIRD STREET                                                       LOUISVILLE    KY      40502
LUMOS NETWORKS                                  ONE LUMOS PLAZA                                                              WAYNESBORO    VA      22980
M2 ENGAGE FKA SIGNALPOINT                       433 HACKENSACK AVENUE                 CONTINENTAL PLAZA          6TH FLOOR   HACKENSACK    NJ      07601
MACON WATER AUTHORITY                           790 SECOND ST                         POB 108                                MACON         GA      31202
MADISON GAS AND ELECTRIC                        133 SOUTH BLAIR STREET                                                       MADISON       WI      53790
MADISON SUBURBAN UTILITY DISTRICT               108 WEST WEBSTER STREET                                                      MADISON       TN      37115
MANATEE COUNTY UTILITIES DEPARTMENT             1112 MANATEE AVENUE WEST                                                     BRADENTON     FL      34205
MANCHESTER WATER WORKS                          281 LINCOLN STREET                                                           MANCHESTER    NH      03103
MARCUS COMMUNICATIONS LLC                       33 MITCHELL ROAD                                                             MANCHESTER    CT      06042
MASHELL TELECOM INC                             104 WASHINGTON AVE N                                                         EATONVILLE    WA      98328
MATANUSKA TELEPHONE ASSOC                       480 COMMERCIAL DRIVE                                                         PALMER        AK      99645
MATRIX                                          5100 EAST SKELLY DRIVE                                                       TULSA         OK      74135
MCI                                             7741 EAST GRAY ROAD                                                          SCOTTSDALE    AZ      85260‐3485
MCI INTERNATIONAL INC                           201 CENTENNIAL AVENUE                                                        PISCATAWAY    NJ      08854
MCINTOSH COMMUNICATIONS                         4640 S ARVILLE STE E                                                         LAS VEGAS     NV      89103
MEDIACOM                                        ONE MEDIACOM WAY                                                             CHESTER       NY      10918
MEDINA ELECTRIC COOP INC                        2308 18TH STREET                                                             HONDO         TX      78861
MEGAPATH INC                                    6800 KOLL CENTER PKWY                                                        PLEASANTON    CA      94566
MEMPHIS LIGHT GAS AND WATER DIVISION            3773 BRUNSWICK RD                                                            MEMPHIS       TN      38133
MET‐ED                                          76 SOUTH MAIN STREET                                                         AKRON         OH      44308
METRO WATER SERVICES                            1600 2ND AVE. NORTH                                                          NASHVILLE     TN      37208
METROCAST CABLEVISION                           9 APPLE ROAD                                                                 BELMONT       NH      03220
METROPOLITAN UTILITIES DIST                     1723 HARNEY ST.                                                              OMAHA         NE      68102‐1960
MIAMI DADE WATER AND SEWER DEPT                 3071 SW 38TH AVE                                                             MIAMI         FL      33146
MID ‐ SOUTH SYNERGY                             7625 HWY 6                                                                   NAVASOTA      TX      77868
MIDAMERICAN ENERGY COMPANY                      666 GRAND AVENUE                                                             DES MONIES    IA      50309
MIDCOM INC DBA SPORTS BACKHAUL NETWORK          1565 W MAIN ST                        STE 208                    PMB 161     LEWISVILLE    TX      75067
MIDCONTINENT COMMUNICATIONS                     5111 S. LOUISE AVE.                                                          SIOUX FALLS   SD      57108
MID‐HUDSON CABLEVISION INC                      200 JEFFERSON HEIGHTS                                                        CATSKILL      NY      12414
MIDLAND POWER COOPERATIVE                       1005 E LINCOLNWAY                                                            JEFFERSON     IA      50129
MIDWEST ELECTRIC COOPERATIVE CORPORATION        104 WASHINGTON AVE.                                                          GRANT         NE      69140
MILLENNIUM COMMUNICATIONS CORPORATION           6201 HANOVER NW                                                              ALBUQUERQUE   NM      87121
MILLENNIUM WASTE INC                            3606 78TH AVE W                                                              ROCK ISLAND   IL      61201
MILWAUKEE WATER WORKS                           841 N BROADWAY RM 406                                                        MILWAUKEE     WI      53202
MINNESOTA VALLEY ELECTRIC COOP                  125 MINNESOTA VALLEY ELECTRIC DR                                             JORDAN        MN      55352
MINOT WATER DEPARTMENT                          515 2ND AVENUE SW                                                            MINOT         ND      58702
MISSISSIPPI POWER                               2992 WEST BEACH                                                              GULFPORT      MS      39502
MITCHELL ELECTRIC MEMBERSHIP CORPORATION        475 CAIRO RD                                                                 CAMILLA       GA      31730
MODESTO IRRIGATION DISTRICT                     1231 11TH ST                                                                 MODESTO       CA      95354
MON POWER                                       800 CABIN HILL DR                                                            GREENSBURG    PA      15606‐0001
MONCRE TELEPHONE COOP INC                       227 MAIN ST                                                                  RAMER         AL      36069
MONTANA DAKOTA UTILITIES COMPANY                400 N. FOURTH ST.                                                            BISMARK       ND      58501
MOR‐GRAN‐SOU ELECTRIC COOPERATIVE INC           9171 HIGHWAY 24                                                              FORT YATES    ND      58538
MOSAIC TELECOM                                  401 S. 1ST STREET                                                            CAMERON       WI      54822
MOUNT HOREB TELEPHONE                           200 E MAIN ST                                                                MT HOREB      WI      53572
MOUNTAINEER GAS COMPANY                         800 CABIN HILL DR                                                            GREENSBURG    PA      15606‐0002



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MT VERNON TELEPHONE COMPANY                           1039 N EDGE TRL                                                            VERONA           WI      53593‐1942
NASHVILLE ELECTRIC SERVICE                            1214 CHURCH STREET                                                         NASHVILLE        TN      37246
NASHVILLE TOWER                                       10 MUSIC CIR E                                                             NASHVILLE        TN      37203
NATIONAL GRID                                         40 SYLVAN ROAD                                                             WALTHAM          MA      02451
NAUSET DISPOSAL INC                                   3 RAYBER RD                                                                ORLEANS          MA      02653
NAVAJO TRIBAL UTILITY AUTHORITY                       HIGHWAY 12 NORTH                                                           FORT DEFIANCE    AZ      86504
NAVISITE                                              400 MINUTEMAN ROAD                                                         ANDOVER          MA      01810
NEBRASKA PUBLIC POWER DISTRICT                        1414 15TH STREET                                                           COLUMBUS         NE      68602‐0499
NEH TELECOM                                           8775 REDWING AVE                                                           LITTLETON        CO      80126
NETCARRIER TELECOM INC                                4000 N CANNON AVE                                                          LANSDALE         PA      19446
NEW ALBANY LIGHT GAS AND WATER                        100 CLEVELAND ST                                                           NEW ALBANY       MS      38652
NEW MEXICO GAS COMPANY                                7120 WYOMING BLVD NE., STE. 20                                             ALBUQUERQUE      NM      87199
NEW ORLEANS SEWERAGE & WATER BOARD                    625 ST JOESEPH ST                                                          NEW ORLEANS      LA      70165
NEW SKIES SATELLITE BV                                4 RESEARCH WAY                                                             PRINCETON        NJ      08540
NEWCASTLE COMMUNICATIONS                              1201 BROADWAY SUITE 1010                                                   NEW YORK         NY      10001
NEWNAN UTILITIES                                      70 SEWELL ROAD                                                             NEWNAN           GA      30263
NEWROADS TELECOM                                      310 TOWSON AVENUE                                                          FORT SMITH       AR      72901
NEXTERA ENERGY SERVICES MASSACHUSETTS, LLC            20455 STATE HIGHWAY 249             SUITE 200                              HOUSTON          TX      77070
NOCTEL COMMUNICATIONS                                 11575 SW PACIFIC HWY #189                                                  PORTLAND         OR      97223
NORTH CENTRAL ELECT COOP INC                          13978 E COUNTY RD 56                                                       ATTICA           OH      44807
NORTH STATE COMMUNICATIONS                            111 N ELM ST                                                               HIGH POINT       NC      27262
NORTHERN KENTUCKY WATER DISTRICT                      2835 CRESENT SPRINGS RD                                                    ERLANGER         KY      41018
NORTHLAND COMMUNICATIONS                              101 STEWART ST                                                             SEATTLE          WA      98101
NORTHWESTERN WATER AND SEWER DISTRICT                 12560 MIDDLETON PIKE                                                       BOWLING GREEN    OH      43402
NTELOS                                                500 SHENTEL WAY                                                            EDINBURG         VA      22824
NTS COMMUNICATIONS                                    1220 BROADWAY                                                              LUBBOCK          TX      79401
NUECES ELECTRIC COOPERATIVE                           14353 COOPERATIVE AVE                                                      CORPUS CHRISTI   TX      78380
NULINK                                                2 A JACKSON ST.                                                            NEWNAN           GA      30263
NUNN TELEPHONE CO                                     285 LOGAN AVE                                                              NUNN             CO      80648
NV ENERGY                                             6226 W. SAHARA AVE                                                         LAS VEGAS        NV      89146
NYI ‐ NEW YORK INTERNET                               100 WILLIAM STREET                                                         NEW YORK         NY      10038
NYSEG                                                 18 LINK DRIVE                                                              BINGHAMTON       NY      13904
OFFICENSE (COGENT)                                    300 E. LOMBARD ST.                                                         BALTIMORE        MD      21202
OG AND E                                              3220 S HIGH AVE                                                            OKLAHOMA CITY    OK      73129
OG AND E ‐ 4                                          3220 S HIGH AVE                                                            OKLAHOMA CITY    OK      73129
OHIO EDISON                                           76 SOUTH MAIN ST                                                           AKRON            OH      44308
OHIO GAS COMPANY                                      200 WEST HIGH STREET                                                       BRYAN            OH      43506
OHOP MUTUAL LIGHTS COMPANY                            34014 MOUNTAIN HWY E                                                       EATONVILLE       WA      98328
OKEFENOKE RURAL ELECTRIC MEMBERSHIP CORPORATION       14384 E CLEVELAND ST                                                       NAHUNTA          GA      31553
OMAHA PUBLIC POWER DISTRICT                           444 S 16TH ST                                                              OMAHA            NE      68102
ONE SOURCE COMMUNICATIONS                             3926 WESLEY ST STE 703                                                     MYRTLE BEACH     SC      29579
ONONDAGA COUNTY WATER AUTHORITY                       200 NORTHERN CONCOURSE                                                     SYRACUSE         NY      13212
OPELIKA POWER SERVICES                                600 FOX RUN PKWY                                                           OPELIKA          AL      36801
OPELIKA UTILITIES                                     502 GENEVA ST                                                              OPELIKA          AL      36801
OPTIMUM                                               1111 STEWART AVE                                                           BETHPAGE         NY      11714
ORANGE COUNTY CHAMBER OF COMMERCE                     30 SCOTTS CORNERS DR                                                       MONTGOMERY       NY      12549
OTELCO TELEPHONE LLC                                  505 THIRD AVENUE EAST                                                      ONEONTA          AL      35121



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OWEN ELECTRIC COOPERATIVE INC                       8205 HWY 127 NORTH                                                         OWENTON         KY      40359
OZARKS ELECTRIC COOPERATIVE CORPORATION             3641 WEDINGTON DRIVE                                                       FAYETTEVILLE    AR      72704
PACIFIC WIRELESS SYSTEMS LLC                        135 PATTON STREET                                                          RICHLAND        WA      99354
PAETEC                                              600 WILLOWBROOK OFFICE PARK                                                FAIRPORT        NY      14450
PALMETTO ELECTRIC COOPERATIVE INC                   10 COOPERATIVE WAY                                                         HILTON HEAD     SC      29926
PALOMAR COMMUNICATIONS INC                          2230 MICRO PL                                                              ESCONDIDO       CA      92029
PAPILLION SANITATION                                10810 S. 144TH STREET                                                      OMAHA           NE      68138
PARADEE GAS COMPANY                                 28451 JOHN J. WILLIAMS HIGHWAY                                             MILLSBORO       DE      19966
PAULDING PUTNAM ELECTRIC COOP INC                   910 N WILLIAMS ST                                                          PAULDING        OH      45879‐1072
PEAK 10                                             8809 LENOX POINTE DR                                                       CHARLOTTE       NC      28273
PEARL RIVER VALLEY ELECTRIC POWER ASSOCIATION       6803 US HWY 98                                                             HATTIESBURG     MS      39402
PECO                                                2301 MARKET ST N3 3 POB 8699                                               PHILADELPHIA    PA      19101
PEDERNALES ELECTRIC COOPERATIVE INC                 1999 BRYAN STREET                   SUITE 900                              DALLAS          TX      75201
PEE DEE ELECTRIC COOPERATIVE INC                    1355 EAST MCIVER ROAD                                                      DARLINGTON      SC      29532
PENTELEDATA                                         540 DELAWARE AVENUE                                                        PALMERTON       PA      18071
PEOPLES ENERGY COOPERATIVE                          1775 LAKE SHADY AVENUE SOUTH                                               ORONCO          MN      55960
PEOPLES GAS                                         200 E. RANDOLPH ST.                                                        CHICAGO         IL      60601‐6302
PEPCO                                               701 NINTH ST., N.W.                                                        WASHINGTON      DC      20068
PGE                                                 77 BEALE STREET                                                            SAN FRANCISCO   CA      94105
PGE                                                 P.O. Box 4404                                                              Portland        OR      97208
PGE                                                 121 SW Salmon Street                                                       Portland        OR      97204
PHOENIX HOSTING                                     4131 N. 24TH ST                                                            PHOENIX         AZ      85016
PHOENIX INTERNET                                    2922 W CLARENDON AVE                                                       PHOENIX         AZ      85017‐4609
PICKENS COUNTY NATURAL GAS                          90 PHOENIX AVE                                                             CARROLLTON      AL      35447
PIEDMONT NATURAL GAS                                4720 PIEDMONT ROW DRIVE                                                    CHARLOTTE       NC      28210
PIEDMONT RURAL TELEPHONE                            201 ANDERSON DR                                                            LAURENS         SC      29360
PKM ELECTRIC COOPERATIVE INC                        406 N MINNESOTA ST                                                         WARREN          MN      56762
PNM                                                 414 SILVER AVE SW                                                          ALBUQUERQUE     NM      87102
POCKET INET                                         45 TERMINAL LOOP RD STE 210                                                WALLA WALLA     WA      99362
PORTLAND NAP                                        921 SW WASHINGTON #100                                                     PORTLAND        OR      97205‐2819
POTOMAC EDISON                                      800 CABIN HILL DR                                                          GREENBURG       PA      15606‐0001
POUDRE VALLEY RURAL ELECTRIC ASSN INC               7649 REA PKWY                                                              FORT COLLINS    CO      80528
POWERSECURE INC                                     1609 HERITAGE COMMERCE COURT                                               WAKE FOREST     NC      27587
PPL ELECTRIC UTILITIES                              2 N 9TH ST                                                                 ALLENTOWN       PA      18101‐1175
PRIMUS                                              11 WEST MERCHANTS DRIVE                                                    OSWEGO          IL      60543
PROVDOTNET, LLC                                     304 CARPENTER ST.                                                          PROVIDENCE      RI      02909
PSE & G CO                                          80 PARK PL                                                                 NEWARK          NJ      07102
PSE&G ELECTRIC                                      80 PARK PL                                                                 NEWARK          NJ      07102
PSNC ENERGY                                         800 GASTON RD                                                              GASTONIA        NC      28056
PUBLIC SERVICE COMPANY OF OKLAHOMA                  212 E 6TH STREET                                                           TULSA           OK      74119
PUBLIC WORKS AND UTILITIES                          455 N MAIN, 8TH FLOOR                                                      WICHITA         KS      67202
PUEBLO BOARD OF WATER                               319 W 4TH ST                        PO BOX 400                             PUEBLO          CO      81002
PUGET SOUND ENERGY                                  10885 N.E. 4TH STREET                                                      BELLEVUE        WA      98004
QUANTUM LINK COMM                                   250 PILOT ROAD, SUITE 300                                                  LAS VEGAS       NV      89119
RACOM CORPORATION                                   201 W STATE                                                                MARSHALLTOWN    IA      50158
RAINIER CONNECT                                     2516 S HOLGATE STREET                                                      TACOMA          WA      98402
RAPPAHANNOCK ELECTRIC COOPERATIVE                   137 KELLY DR.                                                              FRONT ROYAL     VA      22630



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RAYFIELD COMMUNICATIONS INC                      2018 W WOODLAND                                                             SPRINGFIELD      MO      65807
RCN                                              593 3RD AVE                                                                 NEW YORK         NY      10016
REALMCONNECT                                     1200 ABERNATHY ROAD                  BUILDING 600 SUITE 1700                ATLANTA          GA      30328
RECOLOGY GOLDEN GATE                             250 EXECUTIVE PARK BLVD              SUITE 2100                             SAN FRANCISCO    CA      94134
RED RIVER VALLEY COOPERATIVE POWER ASSOC         109 2ND AVE E                                                               HALSTAD          MN      56548
REGIONAL WATER AUTHORITY                         90 SARGENT DRIVE                                                            NEW HAVEN        CT      06511
RELIANT                                          885 2ND AVE                                                                 NEW YORK         NY      10017
REPUBLIC SERVICES                                159 WILSON AVE                                                              BROOKLYN         NY      11237
RETELE COMMUNICATIONS INC                        29 FRANKLIN STREET                                                          NEEDHAM          MA      02494
RG&E                                             89 EAST AVENUE                                                              ROCHESTER        NY      14649‐0001
RISE BROADBAND                                   400 INVERNESS PARKWAY                                                       ENGLEWOOD        CO      80112
RIVERSIDE PUBLIC UTILITIES                       3901 ORANGE STREET                                                          RIVERSIDE        CA      92501
RIVIERA UTILITIES                                700 WHISPERING PINES RD                                                     DAPHNE           AL      36526
ROADRUNNER WIRELESS SERVICES INC                 5722 2ND ST NW                                                              ALBUQUERQUE      NM      87107
ROANOKE GAS COMPANY                              519 KIMBALL AVE NE                                                          ROANOKE          VA      24016
ROCHESTER PUBLIC UTILITES                        4000 EAST RIVER RD NE                                                       ROCHESTER        MN      55906
ROCKY MOUNTAIN POWER                             1033 NE 6TH AVE                                                             PORTLAND         OR      97256‐0001
RONCO COMMUNICATIONS                             595 SHERIDAN DRIVE                                                          TONAWANDA        NY      14150
ROUGHRIDER ELECTRIC COOPERATIVE                  2156 4TH AVE E                                                              DICKINSON        ND      58601
ROVERMEDIA INC                                   11777 SAN VICENTE BLVD STE 790                                              LOS ANGELES      CA      90049
ROYAL WASTE SERVICES INC                         187‐40 HOLLIS AVE                                                           HOLLIS           NY      11423
RTC                                              486 NJ‐10                                                                   RANDOLPH         NJ      07869
RUMPKE OF KENTUCKY INC                           10795 HUGHES RD                                                             CINCINNATI       OH      45251
RUMPKE OF OHIO INC                               10795 HUGHES ROAD                                                           CINCINNATI       OH      45251
RURAL WATER DISTRICT 4                           20270 HWY 52                                                                MORRIS           OK      74445
RUTHERFORD ELECTRIC MEMBERSHIP CORPORATION       116 W COURT STREET                                                          MARION           NC      28752
SACRED WIND COMMUNICATIONS INC                   875 US HIGHWAY 491 NORTH                                                    YATAHEY          NM      87375
SALT LAKE CITY CORPORATION                       SALT LAKE CITY PUBLIC UTILITIES      1530 S. WEST TEMPLE                    SALT LAKE CITY   UT      84115
SALT RIVER ELECTRIC                              127 SETTLERS CENTER RD                                                      TAYLORSVILLE     KY      40071
SAN ANTONIO WATER SYSTEM                         2800 U.S. HWY 281 NORTH                                                     SAN ANTONIO      TX      78212
SAN DIEGO GAS & ELECTRIC                         8326 CENTURY PARK COURT                                                     SAN DIEGO        CA      92123
SAN FRANCISCO WATER POWER AND SEWER              525 GOLDEN GATE AVENUE                                                      SAN FRANCISCO    CA      94102
SAN ISABEL ELECTRIC ASSOCIATION INC              71 E INDUSTRIAL BLVD                                                        PUEBLO WEST      CO      81007
SAN JUAN WATER DISTRICT                          9935 AUBURN FOLSOM RD                                                       GRANITE BAY      CA      95746
SAN PATRICIO MUNICIPAL WATER DIST                STATE HIGHWAY 361 MIDWAY                                                    INGLESIDE        TX      78362
SANTEE COOPER                                    1 RIVERWOOD DRIVE                                                           MONCKS CORNER    SC      29461
SANTEE ELECTRIC COOPERATIVE                      424 SUMTER HWY                                                              KINGSTREE        SC      29556
SARASOTA COUNTY PUBLIC UTILITIES                 1001 SARASOTA CENTER BLVD.                                                  SARASOTA         FL      34240
SCANA SERVICES INC                               220 OPERATION WAY                                                           CAYCE            SC      29033
SCE & G                                          220 OPERATION WAY                                                           CAYCE            SC      29033
SCIENCE HILL WATER WORKS                         217 LANGDON STREET                                                          SCIENCE HILL     KY      42553
SELECT CONNECT COMMUNICATIONS LLC                1960 MCCULLOUGH BLVD                                                        TUPELO           MS      38801
SEMPRA ENERGY UTILITY                            488 EIGHTH AVE                                                              SAN DIEGO        CA      92101
SERENOVA LLC                                     7300 RR 2222 BLDT III STE 200                                               AUSTIN           TX      78730
SERVICE ELECTRIC TELEPHONE CO                    4242 MAUCH CHUNK RD                                                         COPLAY           PA      18037‐2198
SEWERAGE AND WATER BOARD OF NEW ORLEANS          625 ST JOSEPH ST                                                            NEW ORLEANS      LA      70165‐7460
SHENANDOAH VALLEY ELECTRIC COOPERATIVE           3463 VALLEY PIKE                                                            WINCHESTER       VA      22602



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Name                                                 Address 1                                   Address 2                    Address 3   City             State   Postal Code Country
SHENTEL                                              500 SHENTEL WAY                                                                      EDINBURG         VA      22824
SHERWOOD MUTUAL TELEPHONE                            105 WEST VINE ST POB 4572                                                            SHERWOOD         OH      43556‐0572
SILVER STAR TELECOM                                  16420 SE MCGILLIVRAY STE 103‐233                                                     VANCOUVER        WA      98683‐3461
SINGING RIVER ELECTRIC POWER ASSOCIATION             11187 OLD 63 S                                                                       LUCEDALE         MS      39452
SMARTCOM TELEPHONE                                   600 ASH AVE                                                                          MCALLEN          TX      78501
SMG COLORADO CONVENTION CENTER                       700 14TH ST                                                                          DENVER           CO      80202
SMUD                                                 6301 S STREET                                                                        SACRAMENTO       CA      95817
SOCALGAS                                             1801 S. ATLANTIC BLVD.                                                               MONTEREY PARK    CA      91754
SOUTH CENTRAL POWER COMPANY                          2780 COONPATH RD NE                                                                  LANCASTER        OH      43130
SOUTH KENTUCKY RURAL ELECTRIC COOP CORPORATION       200 ELECTRIC AVEUNE                                                                  SOMERSET         KY      42501
SOUTHERN CALIFORNIA EDISON                           36100 CATHEDRAL CANYON DR                                                            CATHEDRAL CITY   CA      92234
SOUTHERN CONNECTICUT GAS CO                          60 MARSH HILL ROAD                                                                   ORANGE           CT      06477
SOUTHERN LIGHT LLC                                   107 SAINT FRANCIS ST STE 1800                                                        MOBILE           AL      36602
SOUTHERN RIVERS ENERGY                               1367 US‐341                                                                          BARNESVILLE      GA      30204
SOUTHWEST CYBERPORT                                  5021 INDIAN SCHOOL RD NE                                                             ALBUQUERQUE      NM      87110
SOUTHWEST GAS CORPORATION                            10851 N BLACK CANYON HWY                                                             PHOENIX          AZ      85029‐4755
SOUTHWEST WATER AUTHORITY                            4665 2ND ST SW                                                                       DICKENSON        ND      58601
SPECTRUM BUSINESS                                    769 5TH AVE                                                                          BROOKLYN         NY      11232
SPIRIT COMMUNICATIONS                                1500 HAMPTON ST                                                                      COLUMBIA         CA      29201
SPOKANE UTILITIES BILLING                            SPOKANE CITY HALL                           808 W. SPOKANE FALLS BLVD.               SPOKANE          WA      99201
SPRING VALLEY TELEPHONE CO                           MCKAY AVE                                                                            SPRING VALLEY    WI      54767
SPRINT                                               6200 SPRINT PKWY                                                                     OVERLAND PARK    KS      66251
SPRINT PCS                                           6391 SPRINT PARKWAY                                                                  OVERLAND PARK    KS      66251‐4300
SRP LLC                                              803 G SW                                                                             WASHINGTON       DC      20024
SRT COMMUNICATIONS                                   1400 20TH AVE SW                                                                     MINOT            ND      58701
SRT COMMUNICATIONS INC                               3615 N BROADWAY                                                                      MINOT            ND      58703
STAR 2 STAR COMMUNICATIONS                           600 TALLEVAST ROAD, SUITE 202                                                        SARASOTA         FL      34243
STIMULUS TECHNOLOGIES                                6100 S MOUNTAIN VISTA ST #100                                                        HENDERSON        NV      89014
STL COMMUNICATIONS                                   100 CHESTERFIELD BUSINESS PKWY STE 300                                               CHESTERFIELD     MO      63005
STRATUSWAVE COMMUNICATIONS                           1025 MAIN STREET                                                                     WHEELING         WV      26003
STREAMGUYS INC                                       2212 JACOBY CREEK RD.                                                                BAYSIDE          CA      95524
SUBURBAN WATER SYSTEMS                               1325 N. GRAND AVENUE, SUITE 100                                                      COVINA           CA      91724
SUDDENLINK                                           520 MARYVILLE CENTRE DR                                                              ST LOUIS         MO      63141
SUMTER ELECTRIC MEMBERSHIP CORPORATION               1120 FELDER STREET                                                                   AMERICUS         GA      31709
SUNGARD                                              560 LEXINGTON AVE                                                                    NEW YORK         NY      10022
T3 COMMUNICATIONS                                    2401 FIRST ST STE 300                                                                FORT MYERS       FL      33901
T3 COMMUNICATIONS INC                                2401 FIRST STREET                                                                    FORT MYERS       FL      33901
TACOMA PUBLIC UTILITIES                              3628 SOUTH 35TH STREET                                                               TACOMA           WA      98409
TALLAPOOSA RIVER ELECTRIC COOPERATIVE                991 AL ‐ 165                                                                         FORT MITCHELL    AL      36856
TALQUIN ELECTRIC COOPERATIVE INC                     1640 W JEFFERSON STREET                                                              QUINCY           FL      32351
TAMPA ELECTRIC                                       2200 E SLIGH AVE                                                                     TAMPA            FL      33610
TDS                                                  30 N. LASALLE STREET                                                                 CHIACGO          IL      60602
TEAM WASTE GULF COAST LLC                            14339 HUDSON KROHN RD                                                                BILOXI           MS      39532
TEC                                                  700 S. WEST STREET                                                                   JACKSON          MS      39201
TEL TECH NETWORKS INC                                810 E HAMMOND LN                                                                     PHOENIX          AZ      85034
TEL WEST NETWORK SERVICES                            11501 DOMAIN DR                                                                      AUSTIN           TX      78758
TELDATA                                              A WEST COAST CABLING INC                                                             SANTEE           CA      92071



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TELE‐AUDIT                                        810 DUTCH SQUARE BOULEVARD 315                                              COLUMBIA           SC      29210
TELEPACIFIC COMMUNICATIONS                        130 W 42ND STREET                                                           NEW YORK           NY      10036
TELETRONICS SERVICES INC                          22550 ASCOA CT                                                              STRONGSVILLE       OH      44149
TELRITE CORPORATION                               14230 LOCHRIDGE BLVD.                                                       COVINGTON          GA      30014
TELX‐NEW YORK 6TH AVE LLC                         32 AVENUE OF THE AMERICAS                                                   NEW YORK           NY      10013
TEXAS GAS SERVICE                                 5613 AVENUE F                                                               AUSTIN             TX      78751
THE ENERGY COOPERATIVE                            1500 GRANVILLE ROAD                                                         NEWARK             OH      43058
THE ILLUMINATING COMPANY                          76 SOUTH MAIN STREET                                                        AKRON              OH      44308
THE SWITCH                                        420 LEXINGTON AVENUE                                                        NEW YORK           NY      10170
THREE NOTCH ELECTRIC MEMBERSHIP CORPORATION       116 W 2ND ST                                                                DONALSONVILLE      GA      39845
TIDEPOINT                                         700 E PUTNAM AVE #201                                                       OLD GREENWICH      CT      06870
TIER POINT                                        12444 POWERSCOURT DRIVE                                                     ST. LOUIS          MO      63131
TIME WARNER CABLE                                 ONE TIME WARNER CENTER                                                      NEW YORK           NY      10019
TIME WARNER CABLE ‐ NORTHEAST                     ONE TIME WARNER CENTER                                                      NEW YORK           NY      10019
T‐MOBILE USA INC                                  12920 SE 38TH STREET                                                        BELLEVUE           WA      98006
TNCI                                              114 EAST HALEY STREET                SUITE I                                SANTA BARBARA      CA      93101
TOLEDO EDISON                                     6099 ANGOLA RD                                                              HOLLAND            OH      43528
TOMBIGBEE ELECTRIC POWER ASSN                     1150 MS‐145                                                                 GUNTOWN            MS      38849
TOTAH COMMUNICATIONS INC                          101 S OCHELATA ST                                                           OCHELATA           OK      74051
TOWN OF BARNSTABLE                                617 BEARSES WAY                                                             HYANNIS            MA      02601
TOWN OF PAXTON                                    697 PLEASANT STREET                                                         PAXTON             MA      01612
TOWN OF WAYNESVILLE                               16 SOUTH MAIN STREET                  PO BOX 100                            WAYNESVILLE        NC      28786
TPX COMMUNICATIONS                                130 W 42ND ST, 9TH FLOOR                                                    NEW YORK           NY      10036
TRANSNATIONAL COMMUNICATIONS                      2 CHARLESGATE W                                                             BOSTON             MA      02215
TRI‐AREA ELECTRIC CO INC                          37 WAYNE AVE                                                                YOUNGSTOWN         OH      44502
TRICO ELECTRIC COOPERATIVE                        8600 W TANGERINE RD                                                         MARANA             AZ      85658
TSC                                               2 WILLIPIE ST                                                               WAPAKONETA         OH      45895
TUCSON ELECTRIC POWER CO                          88 E BROADWAY BLVD                                                          TUCSON             AZ      85701
TUPELO WATER AND LIGHT DEPT                       333 COURT ST                                                                TUPELO             MS      38804
TURLOCK IRRIGATION DISTRICT                       333 EAST CANAL DRIVE                                                        TURLOCK            CA      95381
TW TELECOM                                        10475 PARK MEADOWS DR                                                       LITTLETON          CO      80124
UGI                                               2525 NORTH 12TH STREET                                                      READING            PA      19605
UGI PNG                                           2525 NORTH 12TH STREET               SUITE 360                              READING            PA      19605
UNIFIED TECHNOLOGIES                              11500 BLANKENBAKER ACCESS DRIVE                                             LOUISVILLE         KY      40299
UNITED ILLUMINATING COMPANY                       180 MARSH HILL RD                                                           ORANGE             CT      06477
UNITED POWER                                      500 COOPERATIVE WAY                                                         BRIGHTON           CO      80603
UNITIL                                            285 JOHN FITCH HWY                                                          FITCHBURG          MA      01420
UNIVERSAL WASTE SYSTEMS                           9016 NORWALK BLVD                                                           SANTA FE SPRINGS   CA      90670
US CELLULAR                                       8410 WEST BRYN MAWR AVENUE                                                  CHICAGO            IL      60631‐3486
USA MOBILITY WIRELESS INC                         6850 VERSAR CENTER, SUITE 420                                               SPRINGFIELD        VA      22151
USA WASTE AND REYCLING INC                        260 CONRAIL RAILROAD                                                        WATERBURY          CT      06708
UTILITY TELEPHONE INC                             4202 CORONADO AVENUE                                                        STOCKTON           CA      95204
VECTREN ENERGY DELIVERY                           205 S. MADISON ST                                                           BLOOMINGTON        IN      47404 
VENCOM COMMUNICATIONS INC                         4 ROSENFELD DR STE F                                                        HOPEDALE           MA      01747
VERACITY NETWORKS                                 170 S ELECTION RD                                                           DRAPER             UT      84020
VERDIGRIS VALLEY ELECTRIC COOPERATIVE             8901 E 146TH ST N                                                           COLLINSVILLE       OK      74021
VERENDRYE ELECTRIC COOPERATIVE                    615 HWY 52 WEST                                                             VELVA              ND      58790



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VERIZON BUSINESS                                140 WEST ST                                                                     NEW YORK            NY      10013
VERIZON CREDIT                                  201 NORTH FRANKLIN STREETSUITE 3300                                             TAMPA               FL      33602
VERIZON WIRELESS                                140 WEST ST                                                                     NEW YORK            NY      10013
VIAERO WIRELESS                                 1228 W PLATTE AVE                                                               FORT MORGAN         CO      80701‐2949
VIAWEST                                         6400 S. FIDDLER'S GREEN CIRCLE                                                  GREENWOOD VILLAGE   CO      80111
VIRGINIA NATURAL GAS                            C/O SOUTHERN COMPANY                                                            ATLANTA             GA      30308
VIRTUAL INTERACTIVE CENTER (VIC)                106A W SUMMIT HILL DRIVE                                                        KNOXVILLE           TN      37902
VISI                                            2435 WEST 450 SOUTH, SUITE 201                                                  PLEASANT GROVE      UT      84062
VISIONARY COMMUNICATIONS, INC                   1001 S DOUGLAS HWY STE 201                                                      GILLETTE            WY      82716
WAKE ELECTRIC                                   100 S FRANKLIN ST                                                               WAKE FOREST         NC      27587
WARNER COMMUNICATIONS                           1 TIME WARNER CENTER                                                            NEW YORK            NY      10019
WASTE CONNECTIONS                               100 E 11TH ST                                                                   OGALLALA            NE      69153
WASTE CONNECTIONS OF CO INC                     28900 E HWY 96                                                                  PUEBLO              CO      81001
WASTE CONNECTIONS OF IOWA                       4705 NE 22ND ST                                                                 DES MOINES          IA      50313
WASTE CORPORATION OF MISSOURI                   2120 W BENNETT ST                                                               SPRINGFIELD         MO      65807
WASTE INDUSTRIES                                3301 BENSON DRIVE                                                               RALEIGH             NC      27609
WASTE MANAGEMENT                                1001 FANNIN STREET                                                              HOUSTON             TX      77002
WASTE MANAGEMENT OF UTAH                        8652 SOUTH 4000 WEST                                                            WEST JORDAN         UT      84088
WASTE PRO ‐ FT LAUDERDALE                       17302 PINES BOULEVARD                                                           PEMBROKE PINES      FL      33029
WASTE PRO ‐ FT MEYERS                           13110 RICKENBACKER PKWY                                                         FORT MYERS          FL      33913
WASTE PRO ‐ FT PIERCE                           4100 SELVITZ RD                                                                 FORT PIERCE         FL      34981
WASTEMASTERS USA                                9199 WHITNEYVILLE AVE SE                                                        ALTO                MI      49302
WASTEWATER MANAGEMENT                           2000 W. 3RD AVE                                                                 DENVER              CO      80217
WATER RESOURCES COMMISSIONER                    ONE PUBLIC WORKS DR                      BUILDING 95 WEST                       WATERFORD           MI      48328
WATER WORKS & SEWER BOARD                       515 ALBERT RAINS BOULEVARD                                                      GADSDEN             AL      35902
WBL SERVICES COMPANY                            4425 26TH AVE W                                                                 SEATTLE             WA      98199
WCI OF PUEBLO                                   28900 CO‐96                                                                     PUEBLO              CO      81001
WCOIL                                           215 N ELIZABETH ST                                                              LIMA                OH      45801
WE ENERGIES                                     333 W. EVERETT STREET                                                           MILWAUKEE           WI      53203
WEBSTER ELECTRIC COOPERATIVE                    120 VIVIAN STREET                                                               MARSHFIELD          MO      65706
WERLOR WASTE CONTROL                            1420 RALSTON AVE                                                                DEFIANCE            OH      43512
WEST LAMAR WATER ASSOCIATION INC                2716 HIGHWAY 589                                                                HATTIESBURG         MS      39402
WEST UNIFIED COMMUNICATIONS                     8420 WEST BRYN MAWR                                                             CHICAGO             IL      60631
WEST VIRGINIA AMERICAN WATER CO                 1600 PENNSYLVANIA AVE                                                           CHARLESTON          WV      25302
WEST WISCONSIN TELCOM COOP                      5808 OLD MILL PLZ                                                               EAU CLAIRE          WI      54703
WESTAR ENERGY INC                               818 SOUTH KANSAS AVENUE                                                         TOPEKA              KS      66612
WESTERN IOWA TELEPHONE ASSN                     202 CEDAR ST                                                                    LAWTON              IA      51030
WESTERN VIRGINIA WATER AUTHORITY                601 S. JEFFERSON STREET                                                         ROANOKE             VA      24011
WILINE NETWORKS                                 104 CARNEGIE CENTER                                                             PRINCETON           NJ      08540
WILINE NETWORKS INC                             104 CARNEGIE CENTER, SUITE 201                                                  PRINCETON           NJ      08540
WILLIAMSPORT MUNICIPAL WATER AUTHORITY          253 WEST FOURTH STREET                                                          WILLIAMSPORT        PA      17701
WINDSTREAM COMMUNICATIONS                       4001 RODNEY PARHAM ROAD                                                         LITTLE ROCK         AR      72212
WINDSTREAM KENTUCKY EAST LLC                    130 W NEW CIRCLE RD # 170                                                       LEXINGTON           KY      40505
WISPER ISP                                      9711 FUESSER ROAD                                                               MASCOUTAH           IL      62258
WOODBURY COUNTY RURAL ELECTRIC COOP             1495 HUMBOLT AVE                                                                MOVILLE             IA      51039
WOW BUSINESS                                    6050 KNOLOGY WAY                                                                COLUMBUS            GA      31909
WVC UTILITY BILLING                             2805 SOUTH 3600 WEST                                                            WEST VALLEY CITY    UT      84119



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XCEL ENERGY                                    401 NICOLLET                                                            MINNEAPOLIS   MN      55401
XFONE USA INC                                  5307 WEST LOOP 289                                                      LUBBOCK       TX      79414
XO COMMUNICATIONS                              14239 COLLECTIONS CENTER DR                                             CHICAGO       IL      60693
XO ONE                                         13865 SUNRISE VALLEY DR.                                                HERNDON       VA      20171
YOUNGSTOWN WATER DEPARTMENT                    CITY HALL, 1ST FLOOR             26 SOUTH PHELPS STREET                 YOUNGSTOWN    OH      44503
ZIPWHIP                                        2401 4TH AVE STE 600                                                    SEATTLE       WA      98121




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                                                                                 Surety Service List
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Name                                               Address 1                              Address 2               Address 3                        City            State Postal Code
ARGONAUT INSURANCE COMPANY                         225 W. WASHINGTON, 6TH FLOOR                                                                    CHICAGO         IL    60606
ARGONAUT INSURANCE COMPANY                         10101 REUNION PLACE                    SUITE 500                                                SAN ANTONIO     TX    78216
ASPEN AMERICAN INSURANCE COMPANY                   175 CAPITAL BOULEVARD                                                                           ROCKY HILL      CT    06067
BERKLEY INSURANCE COMPANY                          ATTN: SURETY CLAIMS DEPARTMENT         412 MOUNT KEMBLE AVE.   SUITE 310N                       MORRISTOWN      NJ    07960
BERKLEY REGIONAL INSURANCE COMPANY                 1901 W CYPRESS CREEK RD.               SUITE 500                                                FORT LAUDERDALE FL    33309
BERKLEY SURETY GROUP                               412 MOUNT KEMBLE AVE.                  SUITE 310N              ATTN: SURETY CLAIMS DEPARTMENT   MORRISTOWN      NJ    07960
CNA SURETY                                         CNA SURETY DIRECT BILL                 POB 957312                                               SAINT LOUIS     MO    63195-7312
TRAVELERS CASUALTY AND SURETY COMPANY OF AMERICA   ONE TOWER SQUARE                                                                                HARTFORD        CT    06183




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ACE AMERICAN INSURANCE CO.                           5505 N. Cumberland Ave                 Suite 307                                           Chicago          IL    60656
ACE RISK MANAGEMENT GLOBAL CASUALTY                  436 WALNUT STREET, 11TH FLOOR                                                              PHILADELPHIA     PA    19106
AFCO PREMIUM CREDIT LLC                              12160 ABRAMS ROAD, SUITE 301-L.B. 51                                                       DALLAS           TX    75243‐4587
ALLIANZ GLOBAL CORPORATE & SPECIALTY                 28 LIBERTY STREET                                                                          NEW YORK         NY    10005
AON PREMIUM FINANCE, LLC                             200 E. RANDOLPH STREET                                                                     CHICAGO          IL    60601
AON RISK SERVICES SOUTHWEST, INC.                    555 SAN FELIPE ST                      SUITE 1500                                          HOUSTON          TX    77056
AON UK LIMITED                                       THE AON CENTRE                         THE LEADENHALL BUILDING122 LEADENHALL STREET        LONDON                 EC3V 4AN        UNITED KINGDOM
AON UK LIMITED                                       THE AON CENTRE                         LEADENHALL BUILDING         122 LEADENHALL STREET   LONDON                 EC3V4AN         UNITED KINGDOM
ARGO HOUSE                                           ARGO HOUSE                             110 PITTS BAY ROAD                                  PEMBROKE               HM 08           BERMUDA
AXIS COMMERCIAL MANAGEMENT SOLUTIONS                 CONNELL CORPORATE PARK                 300 CONNELL DRIVE           PO BOX 357              BERKELEY HEIGHTS NJ    07922-0357
AXIS PRO                                             2300 MAIN STREET, SUITE 800                                                                KANSAS CITY      MO    64108-2404
BEAZLEY INSURANCE COMPANY, INC.                      1270 AVENUE OF THE AMERICAS, SUITE 1200                                                    NEW YORK         NY    10020
BROADSPIRE SERVICES INC                              POB 404325                                                                                 ATLANTA          GA    30384-4325
CHUBB GROUP OF INSURANCE COMPANIES                   1133 AVENUE OF THE AMERICAS                                                                NEW YORK         NY    10036
CORVEL LLC                                           101 E 8TH ST #210                      C/O TOM GARBARINO                                   VANCOUVER        WA    98660
ENDURANCE AMERICAN INSURANCE COMPANY                 Lockbox 9027                           101 North Independence Mall East                    Philadelphia     PA    19106
Fireman's Fund Insurance                             33 W Monroe St # 1200                                                                      Chicago          IL            60603
FIRST INSURANCE FUNDING CORP                         P O BOX 66468                                                                              CHICAGO          IL    60666‐0468
GALLAGHER BASSETT SERVICES INC                       16414 SAN PEDRO AVE #400                                                                   SAN ANTONIO      TX    78232
GREAT AMERICAN INSURANCE COMPANY                     11325 N. Community House Road          Suite 200                                           Charlotte        NC    28277
ILLINOIS NATIONAL INSURANCE CO.                      175 WATER STREET                                                                           NEW YORK         NY    10038
LIBERTY MUTUAL INSURANCE                             POB 85307                                                                                  SAN DIEGO        CA    92186-5307
LIBERTY SURPLUS INSURANCE CORPORATION                PRESIDENTIAL SERVICE TEAM              175 BERKELEY STREET         MS 10B                  BOSTON           MA    02116
LLOYD'S                                              ONE LIME STREET                                                                            LONDON                 EC3M 7HA        UNITED KINGDOM
LLOYD'S & COMPANY MARKETS                            THE COMPLAINTS DEPARTMENT              FIDENTIA HOUSE              WALKER BURKE WAY        CHATHAM          KENT ME4 4RN          UNITED KINGDOM
LLOYD'S & COMPANY MARKETS C/O FOLEY & LARDNER LLP    555 CALIFORNIA STREET                  SUITE 1700                                          SAN FRANCISCO    CA    91404
MAGNA CARTA INSURANCE LTD.                           WINDSOR PLACE                          18 QUEEN STREET                                     HAMILTON                               BERMUDA
MARSH CLEARSIGHT LLC                                 540 W MADISON ST STE 1200                                                                  CHICAGO          IL    60661
MARSH USA INC.                                       500 DALLAS STREET                      SUITE 1500                                          HOUSTON          TX    77002
MARSH USA INC.                                       ATTN: ROCHELLE THOMPSON                4400 COMERICA BANK TOWER1717 MAIN STREET            DALLAS           TX    75201‐7357
MCGRIFF SEIBELS & WILLIAMS INC                       3023 80TH AVE SE STE 300                                                                   MERCER ISLAND    WA    98040
NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PACONNELL CORPORATE CENTER I           100 CONNELL DRIVE, SUITE 2100                       BERKELEY HEIGHTS NJ    07922
NATIONWIDE                                           7 WORLD TRADE CENTER                   250 GREENWICH STREET, 37TH FLOOR                    NEW YORK         NY    10007
NAVIGATORS PRO                                       194 WOOD AVE. SOUTH, 6TH FLOOR                                                             ISELIN           NJ    08830
OLD REPUBLIC PROFESSIONAL LIABILITY, INC.            199 WATER ST., 30TH FLOOR                                                                  NEW YORK         NY    10038
QBE North America                                    1 General Dr                                                                               Sun Prarie       WI            53596
Starr Indemnity & Liability Company                  399 Park Avenue Room 1700                                                                  NEW YORK         NY            10022
TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA       1000 WINDWARD CONCOURSE                                                                    ALPHARETTA       GA    30005
XL America Inc                                       70 Seaview Ave # 6                                                                         Stamford         CT    06902
XL CATLIN                                            1 WORLD FINANCIAL CENTER 200           LIBERTY STREET, 22ND FLOOR                          NEW YORK         NY    10281
XL CATLIN - PROFESSIONAL INSURANCE                   100 CONSTITUTION PLAZA                 17TH FLOOR                                          HARTFORD         CT    06103
XL CATLIN PROFESSIONAL INSURANCE                     ATTN: XL SPECIALTY INSURANCE COMP 100 CONSTITUTION PLAZA 17TH FLOOR                        HARTFORD         CT    06103
XL EXCESS LIABILITY                                  3340 PEACHTREE ROAD, N.E.              SUITE 2950                                          ATLANTA          GA            30326
ZURICH NORTH AMERICA COMMERCIAL                      CUSTOMER INQUIRY CENTER                1299 ZURICH WAY                                     SCHAUMBURG       IL    60196




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                                                                    Taxing Authority Service List
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Name                                       Address 1                                Address 2                      City           State Postal Code
Acadia Parish School Board                 PO Drawer 309                                                           Crowley        LA    70527-0309
                                           4430 S Adams County Pkwy - 1st Fl Ste
Adams County Tax Collector                 W2000B                                                                  BRIGHTON       CO    80601-8218
Agawam Municipal Tax Collector             36 Main St                                                              Agawam         MA    01001-1837
Aiken County Treasurer                     POB 919                                                                 Aiken          SC    29802-0919
Alabama Department of Revenue              PO Box 327790                                                           Montgomery     AL    36132-7790
Alachua County Tax Collector               5830 NW 34th Blvd                                                       Gainesville    FL    32653-2115
Alameda County Tax Collector               1221 Oak St Rm 131                                                      Oakland        CA    94612-4285
Aldine ISD Tax Office                      POB 203989                                                              Houston        TX    77216-3989
Allegany County Tax Collector              701 Kelly Rd Ste 201                                                    Cumberland     MD    21502
Allegheny County Treasurer                 POB 643385                                                              Pittsburgh     PA    15264-3385
Allen County Treasurer                     POB 123                                                                 Lima           OH    45802
Amherst County Tax Collector               POB 449                                                                 Amherst        VA    24521-0449
Anchorage Muncipal Tax Collector           POB 196040                                                              Anchorage      AK    99519-6040
Angelina County Tax Assessor-Collector POB 1344                                                                    Lufkin         TX    75902
Antietam School District               POB 4514                                                                    Lancaster      PA    17604
Arizona Department of Revenue              PO Box 29010                                                            Phoenix        AZ    85038-9010
Arizona Department of Revenue              PO Box 29085                                                            Phoenix        AZ    85038-9085
Arlington County Treasurer                 2100 Clarendon Blvd., Ste. 217                                          Arlington      VA    22201
Arlington CSD                              1 Overocker Rd                                                          Poughkeepsie   NY    12603
Ashland County Treasurer                   142 W 2nd St                                                            Ashland        OH    44805
Auburn                                     Revenue Office                           144 Tichenor Avenue, Suite 6   Auburn         AL    36830
Augusta County Tax Collector               POB 590                                                                 Verona         VA    24482
Augusta Municipal Tax Collector            16 Cony St                                                              Augusta        ME    04330
Avondale                                   11465 W Civic Center Drive Ste 260                                      Avondale       AZ    85323-6808
Baldwin County Tax Collector               POB 1549                                                                Bay Minette    AL    36507
Baltimore City Tax Collector               200 N Holliday St Rm 3                                                  Baltimore      MD    21202
Baltimore County Tax Collector             400 Washington Ave Room 152                                             Towson         MD    21204-4665

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Name                                       Address 1                                 Address 2        City                State Postal Code
Bangor Municipal Tax Collector             73 Harlow St                                               Bangor              ME    04401
Barnstable Municipal Tax Collector         POB 742                                                    Reading             MA    01867-0405
Bay County Tax Collector                   POB 2285                                                   Panama City         FL    32402
Bedford County Tax Collector               122 E Main St Ste 101                                      Bedford             VA    24523-2000
Bell County Chief Appraiser                POB 390                                                    Belton              TX    76513-0390
Belmont County Treasurer                   101 W Main St Courthouse                                   Saint Clairsville   OH    43950
Benton County Tax Collector                215 E Central Ave Room 101                                 Bentonville         AR    72712
Berkheimer Tax Admin/HAB-BPT               PO Box 21810                                               Lehigh Valley       PA    18002
Berks County Treasurer                     633 Court St 2nd Floor                                     Reading             PA    19601-4318
Bernalillo County Tax Collector            POB 27800                                                  Albuquerque         NM    87125-7800
Bexar County Tax Assessor-Collector        POB 2903                                                   San Antonio         TX    78299-2903
Bibb County Tax Collector                  POB 4724                                                   Macon               GA    31208-4724
Birmingham                                 PO Box 830638                                              Birmingham          AL    35283-0638
Board of Equalization                      PO Box 942879                                              Sacramento          CA    94279-7072
Bolivar City Tax Collector                 211 N Washington St                                        Bolivar             TN    38008
Boston Municipal Tax Collector             POB 55810                                                  Boston              MA    02205
Boulder County Tax Collector               POB 471                                                    Boulder             CO    80306
Boyd County Tax Collector                  POB 558                                                    Catlettsburg        KY    41129
Brantley County Tax Collector              POB 829; 234 Brantley St Ste 400                           Nahunta             GA    31553
Brazos County Tax Assessor-Collector       4151 County Park Ct                                        Bryan               TX    77802
Brevard County Tax Collector               POB 2500                                                   Titusville          FL    32781
Brewer Municipal Tax Collector             80 N Main St                                               Brewer              ME    04412-2039
Brookfield Town Tax Collector              POB 508                                                    Brokfield           CT    06804
Broward County Tax Collector               115 S Andrews Ave Rm A-100                                 Fort Lauderdale     FL    33301
Broward County Tax Collector               115 S. Andres Ave                         RM A100          Fort Lauderdale     FL    33301
Bullitt County Tax Collector               300 S Buckman St POB 205                                   Shepherdsville      KY    40165
Buncombe County Tax Collector              94 Coxe Ave                                                Asheville           NC    28801-3620
Burke Town Collector                       5365 Reiner Rd                                             Madison             WI    53718

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Name                                       Address 1                                   Address 2       City             State Postal Code
Burleigh County Tax Collector              Box 5518                                                    Bismark          ND    58506
Cabell County Tax Collector                POB 2114                                                    Huntington       WV    25721
Caddo Shreveport                           PO Box 10412                                                Shreveport       LA    71161
Calcasieu Parish School System             PO Drawer 2050                                              Lake Charles     LA    70602-2050
Calcasieu Parish Tax Collector             POB 1450                                                    Lake Charles     LA    70602
California Board of Equalization           PO Box 942879                                               Sacramento       CA    94279-0088
Camden County Tax Collector                POB 698                                                     Woodbine         GA    31569-0698
Cameron County Tax Assessor-Collector POB 952                                                          Brownsville      TX    78522
Campbell County Tax Collector         1098 Manmouth St Ste 216                                         Newport          KY    41071
Carrollton-Farmers Branch ISD Tax OfficePOB 110611                                                     Carrollton       TX    75011-0611
Catlettsburg City Tax Collector         POB 533                                                        Catlettsburg     KY    41129
Cecil County Tax Collector                 200 Chesapeake Blvd Ste 1100                                Elkton           MD    21921
Charleston County Treasurer                POB 100242                                                  Columbia         SC    29202-3242
Charlotte County Tax Collector             18500 Murdock Cir                                           Port Charlotte   FL    33948
Chatham County Tax Collector               POB 117037                                                  Atlanta          GA    30368-7037
Chattahoochee County Tax Collector         215 McNaughton St                                           Cusseta          GA    31805
Chattanooga City Tax Collector             POB 191                                                     Chattanooga      TN    37401-0191
Chesapeake City Tax Collector              POB 1606                                                    Chesapeake       VA    23327-1606
Chesterfield County Tax Collector          POB 26585                                                   Richmond         VA    23261-6585
Chesterfield County Treasurer              POB 750                                                     Chesterfield     SC    29709
Christian County Tax Collector             216 7th St                                                  Hopkinsville     KY    42240
Christian County Tax Collector             100 W Church St Rm 101                                      Ozark            MO    65721
City & County of Denver Dept. of Finance 201 W. Colfax Ave.                                            Denver           CO    80202-5329
City and Borough of Sitka                100 Lincoln Street                                            Sitka            AK    99835
City and County of Denver                  PO Box 660860                                               Dallas           TX    75266-0860
City of Albany                             Business License Division                   PO Box 447      Albany           GA    31702-0447
City of Arvada                             8101 Ralston Road                                           Arvada           CO    80002
City of Ashland                            Dept. of Finance                            PO Box 1839     Ashland          KY    41105-1839

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Name                                       Address 1                                  Address 2                           City           State Postal Code
City of Aspen                              PO Box 912513                                                                  Denver         CO    80291-2513
City of Atlanta                            55 Trinity Avenue, SW, Suite 1350                                              Atlanta        GA    30303
City of Auburn                             144 Tichenor Avenue, Suite 6                                                   Auburn         AL    36830
City of Augusta                            530 Greene St                              Room 108                            Augusta        GA    30911
City of Aurora                             PO Box 33001                                                                   Aurora         CO    80041-3001
City of Bakersfield                        PO Box 2057                                                                    Bakersfield    CA    93303
                                           City-Parish Finance Department
City of Baton Rouge                        Revenue Division                           222 State Louis Street - Room 404   Baton Rouge    LA    70802
City of Bedford                            Division of Taxation, 165 Center Road                                          Bedford        OH    44146
City of Biloxi                             PO Box 508                                                                     Biloxi         MS    39533
City of Birmingham                         PO Box 830638                                                                  Birmingham     AL    35283-0638
City of Boulder                            PO Box 791                                                                     Boulder        CO    80306-0791
City of Brighton                           500 So. 4th Avenue                                                             Brighton       CO    80601
City of Burbank                            275 E Olive Ave                                                                Burbank        CA    91502
City of Canon City                         PO Box 17946                                                                   Denver         CO    80217-0946
City of Centennial                         PO Box 17383                                                                   Denver         CO    80217-0383
City of Chicago                            333 South State Street, Suite 300                                              Chicago        IL    60604-3977
City of Colorado Springs                   Department 2408                                                                Denver         CO    80256-0001
City of Coral Gables                       405 Biltmore Way, City Hall                Finance Dept - Collection Div       Coral Gables   FL    33134
City of Covington                          20 West Pike Street                                                            Covington      KY    41011
City of Decatur                            PO Box 830525                                                                  Birmingham     AL    35283-0525
City of Dinuba                             Finance Department                         405 E. El Monte Way                 Dinuba         CA    93618
City of Dover                              PO Box 475                                                                     Dover          DE    19901
City of Durango                            949 East Second Avenue                                                         Durango        CO    81301-5109
City of Englewood                          PO Box 2900                                                                    Englewood      CO    80150-2900
City of Florence                           180 North Irby St.                         MSC-A                               Florence       SC    29501
City of Fort Collins                       PO Box 440                                                                     Fort Collins   CO    80522-0439
City of Fort Smith                         Collections Dept.                                                              Fort Smith     AR    72902

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Name                                       Address 1                                Address 2                           City             State Postal Code
City of Glencoe                            201 West Chastain Boulevard                                                  Glencoe          AL    35905
City of Glendale                           950 South Birch Street                                                       Glendale         CO    80246
City of Goodyear                           190 N. Litchfield Road                                                       Goodyear         AZ    85338
City of Grand Junction                     250 North 5th Street                                                         Grand Junction   CO    81501-2668
City of Grants Pass                        101 NW A St.                             Room 103                            Grants Pass      OR    97526
City of Greeley                            PO Box 1648                                                                  Greeley          CO    80632
City of Greenville                         440 Roper Mountain Rd.                                                       Greensville      SC    29615
City of Greenwood Village                  PO Box 910841                                                                Denver           CO    80274
City of Harrisburg                         Tax Department                           10 North Second Street, Suite 103   Harrisburg       PA    17101
City of Hattiesburg                        Tax Collector                            PO Box Drawer 1898                  Hattiesburg      MS    39403-1898
City of Hoover                             PO Box 11407                                                                 Hoover           AL    35246-0144
City of Huntington                         PO Box 1659                                                                  Huntington       WV    25717-1659
City of Huntsville                         PO Box 11407                                                                 Birmingham       AL    35246-2108
City of Irondale                           PO Box 100188                                                                Irondale         AL    35210-0188
City of Jacksonville/Duval County          Tax Collector                            231 E Forsyth St., RM 141           Jacksonville     FL    32202
City of Kansas City                        411 City Hall                                                                Kansas City      MO    64106
City of La Mirada                          13700 La Mirada Blvd                                                         La Mirada        CA    90638
City of Las Vegas                          400 Stewart Avenue                                                           Las Vegas        CA    89101
City of Little Rock                        Treasury Management Division             500 W Markham, 100 City Hall        Little Rock      AR    72201-1497
City of Long Beach                         Finance Department                       333 W. Ocean Blvd.                  Long Beach       CA    90802
City of Longmont                           350 Kimbark                                                                  Longmont         CO    80501
City of Los Angeles                        PO Box 53233                                                                 Los Angeles      CA    90053
City of Loveland                           PO Box 845                                                                   Loveland         CO    80539-0845
City of Maitland                           1776 Independence Lane                                                       Maitland         FL    32751
City Of Melbourne                          900 E Strawbridge Ave                                                        Melbourne        FL    32901
City Of Miramar                            6700 Miramar Parkway                                                         Miramar          FL    33023
City of Montgomery                         PO Box 830469                                                                Birmingham       AL    35283-0469
City of Montrose                           433 South 1st Street                                                         Montrose         CO    81402-0790

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Name                                       Address 1                                  Address 2           City             State Postal Code
City of New Orleans                        PO Box 61840                                                   New Orleans      LA    70161-1840
City of Newnan                             Finance Department                         PO Box 1193         Newnan           GA    30264
City of Nogales                            777 N. Grand Avenue                                            Nogales          AZ    85621
City of Nome                               PO Box 281                                                     Nome             AK    99762
City of Northport                          PO Box 569                                                     Northport        AL    35476
City of Oakland                            1200 N Telegraph Rd.                                           Pontiac          MI    48341-0479
City of Ocala                              151 SE Osceola Ave                                             Ocala            FL    34471
City of Pelham                             PO Box 1238                                                    Pelham           AL    35124
City of Philadelphia                       Department of Revenue                      PO Box 1393         Philadelphia     PA    19105-1393
City of Plant City                         302 W Reynolds Street                                          Plant City       FL    33564
City of Port St Lucie                      121 SW Port St. Lucie Blvd.                                    Port St. Lucie   FL    34984
City of Portland                           111 SW Columbia St. Suite 600                                  Portland         OR    97201
City of Pueblo                             PO Box 1427                                                    Pueblo           CO    81002
City of Reading                            Office of Finance                          815 Washington St   Reading          PA    19601
City of Riverside                          3900 Main Street                                               Riverside        CA    92522
City of Sacramento                         915 I Street                                                   Sacramento       CA    95814
City of Saint Louis                        Assessor's Office                          1200 Market St.     St. Louis        MO    63103
City of Salinas                            City Hall                                  200 Lincoln Ave.    Salinas          CA    93901
City of San Diego                          PO Box 121536                                                  San Diego        CA    92112
City of San Francisco                      1390 Market St Suite 210                                       San Francisco    CA    94102
City of Savannah Revenue Department        Revenue Department                         PO Box 1228         Savannah         GA    31402-1228
City of Seattle                            PO Box 34214                                                   Seattle          WA    98124-4214
City of Seattle                            PO BOX 34904                                                   Seattle          WA    98124-1904
City of Somerset                           Tax Collector                                                  Somerset         KY    42502
City of Springfield                        PO Box 8368                                                    Springfield      MO    65801-8368
City of Springfield                        Income Tax Division, P.O. Box 5200                             Springfield      OH    45501
City of Steamboat Springs                  PO Box 772869                                                  Steamboat Springs CO   8047-2869
City of Sweetwater                         City Hall                                  500 SW 109 Ave.     Sweetwater       FL    33174

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Name                                       Address 1                                Address 2         City              State Postal Code
City of Tacoma                             PO Box 11640                                               Tacoma            WA    98411-6640
City of Tacoma                             733 Market St.                                             Tacoma            WA    98402
City of Tampa                              Business Tax Division                    PO Box 2200       Tampa             FL    33601
City of Tuscaloosa                         PO Box 2089                                                Tuscaloosa        AL    35403-2089
City of Valley                             20 Fob James Drive                       P.O. Box 186      Valley            AL    36854
City of West Palm Beach                    PO Box 1390                                                West Palm Beach   FL    33402
City of West Point                         PO Box 487                                                 West Point        GA    31833-0487
                                           Columbus Income Tax Division, PO Box
City Treasurer                             182158                                                     Columbus          OH    43218-2158
City/Borough of Juneau                     155 S. Seward Street                                       Juneau            AK    99801-1397
Clackamas County Tax Collector             POB 6100                                                   Portland          OR    97228-6100
Clark County                               PO Box 551220                                              Las Vegas         NV    89155
                                           500 S Grand Central Prkwy - 2nd FL /
Clark County Tax Collector                 POB 551401                                                 Las Vegas         NV    89155-1401
Clark County Treasurer                     POB 1305                                                   Springfield       OH    45501
Cleveland County Tax Collector             201 S Jones Ste 100                                        Norman            OK    73069
Coal Twp Collector                         805 W Lynn St                                              Coal Township     PA    17866
Cobb County Tax Collector                  POB 100127                                                 Marietta          GA    30061-7027
COFIM-Municipio de Caguas                  400 Calle Calaf PMB 58                                     San Juan          PR    00918-1314
Colbert County Tax Collector               POB 741010                                                 Tuscumbia         AL    35674
Cold Spring City Tax Collector             5694 E Alexandria Pike                                     Cold Spring       KY    41076-9164
Collector of Revenue                       Taxation Division                        PO Box 3365       Jefferson City    MO    65105-3365
Collector of Revenue                       1200 Market St.                          410 City Hall     St. Louis         MO    63103-2841
Colorado Department of Revenue             1375 Sherman Street                                        Denver            CO    80261-0013
Colquitt City Tax Collector                154 West St                                                Colquitt          GA    39837
Columbia County Tax Collector              POB 3030                                                   Evans             GA    30809-0077
Columbus Consolidated Government           50 W Gay Street                                            Columbus          OH    43215
Comanche County Tax Collector              315 SW 5th St Ste 300                                      Lawton            OK    73501


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Name                                      Address 1                                 Address 2                 City            State Postal Code
Commissioner of Revenue Services          PO Box 5030                                                         Hartford        CT    06102-5030
Commonwealth of Massachusetts             PO Box 419257                                                       Boston          MA    02241-9257
Commonwealth of Massachusetts             436 Dwight Street                                                   Springfield     MA    01103
Comptroller of Maryland-SUT               PO Box 17405                                                        Baltimore       MD    21297-1405
Connecticut Department of Revenue         25 Sigourney Street                                                 Hartford        CT    06106
Contra Costa County Tax Collector         POB 7002                                                            San Francisco   CA    94120
Corporation Income Tax Section            PO Box 919                                                          Little Rock     AR    72203-0919
County of Osceola                         2501 E Irlo Bronson Memorial Hwy                                    Kissimmee       FL    34744
Coweta County Tax Collector               POB 195                                                             Newnan          GA    30264
Craighead County Tax Collector            POB 9276                                                            Jonesboro       AR    72403
Crittenden County Tax Collector           250 Pine Ste 2                                                      Marion          AR    72364
Cumberland City Tax Collector             57 N Liberty St                                                     Cumberland      MD    21502
Cuyahoga County Treasurer                 POB 94547                                                           Cleveland       OH    44101
Dakota County Tax Collector               POB 863                                                             Dakota City     NE    68731
Dallas County Tax Assessor-Collector      POB 139066                                                          Dallas          TX    75313-9066
Dane County Treasurer                     POB 1299                                                            Madison         WI    53701-1299
Dane Town Collector                       6598 Stevenson Rd                                                   Dane            WI    53529
Darlington County Treasurer               1 Public SQ RM 203                                                  Darlington      SC    29532-3296
Dauphin County Treasurer                  101 Market St Rm 105                                                Harrisburg      PA    17101-2078
Davidson County Tax Collector             POB 305012                                                          Nashville       TN    37230
Dayton ISD Tax Office                     POB 457                                                             Dayton          TX    77535
                                          Office of Tax and Revenue PO Box
DC Treasurer                              96019                                                               Washington      DC    20090-6019
Defiance County Treasurer                 POB 278                                                             Defiance        OH    43512
DeKalb County Tax Collector               POB 100004                                                          Decatur         GA    30031-7004
Delaware                                  Carvel State Office Building              820 North French Street   Wilmington      DE    19801
Delaware Division of Revenue              PO Box 2340                                                         Wilmington      DE    19899-2340
Denver County Tax Collector               POB 17420                                                           Denver          CO    80217-0420

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Name                                       Address 1                                 Address 2        City               State Postal Code
Department of Finance & Administration PO Box 919                                                     Little Rock        AR    72203-0919
Department of Revenue                  Centralized Insolvency Operation              P.O. Box 7346    Philadelphia       PA    19101-7346
Department of Revenue                      PO Box 23191                                               Jackson            MS    39225-3191
Department of Revenue and Taxation         PO Box 3138                                                Baton Rouge        LA    70821-3138
Department of the Treasury                 1500 Pennsylvania Avenue, NW                               Washington         DC    20220
Detroit City Treasurer                     POB 55000; Dept 268301                                     Detroit            MI    48255-2683
Dillon County Treasurer                    POB 552                                                    Dillon             SC    29536-0552
Director of Revenue                        PO Box 840                                                 Jefferson City     MO    65105-0840
District of Columbia Treasurer             POB 96183                                                  Washington         DC    20090-6144
Division of Revenue                        P.O. Box 14058                                             Lexington          KY    40512
Dougherty County Tax Collector             POB 1827                                                   Albany             GA    31702
Douglas County Tax Collector               POB 1208                                                   Castle Rock        CO    80104
Douglas County Tax Collector               POB 2855                                                   Omaha              NE    68103-2855
Dover Town Collector                       4110 Beaumont Ave                                          Kansasville        WI    53139
Dunn County Tax Collector                  800 Wilson Ave Rm #150                                     Menomonie          WI    54751
Dunn Town Collector                        4156 County Rd B                                           McFarland          WI    53558
Durham County Courthouse                   POB 30090                                                  Durham             NC    27702-3090
Duval County Tax Assessor-Collector        POB 44009                                                  Jacksonville       FL    32231-4009
E Baton Rouge Parish Tax Collector         POB 70                                                     Baton Rouge        LA    70821
East Providence City Tax Collector         145 Taunton Ave                                            East Providence    RI    02914
Eau Claire City Collector                  721 Oxford Ave Ste 1250                                    Eau Claire         WI    54703-5478
Edgefield County Treasurer                 POB 22                                                     Edgefield          SC    29824
Egelston Township Treasurer                5428 E Apple Ave                                           Muskegon           MI    49442
El Dorado County Tax Collector             POB 678002                                                 Placerville        CA    95667-8002
El Paso County Tax Assessor-Collector POB 2992                                                        El Paso            TX    79999-2992
El Paso County Tax Assessor-Collector POB 4622                                                        Houston            TX    77210-4622
El Paso County Tax Collector               POB 2018                                                   Colorado Springs   CO    80901-2018
Elk Mound Town Collector                   E8235 N County Rd E                                        Elk Mound          WI    54739

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Name                                       Address 1                                  Address 2       City               State Postal Code
Ellenville Central School                  POB 47                                                     Ellensville        NY    12428
Ellenville Village Tax Collector           POB 287                                                    Ellenville         NY    12428
Escambia County Tax Collector              POB 1312                                                   Pensacola          FL    32591-1312
Etowah County Tax Collector                800 Forest Ave Rm 005                                      Gadsden            AL    35901
Fairbanks North Star Borough Tax Collec POB 71320                                                     Fairbanks          AK    99707
Fairfax County Tax Collector            POB 10201                                                     Fairfax            VA    22035-0201
Falmouth Municipal Tax Collector           POB 783                                                    Reading            MA    01867-0406
Farmington Hills City Treasurer            31555 W Eleven Mile Rd                                     Farmington Hills   MI    48336
Farmington Municipal Tax Collector         356 Main St                                                Farmington         NH    03835
Farmington Town Tax Collector              POB 150462                                                 Hartford           CT    06115
Fayette County Public Schools              P.O. Box 55570                                             Lexington          KY    40555-5570
Fayette County Tax Collector               POB 34148                                                  Lexington          KY    40588-4148
Fayette County Treasurer                   133 S Main St Ste 304                                      Washington Court H OH    43160
Federal Communications Commission          445 12th Street SW                                         Washington         DC    20554
Fitchburg City Collector                   5520 Lacy Rd                                               Fitchburg          WI    53711
Florence County Treasurer                  POB 100501                                                 Florence           SC    29501-0501
Florida Department of Revenue              5050 W. Tennessee Street                                   Tallahassee        FL    32399-0120
Floyd County Treasurer                     POB 2010                                                   New Albany         IN    47151-2010
Forrest County Tax Collector               POB 1689                                                   Hattiesburg        MS    39403
Fort Bend County Tax Assessor-CollectorPOB 1028                                                       Sugarland          TX    77487-1028
Framingham Municipal Tax Collector         150 Concord St Rm 109                                      Framingham         MA    01702
Franchise Tax Board                        P.O. Box 942857                                            Sacramento         CA    94257-0532
Franklin County Tax Collector              1255 Franklin St Ste 101                                   Rocky Mount        VA    24151
Franklin County Treasurer                  150 S Front St FSL Ste 10                                  Columbus           OH    43215-7104
Frederick County Tax Collector             POB 4310                                                   Frederick          MD    21705-4310
Frederick County Tax Collector             POB 7418                                                   Merrifield         VA    22116-7418
Fresno County Tax Collector                POB 1192                                                   Fresno             CA    93715-1192
Frio County Chief Appraiser                POB 1129                                                   Pearsall           TX    78061

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Name                                       Address 1                                 Address 2        City            State Postal Code
Frio County Tax Assessor-Collector         500 E San Antonio St Box 20                                Pearsall        TX    78061
Fulton County Tax Collector                POB 105052                                                 Atlanta         GA    30348-5052
Gadsen                                     PO Box 267                                                 Gadsden         AL    35902
Gallatin County Tax Collector              POB 1025                                                   Warsaw          KY    41095
Gaston County Tax Collector                POB 1578                                                   Charlotte       NC    28053
Georgia Department of Revenue              PO Box 105408                                              Atlanta         GA    30348-5408
Georgia Department of Revenue              PO Box 740239                                              Atlanta         GA    30374-0239
Gibraltar City Treasurer                   29450 Munro                                                Gibraltar       MI    48173
Glendale City Collector                    5909 N Milw River Pkwy                                     Glendale        WI    53209-3815
Glynn County Tax Collector                 POB 1259                                                   Brunswick       GA    31521
Goffstown Municipal Tax Collector          16 Main St                                                 Goffstown       NH    03045
Grand Forks County Tax Collector           POB 5638                                                   Grand Forks     ND    58206
Grand Rapids City Treasurer                300 Monroe Ave NW Rm 220                                   Grand Rapids    MI    49503-2296
Grayson County Tax Assessor-Collector POB 2107                                                        Sherman         TX    75091
Green Tree Borough/Allegheny Co.      10 West Manilla Avenue                                          Pittsburgh      PA    15220
Greene County Tax Collector                940 Booneville Ave                                         Springfield     MO    65802
Greenfield City Collector                  7325 W Forest Home Ave Rm 103                              Greenfield      WI    53220-3356
Greenport Town Tax Collector               600 Town Hall Dr                                           Hudson          NY    12534
Greenville County Treasurer                POB 100221                                                 Columbia        SC    29202-3221
Gregory F X Daly                           1200 Market St.                           410 City Hall    St. Louis       MO    63103-2841
Grimes County Chief Appraiser              POB 489                                                    Anderson        TX    77830
Guadalupe County Tax Assessor-Collecto307 W Court                                                     Seguin          TX    78155
Guilford County Tax Collector         POB 71072                                                       Charlotte       NC    28272-1072
Gulf County Tax Collector                  1000 Costin Blvd Rm 147                                    Port St Joe     FL    32456
Gwinnett County Tax Collector              POB 372                                                    Lawrenceville   GA    30046
Hall County Tax Collector                  POB 1579                                                   Gainesville     GA    30503
Hamden Town Tax Collector                  POB 150426                                                 Hartford        CT    06115-0426
Hamilton County Tax Collector              POB 11047                                                  Chattanooga     TN    37401

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Name                                       Address 1                                Address 2         City             State Postal Code
Hardeman County Tax Assessor-Collecto POB 337                                                         Bolivar          TN    38008
Harford County Tax Collector          POB 64069                                                       Baltimore        MD    21264-4069
Harris County Tax Assessor-Collector       POB 4622                                                   Houston          TX    77210-4622
Harrison County Tax Assessor-Collector POB 1270                                                       Gulfport         MS    39502
Harrison County Treasurer              245 Atwood St Ste 213                                          Corydon          IN    47112
Harrisonburg City Tax Collector            POB 1007                                                   Harrisonburg     VA    22803-1007
Hartford City Tax Collector                POB 2719                                                   Hartford         CT    06146-2719
Hawaii Department of Taxation              PO Box 1425                                                Honolulu         HI    96806-1425
Hays County Tax Assessor-Collector         712 S Stagecoach Trl Ste 1120                              San Marcos       TX    78666-6073
Haywood County Tax Collector               POB 63040                                                  Charlotte        NC    28263-3040
Hempfield School District                  POB 37832                                                  Baltimore        MD    21297-7830
Henderson County Tax Collector             200 N Grove St Ste 66                                      Hendersonville   NC    28792-5027
Henrico County Tax Collector               POB 3370                                                   Henrico          VA    23228-9770
Hidalgo County Tax Assessor-Collector      POB 3337                                                   Edinburg         TX    78540
Highland County Treasurer                  POB 824                                                    Hillsboro        OH    45133-0824
Hill County Tax Assessor-Collector         POB 412                                                    Hillsboro        TX    76645
Hillsborough County Tax Collector          POB 30012                                                  Tampa            FL    33630-3012
Hinds County Tax Collector                 POB 1727                                                   Jackson          MS    39215
Holden Municipal Tax Collector             1204 Main St                                               Holden           MA    01520
Holmes County Tax Collector                POB 449                                                    Lexington        MS    39095
Holyoke Municipal Tax Collector            POB 4135                                                   Woburn           MA    01888-4135
Hopkinsville City Tax Collector            POB 707                                                    Hopkinsville     KY    42241
Horry County Treasurer                     POB 602773                                                 Charlotte        NC    28260-2773
Houston County Tax Collector               POB 7799                                                   Warner Robins    GA    31095-7799
                                           POB 470 - C/O The Bank of Greene
Hudson City School District                County                                                     Catskill         NY    12414
Huntsville                                 PO Box 11407                                               Birmingham       AL    35246
Iberville Parish Tax Collector             Post Office Drawer 231                                     Plaquemine       LA    70765-0231

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Name                                       Address 1                                   Address 2       City           State Postal Code
Idaho State Tax Commission                 PO Box 76                                                   Boise          ID    83707
Idaho State Tax Commission                 PO Box 83784                                                Boise          ID    83707-3784
Illinois Department of Revenue             Retailer's Occupation Tax                                   Springfield    IL    62796-0001
Illinois Secretary of State                501 S 2nd St.                               RM 350          Springfield    IL    62756
Indiana Department of Revenue              PO Box 7218                                                 Indianapolis   IN    46207-7218
Indiana Department of Revenue              PO Box 7226                                                 Indianapolis   IN    46207-7226
Iowa Department of Revenue and Financ PO Box 10412                                                     Des Moines     IA    50306-0412
Iredell County Tax Collector          POB 63030                                                        Charlotte      NC    28263-3030
Jackson County Tax Assessor-Collector POB 219747                                                       Kansas City    MO    64121-9747
Jackson County Tax Assessor-Collector POB 998                                                          Pascagoula     MS    39568
Jamestown Township Treasurer               2380 Riley St                                               Hudsonville    MI    49426
Jasper County Treasurer                    POB 722                                                     Ridgeland      SC    29936
Jefferson County                           100 Jefferson County Parkway                Suite 2500      Golden         CO    80419
Jefferson County Department of RevenuePO Box 830710                                                    Birmingham     AL    35283-0710
Jefferson County Tax Assessor-Collector POB 2112                                                       Beaumont       TX    77704

Jefferson County Tax Collector             716 Richard Arrington Jr Blvd N Rm 160                      Birmingham     AL    35203
Jefferson County Tax Collector             POB 6269                                                    Pine Bluff     AR    71611-6269
Jefferson County Tax Collector             100 Jefferson County Pkwy Ste 2520                          Golden         CO    80419-2520
Jefferson County Tax Collector             POB 34570                                                   Louisville     KY    40232-4570
Jefferson County Tax Collector             POB 9                                                       Charles Town   WV    25414-0009
Jersey Shore Area SD                       POB 4455                                                    Lancaster      PA    17604-4456
Johnson County Treasurer                   POB 2420                                                    Iowa City      IA    52244
Jones County Tax Collector                 101 Court St Ste A                                          Ellisville     MS    39437
Kansas Department of Revenue               915 SW Harrison Street                                      Topeka         KS    66612-1588
Keith County Tax Collector                 511 N Spruce #103                                           Ogallalla      NE    69153
Kenai Peninsula Borough                    144 North Binkley                                           Soldotna       AK    99669-7520
Kenton County Tax Collector                POB 188070                                                  Erlanger       KY    41018

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Name                                       Address 1                                Address 2         City           State Postal Code
Kentucky State Treasurer                   Kentucky Dept of Revenue                                   Frankfort      KY    40620-0003
Kern County Tax Collector                  POB 541004                                                 Los Angeles    CA    90054-1004
Ketchikan Gateway Bourough                 1900 First Avenue, Suite 118                               Ketchikan      AK    99901
King County Tax Collector                  500 Fourth Ave Rm 600                                      Seattle        WA    98104-2387
Lafayette City Tax Collector               POB 4024                                                   Lafayette      LA    70502
Lafayette Parish School Board              PO Box 52706                                               Lafayette      LA    70505-2706
Lafayette Parish Tax Collector             POB 52667                                                  Lafayette      LA    70505
Lake County Tax Collector                  POB 327                                                    Tavares        FL    32778
Laketon Township Treasurer                 2735 W Giles Rd                                            Muskegon       MI    49445
Lamar County Tax Collector                 POB 309                                                    Purvis         MS    39475
Lancaster County Treasurer                 150 N Queen St POB 1447                                    Lancaster      PA    17608
Laramie County Tax Collector               POB 125                                                    Cheyenne       WY    82003
Larimer County Tax Collector               POB 2336                                                   Fort Collins   CO    80522
Laurens County Treasurer                   POB 1049                                                   Laurens        SC    29360-1049
Lee County Tax Collector                   POB 2413                                                   Opelika        AL    36803
Lee County Tax Collector                   POB 1609                                                   Fort Myers     FL    33902-1609
Lee County Tax Collector                   POB 9                                                      Leesburg       GA    31763
Lee County Tax Collector                   POB 271                                                    Tupelo         MS    38802
Lee County Tax Collector                   PO Box 1609                                                Fort Myers     FL    33902
LeFlore County Tax Collector               POB 100                                                    Poteau         OK    74953
Leighton Township Treasurer                4451 12th St Ste A                                         Wayland        MI    49348
Leon County Tax Collector                  POB 1835                                                   Tallahassee    FL    32302-1835
Lexington County Treasurer                 POB 3000                                                   Lexington      SC    29071
LFUCG                                      200 E. Main Street                                         Lexington      KY    40507
Liberty County Tax Assessor-Collector      POB 1810                                                   Liberty        TX    77575
Limestone County Tax Assessor-Collecto 100 S Clinton St 1st Fl                                        Athens         AL    35611
Lincoln Parish                             PO Box 863                                                 Ruston         LA    71273-0863
Livingston Parish Tax Collector            POB 370                                                    Livingston     LA    70754-0370

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Name                                      Address 1                                 Address 2        City           State Postal Code
Livingston Town Tax Collector             POB 247                                                    Germantown     NY    12526
Los Angeles County Assessor               PO Box 54027                                               Los Angeles    CA    90054-0027
Los Angeles County Tax Collector          POB 54018                                                  Los Angeles    CA    90054-0018
Loudoun County Tax Collector              POB 1000                                                   Leesburg       VA    20177
Louisiana Department of Revenue           PO Box 91011                                               Baton Rouge    LA    70821-9011
Louisiana Department of Revenue           PO BOX 751                                                 Baton Rouge    LA    70821-0751
Louisville Metro Revenue Commission       617 W Jefferson St                                         Louisville     KY    40202
Lower Alsace Twp Collector                624 Angora Rd                                              Reding         PA    19606-9617
Lucas County Treasurer                    One Government Center 500                                  Toledo         OH    43604
Lycoming County Treasurer                 POB 640                                                    Wellsboro      PA    16901
Lynchburg City Tax Collector              POB 9000                                                   Lynchburg      VA    24505-9000
Madison                                   PO Box 2997                                                Madison        WI    53701
Madison City Collector                    POB 2999                                                   Madison        WI    53701-2999
Madison County Tax Collector              100 Northside Sq                                           Huntsville     AL    35801
Madison County Tax Collector              POB 113                                                    Canton         MS    39046
Mahoning County Treasurer                 120 Market St                                              Youngstown     OH    44503
Maine Revenue Services                    PO Box 1065                                                Augusta        ME    04332-1065
Maine Revenue Services                    Compliance Division                       PO Box 9107      Augusta        ME    04332-9107
Manatee County Tax Collector              POB 25300                                                  Bradenton      FL    34206-5300
Manchester Municipal Tax Collector        POB 9598                                                   Manchester     NH    03108-9598
Maricopa County Treasurer                 POB 52133                                                  Phoenix        AZ    85072-2133
Marin County Tax Collector                POB 4220                                                   San Rafael     CA    94913
Marion County Assessor                    PO Box 257                                                 Marion         KS    66861-0257
Marion County Tax Collector               POB 489                                                    Hamilton       AL    35570
Marion County Treasurer                   POB 6145                                                   Indianapolis   IN    46206-6145
Marion County Treasurer                   222 W Center St                                            Marion         OH    43302-3646
Martin County Tax Assessor-Collector      3485 SE Willoughby Blvd                                    Stuart         FL    34994


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Name                                       Address 1                                  Address 2            City             State Postal Code
                                           Revenue Administration Division,
Maryland Comptroller                       Taxpayer Service Section                   110 Carroll Street   Annapolis        MD    21411-0001
Massachusetts Department of Revenue 436 Dwight Street                                                      Springfield      MA    01103
McKinley County Tax Collector       207 W Hill Ave Ste 101                                                 Gallup           NM    87301-4715
McLennan County Tax Assessor-Collecto POB 406                                                              Waco             TX    76703
Mecklenburg County Tax Collector      POB 71063                                                            Charlotte        NC    28272-1063
Medford Municipal Tax Collector            85 George P Hassett Dr                                          Medford          MA    02155
Memphis City Tax Collector                 POB 185                                                         Memphis          TN    38101
Merced County Tax Collector                2222 M St                                                       Merced           CA    95340
Meriden City Tax Collector                 POB 150431                                                      Hartsford        CT    06115-0431
Mesa                                       PO Box 16350                                                    Mesa             AZ    85211-6350
Miami-Dade County Tax Collector            200 NW 2nd Ave                                                  Miami            FL    33128
Midland County Tax Assessor-Collector POB 908002                                                           Midland          TX    79708-0002
Milford City Tax Collector            70 W River St                                                        Milford          CT    06460
Miller County Tax Collector                155 S First St 5                                                Colquitt         GA    39837
Milwaukee City Collector                   POB 78776                                                       Milwaukee        WI    53278-0776
Minnesota Department of Revenue            PO Box 64622                                                    St. Paul         MN    55164-0622
Minnesota Revenue                          600 North Robert St                                             St. Paul         MN    55101
Mississippi Department of Revenue          PO Box 960                                                      Jackson          MS    39205
Missouri Department of Revenue             P.O. Box 3020                                                   Jefferson City   MO    65105-3020
Missouri Director of Revenue               Taxation Division                          PO Box 3365          Jefferson City   MO    65105-3365
Mobile County Tax Collector                POB 1169                                                        Mobile           AL    36633-1169
Monroe County Tax Collector                POB 357                                                         Forsyth          GA    31029-0357
Montana Department Of Revenue              PO Box 8021                                                     Helena           MT    59604-8021
Monterey County Tax Collector              POB 891                                                         Salinas          CA    93902-0891
Montgomery County Commission               PO Box 4779                                                     Montgomery       AL    36103-4779
Montgomery County Tax Collector            POB 4720                                                        Montgomery       Al    36103-4720
Montgomery County Tax Collector            POB 824860                                                      Philadelphia     PA    19182-4860

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Name                                       Address 1                                Address 2         City               State Postal Code
Montville Town Tax Collector               POB 4179                                                   Woburn             MA    01888-4179
Morgan County                              PO Box 1848                                                Decatur            AL    35602
Morgan County Tax Collector                POB 696                                                    Decatur            AL    35602
Multnomah County Tax Collector             POB 2716                                                   Portland           OR    97208
Municipality of Bayamon - IVU              PO Box 364207                                              San Juan           PR    00936-4207
Muscogee County Tax Collector              POB 1441                                                   Columbus           GA    31902
Muskegon Township Treasurer                1990 E Apple Ave                                           Muskegon           MI    49442-4293
Nash County Tax Collector                  120 W Washington St Ste 2058                               Nashville          NC    27856-1376
Nassau County Tax Collector                86130 License Rd Ste 3                                     Fernandina Beach   FL    32034
Natrona County Tax Collector               POB 2290                                                   Casper             WY    82602
Ncdor                                      PO Box 25000                                               Raleigh            NC    27640-0520
Nebraska Department of Revenue             PO Box 98923                                               Lincoln            NE    68509-8923
Nevada Department of Taxation              PO Box 7165                                                San Francisco      CA    94120-7165
New Castle County Treasurer                POB 430                                                    Claymont           DE    19703-0430
New Jersey Sales Tax                       PO Box 999                                                 Trenton            NJ    08646-0999
New Mexico Taxation & Revenue DepartmPO Box 25127                                                     Santa Fe           NM    87504-5127
New Mexico Taxation and Revenue      PO Box 25123                                                     Santa Fe           NM    85704-5123
New Orleans City Tax Collector             POB 60047                                                  New Orleans        LA    70160
New York City Tax Collector                POB 680                                                    Newark             NJ    07101-0680
Newell Nomand, Tax Collector               PO Box 248                                                 Gretna             LA    70054-0248
Newington Town Tax Collector               POB 150401 Dept 339                                        Hartford           CT    06115-0401
Newton Municipal Tax Collector             POB 9137                                                   Newton             MA    02460-9137
NM Taxation & Revenue Department           P.O. Box 25127                                             Santa Fe           NM    87504-5127
Norfolk City Tax Collector                 POB 3215                                                   Norfolk            VA    23514-3215
North Carolina Department of Revenue       PO Box 25000                                               Raleigh            NC    27640-0700
North Hills School District                102 Rahway Rd                                              McMurray           PA    15317
North Houston District Tax Office          POB 672346                                                 Houston            TX    77267-2346
Northampton Municipal Tax Collector        POB 4121                                                   Woburn             MA    01888-4121

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Name                                       Address 1                              Address 2           City              State Postal Code
Norton Shores City Treasurer               2743 Henry St 302                                          Muskegon          MI    49441
Nueces County Tax Assessor-Collector       POB 2810                                                   Corpus Christi    TX    78403-2810
NY State Dept. of Taxation & Finance       Bankruptcy Section                     PO Box 5300         Albany            NY    12205-0300
NYC Department of Finance                  PO Box 3931                                                New York          NY    10008-3931
NYC Department of Finance                  66 John Street, Room 104               Suite 201           New York          NY    10038
NYS Sales Tax Processing                   PO Box 15172                                               Albany            NY    12212-5171
Oak Park City Treasurer                    14000 Oak Park Blvd                                        Oak Park          MI    48237
Office of Finance-City of Los Angeles      PO Box 513996                                              Los Angeles       CA    90051-3996
Office of State Tax Commissioner           PO Box 5623                                                Bismarck          ND    58506-5623
Oficina de Finanzas Municipales - IVU      PO Box 70179                                               San Juan          PR    00936-8179
Ohio County Tax Collector                  POB 188                                                    Wheeling          WV    26003-0024
Ohio Treasurer of State                    PO Box 16561                                               Columbus          OH    43216-6561
Oklahoma County Tax Collector              POB 268875                                                 Oklahoma City     OK    73126
Oklahoma Tax Commission                    PO Box 26850                                               Oklahoma City     OK    73126-0850
Oklahoma Tax Commission                    PO Box 269027                                              Oklahoma City     OK    73126-9027
Onondaga Central Schools                   5020 Ball Rd                                               Syracuse          NY    13215
Onondaga County Tax Collector              POB 5271                                                   Binghamton        NY    13902
Onondaga Town Tax Collector                5020 Ball Rd                                               Syracuse          NY    13215
Opelika                                    PO Box 390                                                 Opelika           AL    36803-0390
Orange County Assessor                     PO Box 545100                                              Orlando           FL    32854
Orange County Tax Collector                POB 1438                                                   Santa Ana         CA    92702
Orange County Tax Collector                POB 545100                                                 Orlando           FL    32854-5100
Oregon Department Of Revenue               955 Center St NE                                           Salem             OR    97301-2555
Ouachita Parish Tax Collector              POB 733045                                                 Dallas            TX    75373-3045
PA Department of Revenue                   Department 280406                                          Harrisburg        PA    17128-0406
Palm Beach County Tax Collector            POB 3353                                                   West Palm Beach   FL    33402
Panama City License Department             110 S Arnold Rd.                                           Panama City Beach FL    32413
Parish and City Treasurer                  PO Box 2590                                                Baton Rouge       LA    70821-2590

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Name                                       Address 1                                 Address 2        City           State Postal Code
Parish of Rapides Sales and Use Tax De PO Box 671                                                     Alexandria     LA    71309
Parish Sales Tax Fund                  PO Box 670                                                     Houma          LA    70361-0670
Pasco County Tax Collector                 POB 276                                                    Dade City      FL    33526-0276
Paxton Municipal Tax Collector             697 Pleasant St                                            Paxton         MA    01612
Peach County Tax Collector                 POB 931                                                    Fort Valley    GA    31030
Pennsylvania Department of Revenue         Office of Chief Counsel                   PO Box 281061    Harrisburg     PA    17128
Philadelphia City Collector                POB 8409                                                   Philadelphia   PA    19101
Phoenix                                    PO Box 29125                                               Phoenix        AZ    85038-9125
Piatt Twp Collector                        396 Zinck Rd                                               Jersey Shore   PA    17740
Pickens County Tax Collector               POB 447                                                    Carollton      AL    35447
Pierce County Tax Collector                POB 11621                                                  Tacoma         WA    98411-6621
Pima County Treasurer                      POB 29011                                                  Phoenix        AZ    85038-9011
Pinellas County Tax Collector              POB 31149                                                  Tampa          FL    33631-3149
Pineville City Tax Collector               910 Main St                                                Pineville      LA    71360
Placer County Tax Collector                2976 Richardson Dr                                         Auburn         CA    95603
Platte County Tax Collector                2610 14th St                                               Columbus       NE    68601
                                           111 Court Ave Ste 154 - Administrative
Polk County Treasurer                      Building                                                   Des Moines     IA    50309-2298
Portland Municipal Tax Collector           POB 16050                                                  Lewistown      ME    04243-9533
Portsmouth City Tax Collector              POB 85662                                                  Portsmouth     VA    23285
Portsmouth Municipal Tax Collector         1 Junkins Ave                                              Portsmouth     NH    03801
Poughkeepsie Town Tax Collector            1 Overocker Rd                                             Poughkeepsie   NY    12603
Presque Isle Municipal Tax Collector       12 Second St                                               Presque Isle   ME    04769
Prince George's County Tax Collector       POB 17578                                                  Baltimore      MD    21297-1578
Providence City Tax Collector              POB 9100                                                   Providence     RI    02940-9100
Pueblo County Tax Collector                215 W 10th St Room 110                                     Pueblo         CO    81003-2935
Pulaski County Tax Collector               POB 8101                                                   Little Rock    AR    72203
Pulaski County Tax Collector               POB 752                                                    Somerset       KY    42502-0752

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                                                                          Exhibit F
                                                                  Taxing Authority Service List
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Name                                       Address 1                              Address 2           City           State Postal Code
Rainbow City                               3700 Rainbow Drive                                         Rainbow City   AL    35906-6331
Ramsey County Tax Collector                POB 64097                                                  Saint Paul     MN    55164-0097
Randolph County Tax Collector              725 McDowell Rd                                            Asheboro       NC    27205
Rankin County Tax Collector                211 E Government St Ste B                                  Brandon        MS    39042-3269
Rapides Parish Tax Collector               POB 1590                                                   Alexandria     LA    71309
Raymond Town Collector                     2255 76th St                                               Franksville    WI    53126
Reading School District                    POB 4783                                                   Lancaster      PA    17604
Regional Income Tax Agency                 P.O. Box 89475                                             Cleveland      OH    44101-6475
Rehoboth Municipal Tax Collector           POB 52466                                                  Boston         MA    02205-2466
RI                                         One Capitol Hill                                           Providence     RI    02908
Richland County Treasurer                  50 Park Ave E                                              Mansfield      OH    44902
Richland County Treasurer                  POB 8028                                                   Columbia       SC    29202-8028
Richland County Treasurer                  PO Box 11947                                               Columbia       SC    29211-1947
Richmond City Tax Collector                POB 26624                                                  Richmond       VA    23261
Richmond County Tax Collector              POB 1427                                                   Augusta        GA    30903
RITA                                       P.O. Box 94582                                             Cleveland      OH    44101-4582
Riverside County Tax Collector             POB 12005                                                  Riverside      CA    92502-2205
Roanoke City Tax Collector                 POB 1451                                                   Roanoke        VA    24007
Roanoke County Tax Collector               POB 791269                                                 Baltimore      MD    21279-1269
Robertson County Tax Assessor-Collecto 515 S Brown St                                                 Springfield    TN    37172
Rockingham County Tax Collector            POB 580368                                                 Charlotte      NC    28258
Rockingham County Tax Collector            POB 471                                                    Harrisonburg   VA    22803
Rockwall County Tax Assessor-Collector 841 Justin Rd                                                  Rockwall       TX    75087
Rogers County Tax Collector            200 S Lynn Riggs Blvd                                          Claremore      OK    74017
Ross County Treasurer                      2 N Paint St Ste F                                         Chillicothe    OH    45601
Ross Twp Collector                         102 Rahway Rd                                              McMurray       PA    15317
Rowan County Tax Collector                 POB 900048                                                 Raleigh        NC    27675-9048
Russell County Tax Collector               POB 669                                                    Phenix City    AL    36868-0669

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Name                                       Address 1                                  Address 2       City               State Postal Code
Sacramento County Tax Collector            Pob 508                                                    Sacramento         CA    95812-0508
Saint Bernard Parish Tax Collector         2118 Jackson Blvd Ste A                                    Chalmette          LA    70043
Saint James Parish Tax Collector           POB 83                                                     Convent            LA    70723-0083
Saint Louis City Tax Collector             POB 66877                                                  Saint Louis        MO    63166-6877
Saint Louis County Tax Collector           41 S Central Ave                                           Saint Louis        MO    63105-1799
Saint Tammany Parish Tax Collector         POB 61080                                                  New Orleans        LA    70161-1080
                                           POB 147421 - 2001 S State St Room N2-
Salt Lake County Treasurer                 600                                                        Salt Lake City     UT    84114-7421
San Bernardino County Tax Collector        268 W Hospitality Ln First Fl                              San Bernardino     CA    92415-0360
San Diego County Tax Collector             POB 129009                                                 San Diego          CA    92112
San Francisco County Tax Collector         POB 7427                                                   San Francisco      CA    94120-7427
San Francisco Tax Collector                POB 7426                                                   San Francisco      CA    94120-7426
San Joaquin County Tax Collector           POB 2169                                                   Stockton           CA    95201
San Juan County Tax Collector              POB 912720                                                 Denver             CO    80291-2720
San Mateo County Tax Collector             555 County Center 1st Fl                                   Redwood City       CA    94063
San Patricio County Tax Assessor-Collec POB 280                                                       Sinton             TX    78387
Sandoval County Tax Collector           POB 27139                                                     Albuquerque        NM    87125
Santa Clara County Assessor                70 W Hedding Street                                        San Jose           CA    95110
Santa Clara County Tax Collector           POB 60534                                                  City of Industry   CA    91716-0534
Sarasota County                            101 S Washington Blvd                                      Sarasota           FL    34236
Sarasota County Tax Collector              101 S Washington Blvd                                      Sarasota           FL    34236
Savannah City Tax Collector                POB 1228                                                   Savannah           GA    31402-1228
SC Department of Revenue                   Sales Tax Return                                           Columbus           SC    29214-0101
SC Department of Revenue                   300A Outlet Pointe Boulevard                               Columbia           SC    29210
Scott County Tax Collector                 120 N Hamilton St                                          Georgetown         KY    40324
Scott County Tax Collector                 200 4th Ave W                                              Shakopee           MN    55379-1220
Scott County Treasurer                     600 W 4th St                                               Davenport          IA    52801
Scottsdale                                 PO Box 1570                                                Scottsdale         AZ    85252

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Name                                       Address 1                               Address 2          City             State Postal Code
Sebastian County Tax Collector             POB 1358                                                   Fort Smith       AR    72902
Secretary of the Treasury - SUT            PO Box 70125                                               San Juan         PR    00936-8125
Sedgwick County Treasurer                  525 N Main St                                              Wichita          GA    67203
Seminole County                            PO Box 630                                                 Sanford          FL    32772
Sequoyah County Tax Collector              POB 747                                                    Sallisaw         OK    74955
Shamokin ASD                               805 W Lynn St                                              Coal Township    PA    17866
Shasta County Tax Collector                POB 991830                                                 Redding          CA    96099-1830
Shelby County                              PO Box 800                                                 Columbiana       AL    35051
Shelby County Tax Collector                POB 1298                                                   Columbiana       AL    35051
Shelby County Tax Collector                POB 2751                                                   Memphis          TN    38101-2751
Shenandoah County Tax Collector            600 N Main St Ste 105                                      Woodstock        VA    22664-1855
Smith County Tax Assessor-Collector        POB 2011                                                   Tyler            TX    75710-2011
Smyth County Tax Collector                 POB 549                                                    Marion           VA    24354
South Dakota State Treasurer               PO Box 5055                                                Sioux Falls      SD    57117-5055
Southfield City Treasurer                  26000 Evergreen Rd                                         Southfield       MI    48076
Spokane County Tax Collector               POB 199                                                    Spokane          WA    99210
Springfield Municipal Tax Collector        POB 4124                                                   Woburn           MA    01888-4124
St Johns County Tax Collector              POB 9001                                                   St Augustine     FL    32085-9001
St Lucie County Tax Collector              POB 308                                                    Fort Pierce      FL    34954-0308
St. Petersburg                             325 Central Ave                         PO Box 2842        St. Petersburg   FL    33731
STACS                                      PO Box 3989                                                Muscle Shoals    AL    35662
Stanislaus County Tax Collector            POB 859                                                    Modesto          CA    95353
Stark County Tax Collector                 POB 130                                                    Dickinson        ND    58602
State Comptroller                          PO Box 149354                                              Austin           TX    78714-9354
State of Arizona                           1600 W Monroe St.                                          Phoenix          AZ    85007-2650
State of Arkansas                          PO Box 3861                                                Little Rock      AR    72203-3861
State of Connecticut                       25 Sigourney Street                                        Hartford         CT    06106
State of Michigan                          PO Box 30324                                               Lansing          MI    48909-7824

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Name                                       Address 1                               Address 2                  City            State Postal Code
State of New Hampshire                     109 Pleasant Street                     P.O. Box 457               Concord         NH    03302-0457
State of New Jersey                        Bankruptcy Section                      PO Box 245                 Trenton         NJ    08695-0245
                                           Department of Taxation - Dept #88 PO
State of Rhode Island                      Box 9702                                                           Providence      RI    02940-9702
Staunton City Tax Collector                POB 474                                                            Staunton        VA    24402-0474
Stokes County Tax Collector                POB 57                                                             Danbury         NC    27016
Suffolk City Tax Collector                 POB 1583                                                           Suffolk         VA    23439
Summit County Treasurer                    POB 128                                                            Coalville       UT    84017
Susquehanna Twp SD                         POB 226                                                            Mechanicsburg   PA    17055
Sutter County Tax Collector                Pob 546                                                            Yuba City       CA    95992
Syracuse City Tax Collector                POB 5271                                                           Binghamton      NY    13902
Tangipahoa Parish School System            PO Box 159                                                         Amite           LA    70422-0159
Tax Administrator                          PO Box 9706                                                        Providence      RI    02940-9706
Tax Collector, City of Madison             PO Box 99                                                          Madison         AL    35738
Tax Collector, Parish of St. Tammany       PO Box 61041                                                       New Orleans     LA    70161-1041
Tax Trust Acct-Alatax/RDS                  PO Box 830725                                                      Birmingham      AL    35283-0725
Taxation and Revenue Department            PO Box 123                                                         Monroe          LA    71210

Taylor County Chief Appraiser              1534 S Treadaway - County POB 1800                                 Abilene         TX    79604
Tempe                                      PO Box 5002                             20 E. 6th St., 3rd Floor   Tempe           AZ    85280
Tennessee Department of Revenue            500 Deaderick Street                                               Nashville       TN    37242
Tennessee Dept of Revenue                  500 Deaderick Street                    Andrew Jackson Building    Nashville       TN    37242
Texas Comptroller of Public Accounts       Capitol Station                         PO Box 13528               Austin          TX    78711-3528
Texas Computer Associates                  4025 Eastex Fwy                                                    Beaumont        TX    77706
Thurston County Tax Collector              2000 Lakeridge Dr SW                                               Olympia         WA    98502
Tom Green County Chief Appraiser           2302 Pulliam POB 3307                                              San Angelo      TX    76902
Town of Avon                               PO Box 975                                                         Avon            CO    81620
Town of Crested Butte                      PO Box 39                                                          Crested Butte   CO    81224


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Name                                       Address 1                                  Address 2                            City                State Postal Code
Town of Guadalupe                          Finance Department                         9241 S. Avenida Del Yaqui            Guadalupe           AZ    85283
Town of Marana                             13251 N. Lon Adams Rd.                                                          Marana              AZ    85653
Town of Mount Pleasant                     100 Ann Edwards Lane                                                            Mount Pleasant      SC    29464
Town of Mt. Crested Butte                  PO Box 5800                                                                     Mt. Crested Butte   CO    81225
                                                                                      PO Box 3715, 301 N Olive Ave., 3rd
Town of Palm Beach                         Attn: Collector's Office                   Floor                                West Palm Beach     FL    33402-3715
Township of Lower Merion                   75 East Lancaster Ave                                                           Ardmore             PA    19003-2376
Township of Lower Merion                   c/o McCarthy & Co, PC                      454 Germantown Pike                  Lafayette Hill      PA    19444
Travis County Tax Assessor-Collector       POB 149328                                                                      Austin              TX    78714-9328
Treasurer of State of Ohio                 PO Box 530                                                                      Columbus            OH    43216-0530
Treasurer of the State of Ohio             PO Box 16560                                                                    Columbus            OH    43216-6560
Treasurer State of Iowa                    PO Box 10466                                                                    Des Moines          IA    50306-0466
Troup County Tax Collector                 100 Ridley Ave                                                                  Lagrange            GA    30240-2724
Troy City Treasurer                        500 W Big Beaver Rd                                                             Troy                MI    48084-5285
Tucson                                     Collections                                PO Box 27320                         Tucson              AZ    85726-7320
Tulare County Tax Collector                POB 30329                                                                       Los Angeles         CA    90030-0329
Tulsa County Tax Collector                 POB 21017                                                                       Tulsa               OK    74121-1017
Tuscaloosa                                 Department of Revenue                      PO Box 2089                          Tuscaloosa          AL    35403-2089
Tuscaloosa County Special Tax Board        PO Box 20738                                                                    Tuscaloosa          AL    35402-0738
Tuscaloosa County Tax Collector            714 Greensboro Ave Rm 124                                                       Tuscaloosa          AL    35401
Union County Tax Collector                 POB 862                                                                         New Albany          MS    38652
Utah State Tax Commission                  210 N 1950 W                                                                    Salt Lake City      UT    84134-0400
Vermont Department of Taxes                133 State Street                                                                Montpelier          VT    05633-1401
Vestal Central Schools                     POB 2087                                                                        Binghamton          NY    13902-2087
Vestal Town Tax Collector                  516 Front St                                                                    Vestal              NY    13850
Victoria County Tax Assessor-Collector     205 N Bridge St Ste 101 - POB 2569                                              Victoria            TX    77902-2569
Villa Hills City Tax Collector             POB 651                                                                         Burlington          KY    41005



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Name                                       Address 1                                 Address 2        City               State Postal Code
                                           Municipal Ctr Bldg 1; 2401 Courthouse
Virginia Beach City Tax Collector          Dr                                                         Virginia Beach     VA    23456-9018
Virginia Department of Taxation            PO Box 26627                                               Richmond           VA    23261-6627
Volusia County Tax Collector               123 W Indiana Ave Rm 103                                   Deland             FL    32720-4602
W Baton Rouge Parish Tax Collector         POB 129                                                    Port Allen         LA    70767
WA Department of Revenue                   Taxpayer Account Administration           PO Box 47476     Olympia            WA    98504-7476
Wake County Tax Collector                  POB 580084                                                 Charlotte          NC    28258-0084
Walker County Tax Collector                POB 510; 122 Hwy 95                                        Rock Spring        GA    30739
Ward County Tax Assessor-Collector         POB 5005                                                   Minot              ND    58702
Warner Robins City Tax Collector           POB 8629                                                   Warner Robins      GA    31095
Washington County Tax Collector            280 N College Ste 202                                      Fayetteville       AR    72701
Washington County Tax Collector            POB 1038                                                   Chipley            FL    32428
Washington County Tax Collector            POB 3587                                                   Portland           OR    97208-3587
Washington State Department of Revenu PO Box 47464                                                    Olympia            WA    98504-7464
Watterson Park City Tax Collector     POB 32391                                                       Louisville         KY    40232
Wawarsing Town Tax Collector               108 Canal St POB 671                                       Ellenville         NY    12428
Waynesboro City Tax Collector              503 W Main St Rm 105                                       Waynesboro         VA    22980
Waynesville City Tax Collector             POB 100                                                    Waynesville        NC    28786
Webster County Tax Collector               41 S Central Ave                                           Saint Louis        MO    63105-1799
Weld County Tax Collector                  POB 458                                                    Greeley            CO    80632-0458
West Haven City Tax Collector              POB 150461                                                 Hartford           CT    06115-0461
West Point City Tax Collector              POB 487                                                    West Point         GA    31833
West Valley City                           3600 Constitution Blvd.                                    West Valley City   UT    84119-3720
West Virginia Tax Department               PO Box 1826                                                Charleston         WV    25327-1826
Wheaton Town Collector                     2384 80th St                                               Eau Claire         WI    54703
Whitehall Township Treasurer               1901 Schadt Avenue                                         Whitehall          PA    18052-3728
WI Department of Revenue                   Customer Service Bureau                   PO Box 8949      Madison            WI    53708-8949
Wichita County Tax Assessor-Collector      600 Scott Ave Ste 103                                      Wichita Falls      TX    76301

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Name                                       Address 1                                Address 2                City           State Postal Code
Wicomico County Tax Collector              POB 4036                                                          Salisbury      MD    21803-4036
Williamsburg County Treasurer              POB 150                                                           Kingstree      SC    29556-0150
Williamson County Tax Collector            POB 1365                                                          Franklin       TN    37065-1365
Williamsport Area SD-City                  POB 1283                                                          Williamsport   PA    17703
Williamsport City                          Finance Department                       245 West Fourth Street   Williamsport   PA    17701
Williamsport City Collector                POB 1283                                                          Williamsport   PA    17703
Wilmington City Tax Collector              POB 15577                                                         Wilmington     DE    19886-5577
Winchester City Tax Collector              POB 263                                                           Winchester     VA    22604-0263
Wisconsin Department of Revenue            PO Box 8921                                                       Madison        WI    53708-8921
Wood County Tax Assessor-Collector         POB 1985                                                          Parkersburg    WV    26102
Woodbury County Treasurer                  822 Douglas St Ste 102                                            Sioux City     IA    51101
Worcester County Tax Collector             POB 248                                                           Snow Hill      MD    21863-0248
Worth County Tax Collector                 201 N Main St Rm 15                                               Sylvester      GA    31791
Wyoming Department of Reevenue             122 W 25th St, 2W                                                 Cheyenne       WY    82002-0110
Yankee Springs Township Treasurer          284 N Briggs Rd                                                   Middleville    MI    49333
York Municipal Tax Collector               186 York St                                                       York           ME    03909




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